      Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 1 of 196




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                Plaintiffs,              No. 1:21-cv-02130-CJN

      v.

HERRING NETWORKS, INC., et al.,          Judge Carl J. Nichols

                Defendants.




                              EXHIBIT D
Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 2 of 196




                                        DATE FILED: October 4, 2021 9:00 AM
                                        FILING ID: 6A78E5F1E0F74
                                        CASE NUMBER: 2020CV34319



                   Exhibit G
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 3 of 196


1      DISTRICT COURT, COUNTY OF DENVER,
       STATE OF COLORADO
2
3      Court Address:
       1437 Bannock Street
4      Denver, CO 80202                             ^ COURT USE ONLY ^
      ____________________________________________________________
5
6      ERIC COOMER, Ph.D.,                          Case No. 20CV34319
7                Plaintiff,                         Courtroom 409
8      vs.
9      DONALD J. TRUMP FOR PRESIDENT, INC.,
       SIDNEY POWELL, SIDNEY POWELL, P.C.
10     RUDOLPH GIULIANI, JOSEPH OLTMANN,
       FEC UNITED, SHUFFLING MADNESS
11     MEDIA, INC., d/b/a CONSERVATIVE DAILY,
       JAMES HOFT, TGP COMMUNICATIONS LLC
12     d/b/a THE GATEWAY PUNDIT, MICHELLE
       MALKIN, ERIC METAXAS, CHANEL RION,
13     HERRING NETWORKS, INC.,
       d/b/a ONE AMERICA NEWS NETWORK,
14     and NEWSMAX MEDIA, INC.,
15               Defendants.
      ____________________________________________________________
16
         VIDEO VIDEOCONFERENCED DEPOSITION OF JOSEPH OLTMANN
17                         September 8, 2021
      ____________________________________________________________
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                                                                 Page 2

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                                                                  Page 3

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 6 of 196


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                                                                 Page 4

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 7 of 196


1                       PURSUANT TO WRITTEN NOTICE and the

2     appropriate rules of civil procedure, the video

3     videoconferenced deposition of JOSEPH OLTMANN, called for

4     examination by the Plaintiff, was taken remotely,

5     commencing at 10:04 a.m. on September 8, 2021, before

6     Laurel S. Tubbs, a Registered Professional Reporter,

7     Certified Realtime Reporter and Notary Public in and for

8     the State of Colorado.

9                                     INDEX

10     EXAMINATION:                                                       PAGE

11     By Mr. Cain                                                           7

       By Ms. Hall                                                         146

12     By Mr. Arrington                                                    148

13     EXHIBITS:                                                          PAGE

14     Exhibit 2      Affidavit of Mr. Oltmann                             117

15     Exhibit 29     Notes of Mr. Oltmann                                  12

16     Exhibit 46     Document Entitled "Parley"                            96

17     Exhibit 103 Email Stream                                            137

18     Exhibit 104 IOS IMESSAGE/SMS/MMS                                     93

19     Exhibit 131 Post by Mr. Camp                                         80

20

21

22

23

24

25

                                                                 Page 5

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 8 of 196


1                           P R O C E E D I N G S

2                       THE VIDEOGRAPHER:          Here begins the

3     deposition of Joseph Oltmann.           Today's date is

4     September 8th, 2021.       The time on the video is 10:04.

5                       Counsel, please identify yourselves for

6     the record and state whom you represent.

7                       MR. CAIN:     Charlie Cain for the Plaintiff.

8                       MS. DEFRANCO:        Ingrid DeFranco and Andrea

9     Hall for Mr. Oltmann.

10                      THE VIDEOGRAPHER:          Will the court reporter

11    please swear in the witness after her read.

12                      THE REPORTER:        The attorneys participating

13    in this deposition acknowledge that I am not physically

14    present in the deposition room and that I will be

15    reporting this deposition remotely.                They further

16    acknowledge that in lieu of an oath administered in

17    person, the witness will verbally declare his testimony

18    in this matter is under penalty of perjury.                The parties

19    and their counsel consent to this arrangement and waive

20    any objections to this manner of reporting.                Please

21    indicate your agreement by stating your name and your

22    agreement on the record, beginning with the taking

23    attorney.

24                      MR. CAIN:     Charlie Cain.          I agree.

25                      MS. HALL:     Andrea Hall and Ingrid

                                                                    Page 6

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 9 of 196


1     DeFranco.    We agree.

2                               JOSEPH OLTMANN,

3     having been first duly sworn or affirmed, was examined and

4     testified as follows:

5                                   EXAMINATION

6     BY MR. CAIN:

7                 Q.    State your full name, please.

8                 A.    Joseph Oltmann.

9                 Q.    Mr. Oltmann, you understand you're here to

10    give testimony as a result of a court order issued by

11    Judge Moses in this case, correct?

12                A.    I do.

13                Q.    Part of what she asked us to do is to

14    provide exhibits to you via your counsel.            We did so last

15    night.    Those exhibits were to be printed out and put in a

16    binder.

17                      Do you have a binder of exhibits in front

18    of you?

19                A.    I do not.       I have a computer screen with

20    those up, though.

21                Q.    Mr. Oltmann, instead of being in person, we

22    are obviously conducting this deposition via Zoom, so I'm

23    not there to -- to look at what you're looking at or

24    perceive any information that you're getting outside of

25    the context of my questions and your answers.            So let me

                                                                 Page 7

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 10 of 196


1     explain a couple of things to you.

2                        First of all, you are to not have any

3     recording devices in your office.              You are in your office,

4     are you not?

5                  A.    It doesn't matter where I am.          It's not

6     relevant.

7                  Q.    You are in your office?

8                  A.    It's not relevant.

9                  Q.    Let me explain to you, sir, how this is

10    going to go.      I'm going to ask the questions.          You're

11    going to answer my questions.            It's up to your counsel to

12    advise you if they perceive that there's a privilege issue

13    or some other reason that you shouldn't answer my

14    questions.

15                       Are you in your office or not?

16                 A.    (No Response.)

17                       MS. HALL:     Objection, Charlie.       It's not

18    relevant.     Move on.

19                       MR. CAIN:     Are you instructing your client

20    not to answer the questions where he's physically

21    located?

22                       MS. HALL:     Move on.

23                       MR. CAIN:     Yes or no.

24                       MS. HALL:     I said, Yes.       Move on, Charlie.

25    It's not relevant.

                                                                  Page 8

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 11 of 196


1                        MR. CAIN:       Don't talk over me.

2                  Q.    (By Mr. Cain)          It's important, Mr. Oltmann,

3     that you and I understand each other.                 If there's some

4     reason that you don't understand my questions, will you

5     stop me, ask me to rephrase the question, so that I can be

6     sure that you understand what I'm asking you and you're

7     answering the question that I'm asking?

8                  A.    Yes.

9                  Q.    Are you recording -- do you have a

10    recording device with you where you're sitted -- or

11    seating now currently?          Are you recording this?

12                 A.    No.     This is being recorded.

13                 Q.    No, I understand that.

14                       My question is:           Are you recording it

15    separately?

16                 A.    No.

17                 Q.    Mr. Oltmann, you are to not communicate

18    outside the parties during the course of this deposition.

19    That would include getting instructions on how to answer

20    questions from your counsel.

21                       Do you understand that?

22                 A.    Yes.

23                 Q.    I want only your testimony and your

24    testimony alone.         Who else is with you physically right

25    now?

                                                                     Page 9

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 12 of 196


1                        MR. CAIN:      Charlie, I'm going to object to

2     this line of questioning.           How is this relevant?       You've

3     not done this with one other person that you've done a

4     deposition over Zoom with.            So I suggest you start asking

5     questions because your time is running.

6                  Q.    (By Mr. Cain)         Who else is with you

7     physically present --

8                        MR. CAIN:      And I'm not going to allow

9     speaking objections, and I will ask for more time if you

10    keep it up.

11                 Q.    (By Mr. Cain)         Who else is with you,

12    Mr. Oltmann?

13                 A.    My attorneys.

14                 Q.    Anyone else?

15                 A.    No.

16                 Q.    Mr. Oltmann, have you reviewed the

17    protective order that Judge Moses entered in this case?

18                 A.    No.

19                 Q.    Are you aware that there's a protective

20    order that would prohibit the disclosure of individuals

21    that were on the antifa call or your conduit to that call,

22    disclosure outside of these proceedings?             Are you aware of

23    that?

24                 A.    Yes.

25                 Q.    Are you prepared to testify today regarding

                                                                 Page 10

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 13 of 196


1     the identity of your conduit to the antifa call?

2                  A.    Can you repeat that question again?

3                  Q.    Are you prepared to testify today

4     concerning the identity of the individual or individuals

5     who gave you access to the antifa call?

6                  A.    To a certain extent.

7                  Q.    To what extent?

8                  A.    To the extent that I give you what

9     information is readily available.

10                 Q.    Who provided you access -- what's the

11    identity of the individual or individuals who provided you

12    access to the antifa call?

13                 A.    I made a commitment not to disclose the

14    name of that person.         Unfortunately, that person who is

15    known to me is actually in my notes.

16                 Q.    In the notes of the call?

17                 A.    Yes.

18                 Q.    Okay.     Who is it?

19                 A.    That's all I'm going to say.

20                 Q.    You understand the Court has ordered you to

21    provide us that information.              You understand that?

22                 A.    I'm not going to provide that information.

23                 Q.    I'm sorry?

24                 A.    Mr. Coomer is on this call.          Mr. Coomer is

25    the one that presented the antifa manifesto in his social

                                                                 Page 11

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 14 of 196


1     media.    Mr. Coomer was the one that was on that call.              So

2     as a result of that, no protection order would protect

3     this individual.

4                  Q.    Who is the -- who is the person that was

5     your conduit?      Give me the identity of that person.

6                        Are you refusing to answer my question?

7                  A.    I answered your question already.         You

8     just didn't like the answer.

9                  Q.    No.   I didn't get the answer to the

10    question.     The question was:         Who is the person or persons

11    who served as the conduit for you to be on the antifa

12    call?    Give me the name.

13                 A.    I gave you the information as it relates

14    to the information that's in my notes, and you have my

15    notes.    So therefore you have that name.

16                 Q.    Joey Camp?

17                 A.    No.

18                 Q.    All right.      Who?

19                 A.    The information as to who gave me access

20    to that call is inside of the notes.

21                 Q.    All right.      One of the documents that I

22    identified for you was Plaintiff's Exhibit 29, which I

23    understand to be your notes.

24                       Do you have that?

25                 A.    Hold on one second.

                                                                 Page 12

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 15 of 196


1                        MR. KIMREY:         Mr. Cain, this is Blaine

2     Kimrey.     Have these exhibits been provided to the other

3     counsel of record in this case?

4                        MR. CAIN:       Yes.

5                        MR. KIMREY:         I will note for the record

6     that I did not receive copies of these exhibits.                  I am

7     counsel for OANN and Chanel Rion.                Can you have your

8     office forward to me a file of the exhibits right now?

9                        MR. CAIN:       No.     I think, Blaine -- and

10    welcome to the case -- you should have the Exhibit Share

11    function and you can -- you can view them on that through

12    Veritext.     But I don't want to waste time on the record

13    with this right now.

14                       MR. KIMREY:         Okay.     Fair enough.

15                       MR. CAIN:       We can talk about it off-line.

16                 Q.    (By Mr. Cain)          Do you have Exhibit 29 up,

17    Mr. Oltmann?

18                 A.    I'm actually not seeing Exhibit 29.

19                 Q.    It's a copy of your notes.

20                 A.    Okay.     I'm looking at it now.

21                 Q.    All right.        And these are notes, correct me

22    if I'm wrong, that you say were taken contemporaneously by

23    you while you were on that call; is that true?

24                 A.    Yes.

25                 Q.    Okay.     And this is one, two, three -- four

                                                                      Page 13

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 16 of 196


1     pages of notes, correct?

2                  A.      Yes.

3                  Q.      Where in your notes is the identity of your

4     conduit to the call reflected?

5                  A.      It is -- it is on this page, yes.

6                  Q.      Which page?        There's a Bates stamp -- what

7     we call Bates stamp down on the bottom right.                  205, 206,

8     207, 208 are the page numbers on these notes.                  Which page?

9                  A.      There's no stamp on this page.            Oh, there

10    it is.     205.

11                 Q.      All right.       So 205 starts, Who is Eric

12    Dominion guy.        Is that the one you're looking at?

13                 A.      It is.

14                 Q.      Denver, Colorado Springs, question mark?

15    Then there's the Brian.            Who's Brian?        If I'm reading that

16    correctly.        Does that say Brian?

17                 A.      That is not -- that is not who gave me

18    access to the call.

19                 Q.      Who is Brian?

20                 A.      He's an antifa member.            He's a journalist,

21    I think.

22                 Q.      What's his last name?

23                 A.      I don't know.

24                 Q.      Was he on the call?

25                 A.      I don't recall actually.            I'd have to go

                                                                     Page 14

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 17 of 196


1     through my notes.

2                  Q.    The next name is -- that appears to be a

3     name is Bev, B-e-v.         Who is that?

4                  A.    How do I get to the other pages?

5                        MS. HALL:       Just scroll up.

6                        THE DEPONENT:          Oh, scroll up.    Okay.   Got

7     it.

8                  Q.    (By Mr. Cain)          Who is Bev, that's the

9     question I asked?

10                 A.    Bev is the name of somebody that came up

11    on the call.

12                 Q.    What do you mean?            You saw a name appear?

13                 A.    Yes.

14                 Q.    Okay.     Do you have a last name?

15                 A.    No.

16                 Q.    Do you know who she is?

17                 A.    No.

18                 Q.    Was this a Zoom?           Was this a Zoom call?

19                 A.    Yes.

20                 Q.    So you could see the name of the

21    participants that had logged into the call, at least with

22    respect to Bev, right?

23                 A.    Yes.

24                 Q.    Okay.     Did you see Eric Coomer on the Zoom

25    call reflected?

                                                                   Page 15

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 18 of 196


1                  A.    No.

2                  Q.    Sam -- well, actually before I move off of

3     Bev.     Have you subsequently learned who this person is,

4     Bev?

5                  A.    Yes.     It's an antifa member.

6                  Q.    Okay.     What do you know about her?

7                  A.    Not a lot, actually.

8                  Q.    All right.        What do you know?

9                  A.    Not a lot.        I'd have to review my notes.

10                 Q.    Is there something -- when you say your

11    notes, are you referring to Exhibit 29 or some other

12    notes?

13                 A.    Just information that I would have

14    on -- on her.

15                 Q.    Okay.     Are those reflected on Exhibit 29 or

16    some other notes?

17                 A.    It wasn't pertaining to any of this

18    hearing, so I don't even -- I know that --

19                       THE REPORTER:          I'm sorry, but there's too

20    much background noise.          I can't understand the witness.

21                       Could I have the answer repeated, please?

22                       THE DEPONENT:          There's no noise on my

23    side.

24                 Q.    (By Mr. Cain)          Can you repeat your answer?

25    She didn't hear you.         She needs to get it down for the

                                                                 Page 16

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 19 of 196


1     record.

2                  A.    I did collect notes on some of these

3     people.     So if I have notes on her, then it would

4     be -- it wouldn't be in these notes, though.

5                  Q.    Okay.     But you do have notes reflecting

6     some investigation of who she was?

7                  A.    I have questions that I asked when I

8     started contacting other people that were doing research

9     on antifa specifically.

10                 Q.    Okay.     So do you have notes that reflect

11    who she is -- who her identity is?

12                 A.    I was -- I was never able to uncover who

13    she is, specifically.

14                 Q.    How about any organization she's involved

15    with?     Do you know that?

16                 A.    Antifa.

17                 Q.    The next name is Sam with a question mark.

18    Who are you referring to there?               Is that your conduit?

19                 A.    No.

20                 Q.    Who is Sam?         What information do you have

21    on this person?

22                 A.    He's an antifa member.

23                 Q.    How do you know?

24                 A.    Because he was on the call.

25                 Q.    Do you have a last name?

                                                                  Page 17

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 20 of 196


1                  A.    No, no, not as it pertained to the

2     information I was able to collect here.

3                  Q.    Well, why did you qualify that?          Do you

4     have any identifying information on this Sam who was on

5     the call?

6                  A.    I was told by someone else that a man that

7     went by the name of Sam died a couple months ago.                 He was

8     heavily involved in antifa.

9                  Q.    Who told you that?

10                       MS. HALL:     Object to form.

11                 Q.    (By Mr. Cain)        You can answer.

12                 A.    It doesn't --

13                       THE REPORTER:        I'm sorry.    I just --

14                 A.    I said it doesn't have to do with Eric.

15                 Q.    (By Mr. Cain)        Who told you that is the

16    question?     You can answer the question.

17                 A.    Joey Camp.

18                 Q.    Yan-ni is the next name.          And then there's

19    a dash RD knows.

20                       Is Yan-ni the conduit to your participation

21    on this call?

22                 A.    No.

23                 Q.    Do you know who Yan-ni is?          Do you have a

24    last name or any other identifying information?

25                 A.    He goes by the name of Yan or Yan-ni.             He

                                                                 Page 18

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 21 of 196


1     seems to be an enforcer for the Antifa/BLM movement.

2                  Q.    Were you able to identify this person

3     beyond that?

4                  A.    To some degree, yes.

5                  Q.    Okay.     Tell me -- do you have an address?

6     Do you have a last name?           What identifying information do

7     you have?

8                  A.    Just information related to the fact that

9     he was not a journalist.           I wasn't able to disqualify him

10    from being a journalist.

11                 Q.    How?

12                 A.    By looking up all known people that go by

13    Yan or Yan-ni.

14                 Q.    When you were looking up all known people

15    that go by Yan or Yan-ni, were you able to determine who

16    this person is specifically?              Is he a mechanic in the

17    Springs?

18                 A.    No.     Because that's not what I was looking

19    for.

20                 Q.    So if -- if you wanted to get in touch with

21    Yan-ni at this point -- or Yan, you wouldn't know how to

22    do it?

23                 A.    I didn't try to get in touch with an

24    antifa member.      I didn't try.

25                 Q.    Okay.     So you -- you don't have any

                                                                 Page 19

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                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 22 of 196


1     information beyond what you told me about Yan or Yan-ni;

2     is that true?

3                  A.    No, that's not true.

4                  Q.    What other information do you have on this

5     person?

6                  A.    That he's an antifa member.

7                  Q.    You've already told me that.        I said what

8     other information.

9                  A.    I'm trying to find the information.          So

10    hold on a second.       I'll see if I can pull up a --

11                 Q.    Tell me what you're doing when you're doing

12    it too.    Are you on --

13                 A.    I'm just searching files to see anything

14    that I have on Yan or Yan-ni.

15                 Q.    I only have so much time, so if you can't

16    find it now, then at a break we can see if we can pull

17    that information down.

18                 A.    All right.      Sounds good.

19                 Q.    Then there's a dash RD knows.        Who's RD?

20    What do those initials stand for?

21                       What are you looking at, Mr. Oltmann?

22                 A.    My attorney.

23                 Q.    Who is RD?      The lawyer can't give you the

24    answer.    I can't -- this is not their deposition.           This is

25    your deposition.

                                                                 Page 20

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 23 of 196


1                  A.    I'm not sure you understand the

2     significance of what we're dealing with.                 As a matter of

3     fact, I don't think you care.            So I'm going to answer

4     it -- I'm going to answer it this way.                 You asked me for

5     an answer, I'm going to give you an answer.

6                        In the last two weeks we've had two antifa

7     members that have targeted and tried to kill other

8     people.     We have one that tried to assassinate a guy in

9     Olympia, Washington.       We have another guy in California

10    that was hunted for stabbing someone at a protest, who is

11    a known antifa member.

12                       We have Joey Camp who's currently in

13    hiding and had to move locations twice in the last couple

14    of months due to antifa putting a hit out on his life.

15    There's another gentleman that worked for Project Veritas

16    out of New York and in 2019/2020 had a posted bounty for

17    his head.

18                       And then there's the dark web of the

19    bounty that's currently on my head by antifa in Colorado

20    and other states.       So you want me to divulge information

21    which, frankly, would need someone like Eric Coomer back

22    to this individual for retribution.                 And since we know

23    that the history of Coomer is to have retribution against

24    people, there's a hesitation on my side to divulge

25    anything based on the imminent danger to that particular

                                                                    Page 21

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 24 of 196


1     individual.

2                        MR. CAIN:       Objection.         Nonresponsive.

3                  Q.    (By Mr. Cain)          Who is RD?      And I'm going to

4     ask the Court for more time if this continues.                  I want

5     responses to my questions.

6                  A.    I answered the question.

7                  Q.    Who is RD?

8                  A.    I'm asking for the truth, and you can't

9     handle the truth.         Or you don't care about the trust,

10    which is obvious by how you act in a courtroom and how

11    you lie in your proceedings.

12                 Q.    Who is RD?        Are you going to answer my

13    question or not?         What does that stand for?

14                 A.    That stands for the individual that gave

15    me access to the call.

16                 Q.    What's the name?

17                 A.    That's his name.

18                 Q.    RD is his name?

19                 A.    Is his name.

20                 Q.    What's his last name?

21                 A.    RD.

22                 Q.    No, sir.       That -- that's not his name.

23                 A.    That's his --

24                 Q.    Give me the name.

25                 A.    That's the information I have on that

                                                                     Page 22

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 25 of 196


1     individual.

2                  Q.    Pardon?

3                  A.    That is the information that I have on

4     that individual.

5                  Q.    That's the entirety of the information.

6     You know this person by RD, period?

7                  A.    I know that person by RD.

8                  Q.    And you don't know his first name?

9                  A.    I know that person by RD.

10                 Q.    Do you know his actual first name or not?

11                       MS. HALL:     Objection.

12                 Q.    (By Mr. Cain)        Let's quit playing games.

13                       MR. CAIN:     Counsel, I'm asking a question.

14                       MS. HALL:     He's answered you three times.

15                 A.    I answered the question.

16                       MS. HALL:     You don't like the answer.         He

17    told you he knows the individual by the initials RD.

18                 Q.    (By Mr. Cain)        Do you know his actual name,

19    is the question.

20                 A.    His name is RD.         That is his name.

21                 Q.    Do you know -- what's his last name?

22                 A.    RD is his name.         If you know anything

23    by --

24                 Q.    What is his last name, sir?         What is his

25    last name?

                                                                 Page 23

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 26 of 196


1                  A.    If you know anything about the antifa

2     movement, everyone in antifa uses names -- other names.

3     That is the name that he gave me.

4                  Q.    What is Eric Coomer's antifa name?

5                  A.    What do you mean Eric Coomer's antifa

6     name?

7                  Q.    You said everybody in antifa uses other

8     names.    What is his -- Eric Coomer's antifa name?

9                  A.    I believe Eric Coomer loves his notoriety.

10    I believe Eric Coomer is one that likes to be in the

11    middle of the limelight.         I believe Eric Coomer is the

12    one that wants to be the one in charge.                 And frankly, on

13    the call, no one knew -- or there were people that didn't

14    know who he was because they asked who he was.

15                 Q.    Sir, you're being evasive.             I --

16                 A.    That is not evasive.             That is the answer

17    to the question.      You asked a question; I answered it.

18                 Q.    I know.    I asked a different question that

19    you didn't answer.

20                 A.    What was that?

21                 Q.    So let me ask this question again.

22                       Are you in contact with RD --

23                 A.    I'm not.

24                 Q.    -- or not?

25                       When is the last time you spoke with this

                                                                       Page 24

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 27 of 196


1     individual?

2                  A.    Five months ago, six months ago.

3                  Q.    Where does this person live?

4                  A.    I do not know.

5                  Q.    In Colorado?

6                  A.    I do not know.

7                  Q.    How did you get in touch with this person

8     initially?

9                  A.    He showed up at an FEC meeting.

10                 Q.    Where?

11                 A.    In Castle Rock, Colorado.

12                 Q.    Is he a member of FEC?

13                 A.    I do not know the answer to that.

14                 Q.    Who would?

15                 A.    I would have to check and see if the

16    member --

17                       THE REPORTER:        I'm sorry, sir.   Just a

18    moment.     I'm sorry.      I just didn't hear or understand the

19    last part of the answer.         Can you repeat, please?

20                       THE DEPONENT:        I would have to check with

21    FEC to see if they have a record of him in their

22    memberships.

23                 Q.    (By Mr. Cain)        Can you do that for me since

24    we're taking FEC's deposition tomorrow?

25                 A.    Hold on.

                                                                 Page 25

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 28 of 196


1                  Q.    All right.      I'm going to circle back to

2     what I was asking you about RD.             Do you know this person's

3     actual name or not?

4                        MS. HALL:     Object to form.

5                  A.    He presented himself as RD.

6                        MR. CAIN:     Objection.         Nonresponsive.

7                  Q.    (By Mr. Cain)        My question is:      Do you

8     know --

9                        MS. HALL:     He answered the question.            You

10    don't like the answer.         That's your problem.         You've

11    asked this question at least five times.                He's answered

12    the question.      And you keep asking the same question, and

13    you don't like the answer.

14                       MR. CAIN:     Ms. Hall, you can guarantee

15    that I'm going to be asking for more time if you keep

16    interrupting my questions.

17                 Q.    (By Mr. Cain)        My question was:      Do you

18    know his actual ID beyond these initials?                Do you know his

19    name, and you're just not providing it to me?

20                 A.    He was known to me as RD.            He was very,

21    very careful and very, very scared about himself coming

22    out in any of this.       I've already given you more

23    information than I think I'm probably -- that I've been

24    told I can give.

25                 Q.    (By Mr. Cain)        Told by whom?

                                                                   Page 26

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 29 of 196


1                        MS. HALL:       Objection.

2                  A.    I've given -- I've answered your question.

3                  Q.    (By Mr. Cain)          No, you haven't.

4                        My question is this:               You say he presented

5     himself as RD.      That's fine.          I understand your testimony

6     there.    But my question wasn't how he presented himself.

7     My question was:         Do you actually know his -- his full

8     name -- his identification and you're just not providing

9     that to me?

10                 A.    I do not know his full name.

11                 Q.    Do you know his first name?

12                 A.    I've never verified his identity.

13                 Q.    So you don't know his first name?

14                 A.    He was known to me as RD.               I've given you

15    the information of who he is.

16                 Q.    RD isn't a first name.               And my question is:

17    Do you know what the R stands for?

18                 A.    No.

19                 Q.    Let's go about it that way.               Richard?

20    Roger?    Rick?    Do you know?

21                 A.    I do not know what the R stands for.

22                 Q.    Do you know what the D stands for?               His

23    last name, perhaps?

24                 A.    I do not know what the D stands for.

25                 Q.    Do you have contact information for him?                  A

                                                                      Page 27

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 30 of 196


1     phone number?

2                        THE REPORTER:        I'm sorry.      The answer?

3                        THE DEPONENT:        I do not.

4                  Q.    (By Mr. Cain)        You said five or six months

5     ago was the last time you were in contact with him.                   Is

6     that your testimony?

7                  A.    To the best of my recollection, yes.

8                  Q.    How did you get in touch with him?

9                  A.    Through a Signal.

10                 Q.    What is his Signal handle?

11                 A.    RD.

12                 Q.    Have you produced your communications from

13    Signal to your counsel with RD?

14                       MS. HALL:     Objection.         You're asking for

15    attorney-client privileged information.                He's not

16    answering that question.

17                       MR. CAIN:     No, I'm not asking for

18    attorney-client information.            The fact of providing the

19    information to counsel isn't privileged.

20                       MS. HALL:     Yes, it is.

21                       MR. CAIN:     It doesn't fall under advice.

22                 Q.    (By Mr. Cain)        Do you have access to your

23    Signal communications with RD, Mr. Oltmann?

24                 A.    No.

25                 Q.    Why not?

                                                                   Page 28

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 31 of 196


1                  A.     Because Signal deletes after 5 minutes,

2     10 minutes.       Those communications are deleted inside the

3     app.

4                  Q.     So there -- there is information that you

5     have in terms of communications with your conduit that

6     have been deleted as a result of the use of the Signal

7     app?    Is that your testimony?

8                  A.     That's not what I said.

9                  Q.     What's -- what's incorrect about my

10    statement?

11                 A.     When someone communicates with you via

12    Signal, they set the standard for what can be kept inside

13    of that conversation.

14                 Q.     Okay.

15                 A.     It's a limitation of the technology.

16                 Q.     I understand that.            But my -- my question

17    was, there are communications or were between you and RD

18    that have been deleted?

19                 A.     Not true.

20                 Q.     So you still have them?

21                 A.     I do not have them.

22                 Q.     Because they have been deleted?

23                 A.     That is not true.            That is a play on words

24    by you.    That is not what happened.                  What happened is, is

25    the app limitation is that those are deleted.                    When

                                                                       Page 29

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 32 of 196


1     someone communicates with you, they set the standard by

2     which you can keep those communications.

3                  Q.    When did you initially contact -- or make

4     contact with RD?

5                  A.    End of July, I believe, early September.

6                  Q.    2020?

7                  A.    Yes.

8                  Q.    Describe the -- your initial contact with

9     this person.

10                 A.    I was at a meeting.                He walked up to me

11    and said that he was a part of antifa and he was leaving

12    it, and that it was not the same organization as when it

13    started and something to that effect.                    And I basically

14    glad handed him and said, I'm glad you're not a part of

15    antifa anymore.      Shook his hand and told him to stick

16    around and get involved.

17                       I shook probably another 100, 150 other

18    people's hands at the same time.                That was the first -- I

19    think that was the first time I met him.

20                 Q.    How is it that -- well, just walk me

21    through the progression, Mr. Oltmann, that you shook his

22    hand at an FEC meeting in you said July or September.

23                       When was your next contact with him?                Walk

24    me through that progression, please.

25                 A.    He made a couple of attempts to contact

                                                                       Page 30

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 33 of 196


1     me.

2                  Q.    How?

3                  A.    Through Signal.          I think -- let me -- let

4     me go back a little bit.          I think through Signal.          I

5     can't find any text communication from him, and I don't

6     think I gave him my email -- or my phone number.                  I know

7     he made a couple of -- he made a couple of attempts to

8     contact me, and I did not return his call or I did not

9     respond.

10                 Q.    When he attempted to contact you, what was

11    he saying?

12                 A.    I don't remember.            I don't recall.    I

13    probably get somewhere between 3 and 400 people in a

14    given week to try to contact me.

15                 Q.    Did you ever communicate with him via cell

16    phone number?

17                 A.    No.

18                 Q.    Via email?

19                 A.    No.

20                 Q.    Via regular text?

21                 A.    No.

22                 Q.    All the communications with RD that weren't

23    in person were through Signal?

24                 A.    I believe so.         Yes.

25                 Q.    So when he attempted to contact you a few

                                                                   Page 31

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 34 of 196


1     times, you didn't respond to those, then what happened

2     next?

3                  A.     He showed up at another FEC meeting, which

4     was -- I think it was the beginning of September, to the

5     first week of September.           And this time he walked up to

6     me again and said, you know, I've been trying to reach

7     out to you.       I -- I can get you access to these --

8     getting in the antifa call.

9                  Q.     How did he know you wanted access?

10                 A.     I don't think he knew that I wanted access

11    or didn't want access.          He had just made a statement at

12    the previous conversation that he was a part of antifa

13    and that these people that are writing things about you,

14    they're antifa members inside of -- they're antifa

15    journalists.

16                        And so it piqued my interest before, but I

17    wasn't -- I was not surprised.               And this time by telling

18    me he can give me access to that call, definitely piqued

19    my interest.

20                 Q.     This FEC meeting that you just testified

21    about, was this also in Castle Rock?

22                 A.     Yes.

23                 Q.     Are those meetings -- do you have sign-ins

24    sheets or anything that would identify who attended the

25    meetings?

                                                                  Page 32

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 35 of 196


1                  A.      I think we started to do that, yes.

2                  Q.      Do you still have FEC meeting sign-in

3     sheets from this time period?

4                  A.      No.

5                  Q.      Why not?

6                  A.      Because they're not kept.            They're written

7     in papers.        We wouldn't keep those -- that information.

8                  Q.      Well, you -- you acquire the information.

9     Do you then convert it into an electronic record?

10                 A.      We take the emails and convert those into

11    electronic records, yes.

12                 Q.      Okay.     Did -- did RD provide an email?

13                 A.      I do not know.          I did tell you that I

14    would check the logs for members for the deposition

15    tomorrow.

16                 Q.      All right.        While you're at it, can you

17    also look at the sign-in sheets or however that's now

18    notated to see if you have information for RD?

19                         MS. HALL:       Charlie, just for the record,

20    he told you that he did not keep those.                  If anything,

21    there would be an email address.                  And he already

22    confirmed that he would look that up.

23                 A.      I will check for that information,

24    nonetheless.

25                 Q.      (By Mr. Cain)          You said that he indicated

                                                                     Page 33

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 36 of 196


1     that he had some information on antifa journalists.                  Who

2     did he say he had information on?

3                  A.    I do not believe at that time he told me

4     about any one person in particular.

5                  Q.    Okay.     What happened next with respect to

6     this guy?

7                  A.    He became more agitated.           He contacted me

8     and told me what day that was going to happen, which I

9     don't recall the actual day.              It was a pretty busy time

10    for us at FEC and a pretty busy time for us as a country.

11    I invited him to come to my office.

12                 Q.    Where you're sitting now?

13                       MS. HALL:       Objection.

14                 Q.    (By Mr. Cain)          Is that where you -- you met

15    with him where you're sitting now?

16                       MS. HALL:       Objection, Charlie.      I told you

17    it's not relevant and he's not answering the question.

18                 Q.    (By Mr. Cain)          Are you going to not answer

19    my question?      Did you meet with RD where you're sitting

20    now?

21                 A.    The purpose of this deposition being

22    remote is to protect me.           I have to sit here for three

23    hours, and there is no way I'm going to disclose where I

24    am right now that could lead anybody on your side to

25    become here and do harm to me.               So I will not divulge

                                                                  Page 34

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 37 of 196


1     where I'm --

2                  Q.    Mr. Oltmann, you know what, I've listened

3     to you say our side wants to do harm to you --

4                  A.    I am.

5                  Q.    -- multiple times.

6                        You don't have any evidence of that, and

7     there's absolutely no reason we would want any harm to

8     come to you.      I want you to be sitting there at -- during

9     trial.    Okay?

10                       Do you understand that?

11                 A.    You ask me a question; I'll answer the

12    question.     You want to put your -- your

13    little -- whatever you want to call what you said, your

14    opinion, I have no interest in listening to you.

15                       I will answer your questions.              I'm here

16    for three hours to answer your questions.                  Not to be

17    badgered by some prick.           So you figure out what questions

18    you want to ask me.         You ask me those questions, and I

19    will answer those questions.

20                 Q.    Okay.     Did you meet with RD there where

21    you're sitting?

22                       MS. HALL:       Objection.         Charlie, I told

23    you, move on.      He's not answering that question.              You

24    already went down this road.              And it's not relevant to

25    the issue of defamation where he met with this person.

                                                                     Page 35

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 38 of 196


1                  Q.    (By Mr. Cain)         Let me ask you this way --

2                        MS. HALL:      And whether or not he's there

3     now.

4                        MR. CAIN:      Ms. Hall, enough.

5                  Q.    (By Mr. Cain)         Let me ask you this:     You

6     said he was agitated, and you had a meeting with him,

7     correct?

8                  A.    Yes.

9                  Q.    Describe his appearance for me.

10                 A.    I'm sorry?

11                 Q.    If I need to pick him out of a line-up,

12    describe his appearance.          How tall is he?        What color of

13    hair?    How old is he?       What race or ethnicity?

14                 A.    This is unbelievable.

15                 Q.    Describe him.

16                       They can't answer your questions.            They can

17    make legal objections, not speaking objections.                They

18    can't answer the questions that I'm asking you.                This is

19    why I wanted this in the courthouse.

20                 A.    You want it in the courthouse because you

21    wanted to have me arrested.            You said so in -- with

22    conferral with counsel.

23                 Q.    Describe --

24                 A.    Exact words, actually.            Even though in the

25    courtroom you lied to me.

                                                                   Page 36

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 39 of 196


1                  Q.    I did not say that.              That's false.   I did

2     not say that to your counsel.

3                        MS. HALL:     Charlie, I'm not going to get

4     into this during this deposition, but you did say that on

5     the phone.

6                        MR. CAIN:     I did not.

7                        MS. HALL:     Okay.      Well --

8                        MR. CAIN:     I never said I want to get him

9     arrested.     And you're wasting my time.

10                 Q.    (By Mr. Cain)        Describe the physical

11    appearance of RD.

12                 A.    He's a white male.

13                 Q.    How old?

14                 A.    Under 30.

15                 Q.    Do you know his educational background,

16    where he went to school?

17                 A.    I do not.

18                 Q.    Do you know what he does for a living?

19                       MS. HALL:     Objection.           Relevance.

20                 Q.    (By Mr. Cain)        Do you know what he does for

21    a living?

22                 A.    I'm not going to answer that question.

23                 Q.    Do you know?

24                 A.    I'm not going to answer that question.

25                 Q.    Why not?     This is identity of your conduit.

                                                                     Page 37

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 40 of 196


1     You're under a court order to answer these questions.

2                  A.    Oh, I'm very aware of that.

3                  Q.    Okay.

4                  A.    I'm also aware that the judge in this case

5     marched in June of 2020 in an antifa protest.                  I'm also

6     aware of that.

7                  Q.    And, in fact, you've called her an antifa

8     judge, haven't you?

9                        MS. HALL:       Charlie, what's the relevance

10    of this?     Like, I mean, what he believes of the judge or

11    what he's done on his own time is not relevant to a

12    defamation case with your client Eric Coomer.

13                       MR. CAIN:       I don't think you know what is

14    relevant, and quit interrupting this.

15                       MS. HALL:       No.     I have the ability to --

16                 Q.    (By Mr. Cain)          Haven't you referred to --

17                       MR. CAIN:       No, we're going to get into

18    what is antifa and what isn't, which is highly relevant

19    to this.     And he's called Eric Coomer a member of antifa.

20    We're going to talk about that.

21                 Q.    (By Mr. Cain)          You've called the judge an

22    antifa judge, haven't you?             I want to know what qualifies

23    someone to be part of antifa?

24                       Why did you call the judge an antifa judge?

25                       MS. HALL:       Objection.         Relevance.

                                                                     Page 38

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 41 of 196


1                  Q.      (By Mr. Cain)          What makes someone a member

2     of antifa?        That's the point of my question.

3                  A.      It's a pretty well-organized organization

4     for something they say isn't organized.

5                  Q.      Okay.     But what makes someone part of

6     antifa?     Are you going to answer my question?

7                          You called the judge an antifa judge in our

8     case.     You've referred to Dr. Coomer as a member of

9     antifa.     What makes either of them part of antifa?

10                         MS. HALL:       Objection with regard to the

11    judge.

12                 A.      Eric being on an antifa call.              Eric

13    putting up posts that were pro antifa, anti-American,

14    anti-police.        Posting literally right after antifa put

15    the manifesto out there, the next day he posted it on his

16    social media.

17                 Q.      (By Mr. Cain)          Anything else?

18                         Marching in a rally, marching in a Black

19    Lives Matter protest, does that make someone a member of

20    antifa?

21                         MS. HALL:       Objection.         Relevance.

22                 A.      I think being on an antifa call where you

23    say that somebody is not going to win, and you made sure

24    of it, probably makes you a part of antifa.

25                 Q.      (By Mr. Cain)          We'll get to that.

                                                                       Page 39

                                   Veritext Legal Solutions
                                        800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 42 of 196


1                  A.    Communicating with journalists, who are

2     antifa journalists, journalists that stand up for the

3     fascist/antifascist movement, would probably qualify them

4     as antifa.

5                  Q.    Anything else you can think of?          You've

6     called the judge an antifa judge.              That's why I'm asking

7     you what -- what about that would qualify -- our judge

8     would qualify her as part of antifa?

9                        MS. HALL:     Objection, Charlie.       Move on

10    with this questioning with regard to the judge.              It is

11    not relevant to your defamation case.

12                       MR. CAIN:     Yeah, it is.       I want to know

13    what -- what makes someone antifa.

14                       MS. HALL:     But you keep referring --

15                       MR. CAIN:     Calling my client -- I'm not

16    debating with you, Ms. Hall.

17                       MS. HALL:     Well, then I'm going to start

18    instructing my client not to answer your question.                It's

19    not relevant to your lawsuit.            What is going on with the

20    judge, what he said about the judge is not relevant to

21    Eric Coomer.

22                       MR. CAIN:     I'm talking about antifa.

23                       MS. HALL:     No, you're not.       You keep

24    referring to the judge.

25                       MR. CAIN:     I'm not asking you, Ms. Hall.

                                                                 Page 40

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 43 of 196


1     Ms. Hall, we're trying to figure out in your client's

2     mind what makes someone a member of antifa.              He's called

3     the judge an antifa judge because she marched in a --

4     allegedly, I have no knowledge of this -- in a rally or

5     some form of a protest.

6                  Q.    (By Mr. Cain)        What makes that -- take the

7     judge out of it.      What makes someone who's involved in

8     that activity antifa?

9                        MS. HALL:     That's been asked and answered.

10                       MR. CAIN:     He hasn't answered it.

11                 A.    I did answer it.

12                 Q.    (By Mr. Cain)        What makes someone, in your

13    mind, an antifa journalist?

14                 A.    A radical leftist that communicates openly

15    with other radical leftists that stand for antifa being

16    antifascist, who are then themselves are the racist

17    pedophiles and racists of our society.              Typically white

18    extremist liberals.

19                 Q.    And they have to be racist and pedophiles?

20    Is that part of your definition?

21                 A.    This isn't a deposition.

22                 Q.    It is a deposition.

23                 A.    This is a battering session for you

24    because you don't like the fact that I call you out.                And

25    I'm --

                                                                 Page 41

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 44 of 196


1                  Q.    I don't --

2                  A.    I'm sorry I hurt your feelings.

3                  Q.    I could care less about anything --

4                  A.    Let's talk about -- let's talk about

5     antifa and what antifa does.            And let's talk about the

6     qualifications of the judge because that's what you

7     wanted to ask.      So I'll talk about that.

8                        MS. HALL:     No, don't.

9                  Q.    (By Mr. Cain)        No, sir.    I just want

10    answers, and you're being evasive.

11                 A.    I'm not being evasive.

12                 Q.    If you can't tell me who this person is

13    that was your conduit beyond a white male under 30 with

14    the initials RD.

15                       Do you have anything else going back to RD

16    that would inform me on who this person is?

17                 A.    No.

18                 Q.    You would not identify where he works.

19                 A.    I don't know where he works.          And that

20    wasn't your previous question.

21                 Q.    Did you ever know where he was employed?

22                 A.    No.

23                 Q.    Do you have any employment information on

24    him?

25                 A.    No.

                                                                 Page 42

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 45 of 196


1                  Q.    Do you know what city he lived in during

2     the period of time you were dealing with him?

3                  A.    Denver Metro area.

4                  Q.    Do you know anybody else who knows him,

5     friends of his, family?

6                  A.    I've given you all the information on him.

7     That is what I'm under a court order to disclose, and

8     I've disclosed that.

9                  Q.    You didn't answer my question.

10                       Do you know any of his friends,

11    people -- other people who know him?                Family members?

12                       Either you know it or you don't.

13                 A.    (No response.)

14                 Q.    I'm going to reclaim this time at some

15    point.    So there's no point in you just sitting there and

16    not responding to me.

17                       Do you know the answer to my question?

18                 A.    (No response. )

19                 Q.    Family members?         Friends?

20                 A.    (No response. )

21                 Q.    I'm taking by your silence that you do.             Do

22    you know, sir?

23                 A.    I know that the goal of this is to uncover

24    this individual, so this --

25                 Q.    Absolutely.

                                                                   Page 43

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 46 of 196


1                  A.    -- so this person is put in danger.

2                  Q.    Not true.

3                  A.    If you put the person in danger, you hope

4     to punish this person the same way that I'm being

5     punished with a court order --

6                  Q.    Sir?

7                  A.    The same way that the couple thousand

8     people that have signed affidavits across the country

9     have been punished and threatened.

10                 Q.    You have no evidence that we want to do

11    anything like that and nothing could be further from the

12    truth.

13                       What I want to know is what happened on

14    this call, and who got you on it and who else was there,

15    which you haven't provided to anyone at this point.                 So

16    that's why I'm asking these questions.

17                       Do you know friends or family of this RD,

18    and you're just not telling me?

19                       Are you refusing to give me that

20    information?

21                 A.    (No response.)

22                 Q.    Okay.

23                 A.    I don't want to speculate.

24                 Q.    Did your counsel just provide you with

25    information?      I didn't -- I couldn't hear it, but off

                                                                 Page 44

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 47 of 196


1     camera I want to make sure that Ms. Tubbs got that.

2                        MS. HALL:       I told him not to speculate.

3                        THE REPORTER:          I cannot hear the

4     whispering.

5                  Q.    (By Mr. Cain)          Okay.       But I'm not asking

6     you to speculate.

7                        THE REPORTER:          I cannot hear the

8     whispering.

9                  A.    He did not show up to these meetings

10    alone.

11                 Q.    (By Mr. Cain)          Okay.       Who did he show up

12    with.

13                 A.    I don't know.

14                 Q.    Describe him.          Same person?       Multiple

15    people?

16                 A.    No.     The same person, yes.

17                 Q.    What's the name of the person he showed up

18    with?

19                 A.    I don't remember.

20                 Q.    Male or female?

21                 A.    Male.

22                 Q.    Friend?

23                 A.    I assume so.

24                 Q.    Okay.     So you know he has a friend that

25    showed up at the meetings.             Is that person still part of

                                                                      Page 45

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 48 of 196


1     FEC?    Does he show up at meetings still?

2                  A.    He was not an FEC person, I think they

3     brought him in.      I think it's just another person that

4     came with him.

5                  Q.    Okay.     But this other individual -- do you

6     know who they are?         Are they showing up at FEC meetings?

7                  A.    No.

8                  Q.    Okay.

9                  A.    And I'm not at many of the FEC meetings

10    currently.

11                 Q.    All right.        So you said that -- you

12    mentioned that RD was agitated during one of your meetings

13    where you, I guess, won't identify where you were at at

14    this particular meeting.

15                       But what was he agitated about,

16    Mr. Oltmann?

17                 A.    So maybe agitated is probably the wrong

18    word.    Scared, paranoid.         Wouldn't meet me for coffee at

19    a coffee shop.      Would make sure that I was -- he was

20    10 minutes late.         I would ask him questions about, you

21    know, who he is as a person.              Typical things that I would

22    do when trying to mentor someone who I think is going

23    down the wrong path.

24                 Q.    Okay.     And then how did this develop to him

25    getting you on an antifa call, as you define it?

                                                                 Page 46

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 49 of 196


1                  A.      I don't understand the question.

2                  Q.      Well, you were meeting with him.            You said

3     you had coffee.        He was scared and paranoid.            I want you

4     to walk me through the history of -- of your relationship

5     with this person and how he got you on the call.

6                  A.      And the history was pretty vanilla.            I met

7     with him for coffee, as I do many people.                  I met with him

8     at a park.        Just having conversations about who he is, to

9     validate who he is, up to the point where I was on the

10    call.    I think it was more for -- as much for him as it

11    was for me.

12                 Q.      What did you learn about him that you

13    haven't testified to during this getting-to-know-you

14    process?     You said you were at a park.               You learned about

15    who he is.        What did you learn?

16                 A.      I learned that he has family members that

17    are part of antifa.

18                 Q.      And?     Is that it?

19                 A.      I learned that he just wanted to do good

20    and he thought that antifa was truly doing good.

21                 Q.      Okay.     Anything else?

22                 A.      I learned that he had kids.

23                 Q.      Is he married?

24                 A.      And I learned that his fear is, is that

25    his kids would grow up under the same thing that he went

                                                                     Page 47

                                   Veritext Legal Solutions
                                        800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 50 of 196


1     through when he grew up, and that they would be dragged

2     into something like this that would take him down a path

3     that he couldn't get them off of.

4                  Q.    Did you learn whether he was married or

5     not?

6                  A.    He's in a relationship, yes.

7                  Q.    Do you know who his partner is?

8                  A.    I have not.

9                  Q.    Never met him or her?

10                 A.    I have not.

11                 Q.    All right.        So this -- this

12    getting-to-know-you process occurred during what period of

13    time?    The summer of 2020?

14                 A.    No.     It happened -- it went back in time

15    and said July to September, I met with him a couple

16    times.    It was a pretty busy time given all the unrest

17    that was happening in Denver.

18                 Q.    Okay.     Then where did the idea come that he

19    would provide you access to a call?

20                 A.    At first he said that he didn't have the

21    information for when the call would occur.             And I believe

22    he called me a couple days before the call to ask me

23    questions, and then we had the -- the call itself.

24                       Now, I did attempt to -- I think I can

25    divulge this.      I did attempt to gather the information

                                                                 Page 48

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 51 of 196


1     related to that call some months later.

2                  Q.    What do you mean?           I don't understand that.

3                  A.    I attempted to contact Zoom and see if

4     they could, given a certain period of time, find out --

5     and given a certain IP address or bank of IPs -- how I

6     could recover that particular call.

7                  Q.    Why?    Why did you do that?

8                  A.    To have more concrete, tie it down to the

9     actual number itself or access code that would give me

10    access to that information so that I could then subpoena

11    that information for -- access that information related

12    to this.

13                 Q.    And did Zoom provide any information to you

14    that was of use?

15                 A.    No.    But it's well-documented.

16                 Q.    What do you mean?

17                 A.    It's documented.          I went to someone within

18    my company and asked that person to do this research for

19    me.

20                 Q.    Do you have some record of the research

21    results?

22                 A.    I can check.        I don't think so, but I can

23    check.     I'm sure that there's conversations that happened

24    related to it, yes.

25                 Q.    All right.       If you can put that on your

                                                                  Page 49

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 52 of 196


1     list, I'd like to get that information if it's available.

2                        All right.        So when -- did you -- did you

3     get a sense from RD that he had been on calls like this in

4     the past and, therefore, thought this particular call

5     would be of interest to you?              Describe how, you know, that

6     came about.

7                  A.    Oh, at that point the only focus was

8     antifa journalists.         That is the only focus I had

9     throughout the entire thing is the things that people

10    were saying about me.

11                 Q.    You didn't like what was being written

12    about you by certain members of the media at the time?

13                 A.    I don't think it was as much being written

14    about me as it was being written about FEC United.

15                 Q.    Okay.     And who were the journalists that

16    bothered you in particular?

17                 A.    Be Sean Beedle, down in Colorado Springs.

18    Sean Heidi Beedle.

19                 Q.    Okay.     Anyone else?

20                 A.    Yeah.     Eric -- I don't know how to say his

21    last name.

22                 Q.    Mobich [phonetic]?

23                 A.    Mobich.      Oh, yeah, you know him, huh?

24                 Q.    Anyone else?

25                 A.    Yeah.     Kyle Clark.         I don't know if Kyle

                                                                   Page 50

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 53 of 196


1     Clark was before or after.             But I certainly know that

2     he's affiliated with antifa.

3                  Q.    So he too is an antifa journalist?

4                  A.    I guess you could call him that.

5                  Q.    All right.        I'm not going to call him that.

6     I asked you the question.

7                  A.    I mean, in my opinion I would call him

8     that, yes, I would call him an antifa journalist.

9                  Q.    Okay.     So I've heard the storey before, of

10    course, that you were concerned about these journalists

11    and what they were saying about you.                  So is it fair then

12    to say that your -- your interest in RD was, he was going

13    to be able to put you on a call with some of these

14    journalists who were writing bad things about you?

15                 A.    Yes.

16                 Q.    Okay.     And in were any of these journalists

17    that you mentioned actually on this Zoom call?

18                 A.    There -- there was a couple journalists on

19    there, but they weren't doing -- and I only take this by

20    the friendliest comment related to the call.                  I was

21    somewhat underwhelmed by the conversations because it was

22    filled with rhetoric.          But it was fascinating because of

23    the planning and the fact that they were very, very well

24    organized on how they communicated on these calls.

25                 Q.    All I'm asking you about right now is -- is

                                                                     Page 51

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 54 of 196


1     the identity of the people that were on the call itself.

2                  A.      I believe if you check my notes, you will

3     walk, through, and I started putting down information

4     related to who I thought was on the call.

5                  Q.      Okay.     Let's do that, then.          Let's segue

6     into that.        We'll come back to how you got on the call in

7     a minute.     I can't define from your notes who was on the

8     call or who was just being discussed.

9                          So referring to Plaintiff's Exhibit 29,

10    your notes, who was it that you can say for a fact was on

11    the call, journalists or otherwise, besides yourself, and

12    as you claim, Mr. Coomer?

13                 A.      Well, the information from that call led

14    me to information about Heidi Beedle.                   I thought she was

15    on that call, but then again, nobody used names on the

16    call.    No one used names.            The only one that popped up

17    was the Bev that popped up.               And I wrote that down as it

18    came up.

19                 Q.      Okay.     You've said, I think in the past,

20    that you thought there were about 15 to 20 people on the

21    call while you were on the call; is that right?

22                 A.      Yes.

23                 Q.      Okay.     Why can't -- I'm sorry.          Go ahead.

24                 A.      Go ahead.

25                 Q.      So why can you not positively identify

                                                                      Page 52

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 55 of 196


1     Heidi Beedle being on the call, or can you?

2                  A.    I cannot because no one had names to

3     verify that.      So the only names that came up during this

4     are the names that I wrote down.

5                  Q.    Well, you wrote down Heidi.        Did you write

6     Ron at one point?

7                  A.    I suspected that that was the person that

8     was beginning to speak at the beginning of the call.

9                  Q.    What do you -- what do you recall her

10    saying?

11                 A.    The -- that particular person was talking

12    about the Colorado Springs Independent, which is why I

13    thought that was Heidi because it sounded like Heidi, but

14    I wasn't sure.      So the more that that person talked, the

15    more I wrote down information related to that person to

16    hone in on that particular conversation.

17                 Q.    Okay.     Did you ever learn subsequent to

18    this call whether it was Heidi, in fact, that was on the

19    call?

20                 A.    You mean did I definitively say that that

21    was him?

22                 Q.    Yes.

23                 A.    I don't think that -- I think I was able

24    to validate that he was an antifa journalist, yes.

25                 Q.    I'm just asking -- you did research after

                                                                 Page 53

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 56 of 196


1     this call on Dr. Coomer.             Did you research -- do any

2     research to try to authenticate whether Heidi was on the

3     call or not?

4                  A.      I authenticated Beedle as being an antifa

5     journalist based on this conversation and this call, yes.

6                  Q.      Okay.     That's a different answer to the

7     question I asked.        Did you do any research --

8                  A.      I did -- I did do research on Mr. Beedle,

9     yes.

10                 Q.      Okay.     As you sit here today, what level of

11    certainty do you have as to whether she was on the call or

12    not?

13                 A.      I don't.       I don't have a level of

14    certainty.        I have a level of certainty that she is an

15    antifa journalist.

16                 Q.      Okay.

17                 A.      If I had to give you a degree of

18    certainty, that degree of certainty would probably be in

19    the 70 to 80 percent range.

20                 Q.      I don't know the pronoun of this person.

21    He or she was on the call, you would say you're 70 to

22    80 percent certain of that?

23                 A.      I'm taking a wild guess.

24                 Q.      That's your best -- best estimate based on

25    your perception in what you've learned about Ms. Beedle;

                                                                 Page 54

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 57 of 196


1     is that fair?

2                  A.      I would say that Mr. Beedle is a pretty

3     disgusting human being, and I learned a lot about

4     Mr. Beedle.

5                  Q.      That's not responsive.             I was saying that's

6     your best estimate based on participating in this call and

7     what you subsequently learned, you're about 70 to

8     80 percent sure that Heidi Beedle was on this call; is

9     that fair?

10                 A.      The basis for this call was to uncover

11    antifa journalists.        During the course of this call, I

12    uncovered an antifa journalist, a person that actively is

13    an activist rather than a journalist that writes slanted

14    and defamatory articles about people of the opposite

15    political affiliation.         That is what I learned by this.

16    I learned that this person is, in fact, an antifa

17    journalist.

18                 Q.      But that -- again, sir, that's not what I

19    was asking you.        You had said -- I had asked you how

20    certain you were that she was on this call, and you said

21    you're about 70 to 80 percent certain that she was

22    actually a participant.

23                         And my question is:             Is that your

24    testimony?        Is that a fair estimate?

25                 A.      That's me taking a wild guess.

                                                                      Page 55

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 58 of 196


1                  Q.    All right.      From your notes, can you

2     identify anybody else -- or actually, I'm not going to

3     hamstring you to your notes.            But either through referring

4     to your notes from the call or other observations, can you

5     identify anyone else who you can testify with certainty

6     was on the call?

7                  A.    Eric Coomer.

8                  Q.    We'll get to Mr. Coomer -- Dr. Coomer in a

9     minute, but excluding him, because that's obviously in

10    dispute.     Anybody other than, as you say, Dr. Coomer and

11    yourself that you can identify as having been on this

12    call?

13                 A.    I think that they do that on purpose where

14    they hide their identities on these calls.                    If you'll

15    look at subsequent disclosures of antifa communication

16    across the country, this is -- what I'm telling you right

17    now about their communication on this particular call,

18    and how they spread out communication across different

19    devices and different platforms, is that they often use

20    either names -- code names or don't use any names at all

21    in order to -- in order to have those conversations as

22    anonymous as possible.

23                 Q.    That's an explanation, but it's not -- it's

24    not an answer to what I asked you.                  I said:    Is there

25    anyone else on this call that you can identify with

                                                                       Page 56

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 59 of 196


1     certainty by name?

2                  A.    Eric Coomer.

3                  Q.    A code name or -- or anything like that.                 I

4     just want to know who could authenticate, besides

5     yourself, and as you would say, Dr. Coomer since you claim

6     he was on the call.       But who can -- who can you

7     authenticate that was on the call so that we could talk to

8     them about what occurred?

9                  A.    Well, if Eric Coomer wasn't on the call,

10    why did he clean up all of his social media platforms?

11    Totally wipe the internet of his name or -- or any of

12    the --

13                 Q.    That's not a response to my question.

14                 A.    Let me finish.        You asked me a question,

15    and I get to answer that question.                  Now, at the end of me

16    answering that question, if you want to ask me or tell me

17    that that's not answering the question --

18                 Q.    I didn't ask you about Eric Coomer deleting

19    anything.     I asked you, who can you identify with

20    certainty was on the call?

21                 A.    And I answered that question with 100

22    percent certainty that Eric Coomer was on that call.

23                 Q.    And I already told you we're going to deal

24    with that in a minute.        I want to know, other than

25    yourself, and as you claim Dr. Coomer, is there anyone

                                                                     Page 57

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 60 of 196


1     that you can say was on the call with certainty?

2                  A.     I mean, I know for certainty that other

3     people were on the call, yes.            But I don't know for

4     certainty the direct identity of those people.

5                  Q.     So you were -- it's now a year since

6     you -- approximately, since you say this call occurred.

7     And a year later, as you sit here, you cannot identify a

8     single person other than Dr. Coomer, as you claim, and

9     yourself that was on this call; is that true?

10                 A.     I'm -- I'm fairly sure that of the other

11    people that were on this call, that if I had -- if I had

12    to take a guess -- and the problem with taking a guess

13    and pinpointing those people is that I did an amazing

14    amount of research on antifa journalists to find more

15    information that would corroborate the fact that they

16    were, in fact, acting as a proxy for the antifa movement.

17                        So at the time this was not my focus.           My

18    focus was not who necessarily is on the call.             My focus

19    was on the people that were out there actively writing

20    things about FEC and others that correlated with antifa

21    and were doing so, in other words, because they were

22    politically motivated.

23                        So at the time, my whole thing was to

24    un-demask antifa journalists.            I used this as a catalyst

25    to do that.       So to my mindset when all this occurred was

                                                                 Page 58

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 61 of 196


1     strictly to get as much information as possible so that I

2     knew that I could identify those people that were inside

3     of our journalist environment who are really just

4     actively antifa members that were just defaming and

5     slandering people because they didn't agree with them on

6     a political level.

7                  Q.    That's an explanation, but it's not an

8     answer to my question.

9                  A.    Well, it actually is an answer because the

10    answer that I gave you directly correlates to the fact

11    that I was looking for evidence that these were actually

12    people that were inside of the journalistic environment.

13    I found that.      I used that information in order to go

14    down a path to figure out who these people are.

15                 Q.    You can't tell me another person that was

16    on this call, can you, other than yourself, and as you

17    claim, Dr. Coomer?

18                 A.    I have a pretty high degree of likelihood

19    that Mr. Beedle was on that call.

20                 Q.    Okay.

21                 A.    I have a high --

22                 Q.    Understood that?

23                 A.    -- high likelihood correlates to

24    Mr. Beedle's massive involvement in the antifa movement,

25    a massive involvement in our revolution, a massive

                                                                 Page 59

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 62 of 196


1     involvement in writing a Marxist manifesto herself.

2                  Q.    Okay.     Thank you.         We're building a list.

3                        You have certainty with respect to two

4     individuals:      Yourself and Dr. Coomer.             You have a high

5     level of certainty with respect to Heidi Beedle.

6                        Is there anyone else that you can identify

7     with either certainty or a high level of certainty that

8     you believe was on this call?

9                  A.    The interesting part about -- and if I can

10    clarify the information about Beedle.                 The interesting

11    part about Beedle is that she had been communicating on

12    Twitter with another individual dating back to June of

13    2020 by the name of Will Coomer, William Coomer.                 Back

14    into June of last year, I believe, they were

15    communicating via Twitter, William Coomer underneath,

16    Heidi Beedle on the Twitter account.

17                       This has continued all the way into 2021

18    where Will Coomer, just -- I guess you could say it's a

19    coincidence by your -- by your terms -- is still

20    communicating with Heidi Beedle on Twitter.

21                       So if -- if I had to just correlate those

22    two together, that would -- we've been able to do a lot

23    of research on William Coomer, and so I would say that

24    there's a high likelihood based on all that information.

25                       Again, I don't want to say 100 percent of

                                                                    Page 60

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 63 of 196


1     the -- of the time that this the smoking gun.             I think

2     that antifa members are very careful not to have smoking

3     guns as you'll see in this election, but -- although I do

4     think there are some.          But I would use that as a

5     correlation to Coomer being on the call and Beedle having

6     a probability of being on that call.

7                  Q.    And the Coomer you're referring to, though,

8     in that -- in your last part of your answer is William

9     Coomer?

10                 A.    No.     The last part of my answer is William

11    Coomer communicating with Heidi Beedle via Twitter, and

12    the correlation of Eric from Dominion being on that call.

13    And the fact that I had written down, first off, in my

14    notes, that Heidi Beedle is this Navy, probably inside of

15    my notes on page 1.

16                 Q.    Okay.     You lost me with respect to the

17    William Coomer aspect.          My question wasn't about the

18    Twitter communications.           My question was who with a high

19    degree of certainty or certainty can you identify as being

20    on the call?

21                 A.    Well, Heidi Beedle has paid a lot of

22    attention to me over the last nine months and has gotten

23    into --

24                 Q.    No, sir.       I -- I'm not asking about Heidi.

25    You've already identified her as someone.             So I'm asking

                                                                 Page 61

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 64 of 196


1     for anyone else.

2                  A.     No.

3                  Q.     No.     That's it?

4                  A.     I gained more information as this

5     progressed.       But, no --

6                  Q.     Okay.

7                  A.     -- on this call.

8                  Q.     And are you saying that William Coomer has

9     some relation to Dr. Eric Coomer?

10                 A.     I'm not saying anything at this point.

11                 Q.     Do you know if -- I had understood

12    someone -- well, strike that.

13                        Do you know whether he's related to

14    Dr. Coomer?

15                        MS. HALL:       Objection.

16                 A.     I don't know.          I mean, I was told

17    that -- that -- that there was a relation, but I'm yet to

18    fully verify that.

19                 Q.     (By Mr. Cain)          All right.    So --

20                        MS. HALL:       Charlie, could we take a break?

21                        MR. CAIN:       Yeah, that's fine.       How long

22    have we been on the record?

23                        THE VIDEOGRAPHER:            One hour, 19 minutes.

24                        MR. CAIN:       Yeah, let's -- let's take a

25    break.

                                                                       Page 62

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 65 of 196


1                        THE VIDEOGRAPHER:          Going off the record.

2     The time is 11:23.

3                        (Discussion off the record.)

4                        (Recess from 11:23 a.m. to 11:42 a.m.)

5                        THE VIDEOGRAPHER:          We're back on the

6     record.    The time is 11:42.

7                  Q.    (By Mr. Cain)        All right.     Mr. Oltmann, I

8     want to kind of pick up where we left off.               But before I

9     do that, I had a note here -- I looked at my Signal app

10    during the break and observed that it's phone

11    number-based.      And so if -- did you say you still have

12    access to your Signal app and RD to where you can provide

13    us with his phone number?

14                 A.    No.   I did try -- I did try to recover

15    that information through counsel.

16                 Q.    What happened to the information?

17                 A.    I believe my phone was replaced sometime

18    in the middle of my security and there were a number of

19    changes.     So if someone removed you as a contact, you

20    don't have access to that information.               But I went

21    through and scoured it looking for any conversations that

22    I had during that time period, and that -- at the request

23    of counsel.

24                 Q.    So let me make sure I understand.              I know

25    there were some pictures that we were provided that looked

                                                                  Page 63

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 66 of 196


1     like a phone had -- had some damage to -- done to it.                 Is

2     that what you're referring to?               You had some damage to

3     your phone?

4                  A.    I was asked to provide a picture of the

5     damaged phone.      I was asked to provide a picture for the

6     new contract when I had the phone replaced.               I replied --

7     I gave that information as a request, I think on your

8     side or the Court's side, to provide that information

9     relevant to what information I was or was not able to

10    recover on the phone.

11                 Q.    Okay.     And I -- and you've said many times

12    you're a tech guy.         I'm not.       In terms of the Signal app,

13    you have that installed on your phone currently, right?

14                 A.    I do.

15                 Q.    But you weren't able to recover the contact

16    that you had for RD in order to provide us with a number

17    that -- that you were given, the actual cell number?

18                 A.    No.     So I don't know the technology for

19    this specifically, but if somebody removes you, then you

20    will not see them in your contacts.

21                 Q.    And you don't have any other record of the

22    cell phone number for RD?

23                 A.    I was never contacted on a cell phone

24    record, no.

25                 Q.    Well, I know.          But when you -- when you

                                                                  Page 64

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 67 of 196


1     associate someone on Signal, you have to -- you get their

2     cell number.      They have to provide that information.                     So

3     at one point you had it.

4                  A.    I don't believe that you're correct.                  I

5     believe that you can use -- you do not have to use your

6     cell phone number in order to log in to Signal.                    I don't

7     believe that that is a requirement.

8                  Q.    If you wanted to contact RD now, how would

9     you go about doing so?

10                 A.    I have been trying.                Knowing that I was

11    going to have this information, I was trying.

12                 Q.    Okay.     What -- what efforts have you gone

13    to?   When you said you've been trying, what have you done

14    specifically?

15                 A.    I've reached out to people that have

16    information about antifa members.                I've reached out to

17    people that are deep in the researching or investigations

18    of antifa members.         I've asked if they could uncover

19    information that would lead to them to have a

20    conversation with this individual, or any information

21    that I did disclose could put this person in danger.

22                       THE REPORTER:          I'm sorry.        I'm having

23    trouble understanding and hearing the deponent.                    Could

24    you get closer to the phone or the computer to pick you

25    up better?

                                                                       Page 65

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 68 of 196


1                        THE DEPONENT:          All right.     Is that better?

2                        THE REPORTER:          Yes.

3                        MR. CAIN:       Yes.

4                        THE DEPONENT:          Okay.

5                  Q.    (By Mr. Cain)          You are muffled.

6                  A.    I'm trying to write while I'm talk- --

7     take notes while I'm --

8                  Q.    Okay.     So I guess to summarize, you don't

9     have access to any information right now that

10    would -- that would put us or anyone in touch with RD,

11    true?

12                 A.    True.

13                 Q.    You've identified for us some members that

14    were on the call.         We've already discussed that.            You have

15    said that the purpose for being on this call was to

16    uncover antifa journalists, fair?                 Is that a fair

17    statement?

18                 A.    Yes.

19                 Q.    All right.        And as a result of the call,

20    you uncovered Heidi Beedle as an antifa journalist, right?

21                 A.    I did not 100 percent confirm that, but

22    that was my -- in my notes.             That was my -- that was my

23    recollection.      That was my opinion of who was on the

24    call, yes.

25                 Q.    All right.        And you mentioned two others,

                                                                    Page 66

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 69 of 196


1     Eric Mobich and Kyle Clark.             Were either of those

2     individuals on the call, if you know?

3                  A.    No.     They talked about them as being

4     friendlies.

5                  Q.    Okay.

6                  A.    They didn't actually talk about Kyle

7     Clark.     They talked about another individual related to

8     that --

9                        THE REPORTER:          I'm sorry, sir.       I can't

10    understand you still.          Can you get closer -- I don't

11    know.     Can we go off the record a minute?

12                       MR. CAIN:       Sure.

13                       THE VIDEOGRAPHER:            Going off the record.

14    The time is 11:47.

15                       (Discussion off the record.)

16                       (Recess from 11:47 a.m. to 11:50 a.m.)

17                       THE VIDEOGRAPHER:            We're back on the

18    record.     The time is 11:50.

19                 Q.    (By Mr. Cain)          Okay.       This RD, was this --

20    the call -- the antifa call that we've been discussing,

21    was that the first antifa call that he arranged for you to

22    be on?

23                 A.    Yeah.     No.     Well, actually, yes, yes.

24                 Q.    Because you've indicated in the past that

25    you've -- you were on more than one.                   You infiltrated more

                                                                      Page 67

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 70 of 196


1     than one call, right?

2                  A.    Well, I said that I've infiltrated other

3     communications, yes.

4                  Q.    Okay.     What do you mean by that?

5                  A.    I mean, I've been involved in -- and I

6     didn't say that I had, but we had.                    We had infiltrated

7     other things, other meetings, other communication, other

8     protests.

9                  Q.    Okay.     And you're using the royal "we."

10    Who are you referring to when you say "we had"?

11                 A.    Other people that were involved in or

12    associated with FEC or knew ADF.

13                 Q.    Okay.     Can you -- is there a point person

14    or a core group of people that you can identify that were

15    involved in this?       By name.

16                 A.    I don't understand.                So there's lots of

17    research being done on antifa.

18                 Q.    Okay.     All right.         Well, let me backtrack a

19    second.

20                       Other than the call that we've described

21    where you -- obviously you didn't identify yourself on

22    this Zoom call in question, right?

23                 A.    I did not.

24                 Q.    My question earlier was geared towards

25    that, other calls that you were able to get on through a

                                                                       Page 68

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 71 of 196


1     conduit such as RD.           Was this the only one?

2                  A.      No.     The only call that I was on related

3     to this was this call.            The previous time that I had a

4     scheduling conflict, I could not get on the previous

5     call.    So this was the call that I could actually be on

6     at my -- you know, at my office.

7                  Q.      Okay.     And that's -- that was the point.

8                          So as far as this -- this scenario where

9     someone gets you on a call that you can monitor

10    anonymously, this is the only one that you can testify to

11    as having been on under these circumstances?

12                         MS. HALL:       Objection.          Relevance.

13                 A.      I -- can you repeat the question?

14                 Q.      (By Mr. Cain)          Yeah.       I'm just trying

15    to -- you said in the past that you had infiltrated antifa

16    calls.    I'm trying to find out how many other calls you

17    were on such as this one.

18                         MS. HALL:       Charlie -- I'm trying to -- I'm

19    trying to figure out why this is relevant to limited

20    discovery.        We're here for one specific call that dealt

21    with your client, not other calls.

22                         THE DEPONENT:          Is that an objection?

23                         MR. CAIN:       No.     It's a speaking objection,

24    and it's waived.

25                         He's testified to this and provided

                                                                        Page 69

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 72 of 196


1     information on this, and I want to get an answer to my

2     question.

3                  Q.    (By Mr. Cain)          Are there other calls or was

4     this --

5                        MS. HALL:       Again, it's not relevant.

6                        MR. CAIN:       I don't -- either make an

7     instruction, but quit interrupting my questions, please.

8                        MS. HALL:       I did.       I'm objecting.

9                  Q.    (By Mr. Cain)          So --

10                       MR. CAIN:       Okay.      Make your objection and

11    then I will ask the question.              He'll answer it unless you

12    make an instruction.

13                 Q.    (By Mr. Cain)          Let's just focus on RD.      Was

14    this the only call that this particular conduit got you

15    on?

16                 A.    Yes.

17                 Q.    Okay.     Were there other similar calls

18    relating to uncovering antifa members besides the one in

19    question that you were on?

20                       MS. HALL:       Objection.

21                 A.    Any type of communication or ways that

22    antifa communicated that we were able to get on or be at,

23    whether it be a meeting or otherwise, we did so legally.

24                 Q.    (By Mr. Cain)          I don't -- I don't -- I'm

25    not asking about legality at this point.                I'm just asking:

                                                                   Page 70

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 73 of 196


1     Is there any other calls such as the one that you've been

2     describing that you were on.              Either yes or no.    I'm not

3     asking about whether it was legal.

4                        MS. HALL:       Objection.

5                  A.    That I was on?

6                  Q.    (By Mr. Cain)          Yes, that you were on.

7                  A.    Okay.     That I was on, no.

8                  Q.    Okay.

9                  A.    Personally.

10                 Q.    Now, going back to the antifa call, I have

11    seen various dates -- or a range of dates that this call

12    was alleged to occur.          What specific date did this Zoom

13    call occur?

14                 A.    It happened between the mid and end of

15    September.

16                 Q.    Right.      And so my question was,

17    specifically.      We have notes from the call that are not

18    dated, correct?

19                 A.    Correct.

20                 Q.    And you've said in your affidavit that it

21    was on or about the week of September 27th of 2020.                 And

22    then you've said in testimony -- including just now -- mid

23    to late.

24                       Why can you not provide us the actual date

25    that the call occurred?

                                                                    Page 71

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 74 of 196


1                  A.    Because it wasn't on my calendar.           And the

2     only thing that I can do is get within a few days of the

3     September 26th screenshot, which is when I did the

4     information search related to Eric Dominion, Denver,

5     Colorado.

6                  Q.    Right.      Because we have a screenshot of you

7     doing that on September 26th, right?

8                  A.    Yes.

9                  Q.    So the call obviously would have occurred

10    prior to that, based on your prior testimony, correct?

11                 A.    It would have, yes.

12                 Q.    And so your best recollection, I guess,

13    would have been that the call would have been within a few

14    days of September 26th prior to that?

15                 A.    That's me guessing.                Yes.

16                 Q.    Well, that's the most likely scenario, is

17    it not, based on your recollection?

18                 A.    It's been a year, so I don't know.

19                 Q.    And you -- do you keep a calendar?

20                 A.    I do.

21                 Q.    Is it an electronic calendar or a

22    handwritten one, old-fashioned?

23                 A.    Sometimes a little bit of both.

24                 Q.    Okay.     What were you doing -- what do you

25    remember doing on the date that this call occurred?

                                                                   Page 72

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 75 of 196


1                  A.    I don't.     I mean, I can't go back that far

2     and give you that information.             I mean, I can check my

3     calendar to see what I was doing on those dates, but

4     that's as close I can get.

5                  Q.    Well, have you tried to go back -- I mean,

6     has anybody asked you to triangulate the actual date?                       I

7     don't want to ask you about your lawyers.                  But has anybody

8     asked you to do that?         Any of the other defendants, to try

9     to get an actual date?

10                 A.    No.   My lawyer has asked me those

11    questions, yes, and I've gone back and done as much

12    research as I possibly can.           There's a lot of moving

13    parts happening at the same time.              I also ran a company

14    at the same time I was involved in building up FEC

15    United, and the same time that I was advocating for

16    people's rights in this community related to faith,

17    education, and small businesses.

18                       THE REPORTER:        I'm sorry.        And small

19    businesses?

20                       THE DEPONENT:        Yes.        Yes, ma'am.    Small

21    businesses.

22                 Q.    (By Mr. Cain)        All right.        So as you sit

23    here today, your testimony is it would have been -- within

24    a few days is your best estimate that the antifa call

25    occurred; is that fair?

                                                                        Page 73

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 76 of 196


1                        MS. HALL:       Objection.

2                  A.    I'd rather not speculate, which is why I

3     said from the middle to end of September.                I know it

4     happened before the 26th of September.

5                  Q.    (By Mr. Cain)          And you can't -- despite

6     efforts in looking at your calendar, you can't recreate

7     your schedule in order to get us a specific date, true?

8                  A.    I've attempted to.

9                  Q.    The book that has your notes in it --

10                 A.    Yes.

11                 Q.    -- do you still have that book?

12                 A.    I do.

13                 Q.    Does it have other notes besides the notes

14    relating to the antifa call?

15                 A.    It does.

16                 Q.    In other words, subsequent to these notes,

17    are you able to look at any material that would help you

18    nail down the date in question?

19                 A.    No.     My schedule is pretty tight.            I'm

20    fairly busy on a daily business.                It's one of the key

21    complaints that my attorneys have in me getting back to

22    them promptly.

23                 Q.    Okay.     Back to the Zoom call.         Was there

24    any video associated with this particular call?

25                 A.    We were not in a video set, no.            We

                                                                   Page 74

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 77 of 196


1     weren't video'ing the call.

2                  Q.    Right.      I understand you weren't on video.

3     But were other people on the call on video?

4                  A.    No.

5                  Q.    And the person RD, was he with you during

6     the course of this call?

7                  A.    For part of it.

8                  Q.    Okay.     Explain which part he was with you.

9     Just to get you on the call?

10                 A.    No.     He was here for part of the call.

11                 Q.    Okay.     So you two were there in your office

12    and you started the call, and then he left?

13                 A.    I think he came in and out, yes.

14                 Q.    In and out.

15                       Did he hear -- was he there during the time

16    that this conversation about Eric from Dominion occurred?

17                 A.    I believe so, yes.

18                 Q.    And since he was associated with antifa, as

19    you understood it before, did he identify for you anyone

20    else that was on the call from his -- from his own

21    knowledge?

22                 A.    I believe he gave me some context behind

23    this Yan guy or Yan-ni guy.

24                 Q.    So you think he knew him?

25                 A.    I do, yeah.

                                                                 Page 75

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 78 of 196


1                  Q.    All right.        Anything else that you can

2     recall?

3                  A.    Not that I can recall.

4                  Q.    There's other names on your notes that we

5     didn't discuss on the first page, on Bates 205.                 I think

6     we've -- we've discussed everybody but Joey Camp.

7                        Joey Camp was not on this call, I take it,

8     right?

9                  A.    I do not believe so.

10                 Q.    Was part of the discussion on this call

11    about Joey Camp?

12                 A.    Yes.     At that point I had never met Joey

13    Camp, and I really didn't know who he was.

14                 Q.    Okay.     Can you -- is it fair to say that

15    Mr. Camp was one of the -- one of the primary topics of

16    this call?

17                 A.    No.

18                 Q.    All right.        And how much time was spent

19    discussing Joey Camp while you were on the call?

20                 A.    A few minutes probably.

21                 Q.    Do you remember what was said about him?

22                 A.    Yeah, that he's a rat.             They had a lot of

23    choice things to say about him.

24                 Q.    Okay.     A rat meaning -- meaning what?          What

25    did you understand that to be referring to?

                                                                    Page 76

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 79 of 196


1                  A.    They were not talking about him in

2     endearing terms.

3                  Q.    And then you also have listed -- I don't

4     think we got to them -- you put rat in your notes, I do

5     believe.

6                  A.    Yeah.

7                  Q.    Help contact this Joey.            So is that your

8     note to yourself to say you need to get in touch with him

9     as a result of what was said about him?

10                 A.    Yes.

11                 Q.    I mean, the idea of being an enemy of

12    antifa as a potential friend or alley for you?

13                 A.    It was just another point of data.

14                 Q.    Then you say under that note about Joey,

15    Tay, hyphen, question mark.             This guy is antifa, two

16    question marks.

17                       What is the -- why did you write that down?

18                 A.    They were talking about Tay Anderson.              And

19    that -- it came up because of connection between the -- I

20    think it was PSL and antifa.              I think that that's the

21    socialist movement on DSL.             I think it's DSL.

22                 Q.    Okay.     Well, what was the discussion about

23    Mr. Anderson?

24                 A.    Mr. Anderson was, I guess, involved in

25    organizing protests and was standing up.                And I don't

                                                                   Page 77

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 80 of 196


1     remember the context behind it.              It was just the context

2     of them bringing in someone that is a school board member

3     into the conversation.

4                  Q.     Did RD tell you who actually organized this

5     Zoom call?

6                  A.     No.

7                  Q.     And you don't know?

8                  A.     No, no.    But nobody questioned -- well, it

9     doesn't matter.

10                 Q.     Nobody questioned what?

11                 A.     Nobody questioned him being on the call.

12                 Q.     Oh, RD.    Okay.

13                        Do you know whether Tay Anderson was a part

14    of this call at any point?

15                 A.     I can't say for certain, no.

16                 Q.     Were you on the call when it began?

17                 A.     No.

18                 Q.     Were you on the call when it ended?

19                 A.     No.

20                 Q.     So you don't know how long the call was in

21    total?

22                 A.     I can speculate.         But, no, I don't.

23                 Q.     How -- approximately how long were you on?

24                 A.     40 minutes, I believe is what I recall,

25    45 minutes.       Maybe a little less, a little more.

                                                                 Page 78

                                Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 81 of 196


1                  Q.    You -- you say in your notes, quote, Four

2     to five, close quote, training.

3                  A.    What page are you on?

4                  Q.    And then -- I'm sorry?

5                  A.    What page is that on?              I'm sorry.

6                  Q.    Bates 208 at the top.              I've actually

7     bookmarked that for a second.

8                        These notes are not in order, are they?

9     Like in the order you wrote them.

10                 A.    Based on what I'm looking at, no, they're

11    not.

12                 Q.    Okay.     In fact, what is the first page of

13    the note?     Antif- -- is it -- is it 206 where you say

14    antifa call - RD?

15                 A.    Yes.

16                 Q.    Okay.     So 206 is page 1?

17                 A.    Yes.

18                 Q.    What is page 2?

19                 A.    Page 2 is "fortify training."

20                 Q.    So that's --

21                 A.    The next one is 208.

22                 Q.    208 is page 2.

23                 A.    Then page 3 is, Contact this Joey.                 And

24    then page 4 is, Who is.

25                 Q.    Okay.     So then when you got on your first

                                                                     Page 79

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 82 of 196


1     note was, Who is this woman?              That's referring to Heidi

2     Beedle.    When you got off, your last note was Jojo, Joey

3     Camp, media, question mark.             Hit this guy.

4                        Is that a reference to contacting him?

5                  A.    No.     I think it was a reference to them

6     wanting to go after this guy.

7                  Q.    Okay.

8                  A.    Somebody referred to him as Jojo and

9     somebody referred to him as Joey Camp.                And at that

10    point, I didn't know who Joey Camp was.

11                 Q.    But you do now?

12                 A.    I do.

13                 Q.    Actually, while I'm thinking about it,

14    let's -- I just received this -- I'm going to see if I can

15    share my screen with you because this is not -- it's

16    probably something that you have in front of you.

17                       This is Plaintiff's Exhibit 131.            This was

18    posted, I think yesterday, on GAB by Joey Camp.                And it's

19    a two-page document.

20                       Did you see this posting, Mr. Oltmann?

21                       MS. HALL:       Charlie, we don't see anything

22    on the screen.

23                       THE DEPONENT:          I see nothing on the

24    screen.

25                       MR. CAIN:       Well, let's see.

                                                                   Page 80

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 83 of 196


1                         MR. BURNS:        For what it's worth, Charlie,

2     I was able to see it.

3                         THE REPORTER:           Who just said that?

4                         MR. BURNS:        John Burns.

5                         THE DEPONENT:           I think you've made me the

6     spotlight, so everyone else can see it, but I can't see

7     it.   So hold on a second.            No.     Well, I can't see it.

8                         MR. CAIN:       Let's do this.         I don't want to

9     waste time on this.          Let's go off the record for a

10    minute.

11                        THE VIDEOGRAPHER:            Going off the record.

12    The time is 12:09.

13                        (Recess from 12:09 p.m. to 12:17 p.m.)

14                        THE VIDEOGRAPHER:            Okay.    We're back on

15    the record.       The time is 12:17.

16                 Q.     (By Mr. Cain)           All right.     Mr. Oltmann,

17    before the technical issues, we were talking about Joey

18    Camp that is referenced in your notes.                   And then I had

19    marked Exhibit 131, tried to share my screen, and

20    that -- I understand you have it actually in front of you;

21    is that true?

22                 A.     I do.

23                        MR. CAIN:       And for the record, Exhibit 131

24    was posted on GAB.          It hasn't been produced by any

25    parties.     We were made aware of it last night.                And it

                                                                      Page 81

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 84 of 196


1     purports to be a posting from Joey Camp at Joey Camp

2     2020.

3                  Q.      (By Mr. Cain)        Do you recognize -- well,

4     let me ask it a little different way.                 Do you follow

5     Mr. Camp on GAB?

6                  A.      No.

7                  Q.      Have you ever seen this posting before now?

8                  A.      I have not.

9                  Q.      Are you in communication with Mr. Camp?

10                 A.      From time to time, yes.

11                 Q.      All right.      Well, this may be helpful or it

12    may not be since you hadn't seen it, but he makes some

13    statements that I wanted to ask you about.

14                         At the beginning of this document, he says,

15    When my team preserved material from Eric Coomer, we did

16    so because of his connection to antifa, not because of his

17    connection to Dominion, which we didn't even know existed

18    before --

19                         Do you know what he's referring to --

20                         MS. HALL:     Objection.

21                 Q.      (By Mr. Cain)        -- with that comment?

22                         MS. HALL:     I apologize, Charlie.

23    Objection.        Calls for speculation.

24                 A.      No.

25                 Q.      (By Mr. Cain)        In other words, have you

                                                                    Page 82

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 85 of 196


1     received material regarding Eric Coomer from Mr. Camp or

2     his team?

3                  A.    I don't believe so, no.             I have gotten

4     emails from Joey, but that's about it.

5                  Q.    Do any of those relate to Dr. Coomer?

6                  A.    I do not believe so.             If they did, they

7     would be in the discovery request.

8                  Q.    Then on the bottom of -- well, actually,

9     let me ask you one other thing.

10                       In this posting, in the middle of the

11    posting, there's a paragraph that says, During the phone

12    call with Eric Coomer on the line with other known members

13    of antifa nationwide, one of the antifa members spoke

14    about finding and killing me.            That was end of last year.

15                       Now, as far as you know, Mr. Camp was not

16    on the call that you have been describing, right?

17                 A.    Not -- not that I'm --

18                       MS. HALL:     Objection.          He can only answer

19    this question if it doesn't deal with attorney-client

20    privilege.

21                 Q.    (By Mr. Cain)        Yeah, I'm not asking if your

22    lawyers told you anything about this.                 It's just

23    like -- my question was:         As far as you know, Mr. Camp was

24    not on this call, correct?

25                 A.    Correct.

                                                                    Page 83

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 86 of 196


1                  Q.    Have you spoken to Mr. Camp about what

2     occurred on this call?

3                  A.    No.

4                  Q.    So you don't have any idea where he's

5     getting this particular information from; is that fair?

6                        MS. HALL:       Objection.         He can only answer

7     that question if it does not relate to attorney-client

8     privilege.

9                  Q.    (By Mr. Cain)          And that's fine.      If this --

10                 A.    On this --

11                 Q.    No, no, I don't -- not -- not if it's just

12    repeating something your lawyer said.                  I'm interested in

13    your testimony, not theirs.

14                 A.    Okay.     Can you repeat the question?

15                 Q.    Probably not.

16                       MR. CAIN:       Laurel?

17                       (The last question was read.)

18                 A.    Correct.

19                 Q.    (By Mr. Cain)          And was Mr. Camp or

20    anyone -- any team members, as he calls them -- did they

21    provide you with Dr. Coomer's Facebook pages?

22                 A.    No.

23                 Q.    The screenshot of the pages?

24                 A.    No.

25                 Q.    Because you -- let me actually back up for

                                                                     Page 84

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 87 of 196


1     a second.

2                        You provided -- I think it was counsel for

3     Sidney Powell and Defending the Republic, you provided

4     them with sworn testimony on or about August 18, I

5     believe, of this year, correct?

6                  A.    Yes.

7                  Q.    And part of -- and that's testimony that,

8     as you sit here today, you were under oath, you swore that

9     it was true, and that testimony is true and accurate,

10    correct?

11                 A.    Correct.

12                 Q.    I don't want -- I don't want to repeat or

13    reinvent anything from it.

14                       But one of the things that you refer to is

15    getting screenshots of Dr. Coomer's Facebook pages.                 And

16    as I appreciate your testimony, those screenshots did not

17    come from Joey Camp; is that fair?

18                 A.    That is fair.

19                 Q.    All right.        So who did -- who did you get

20    the screenshots of the Facebook pages from?

21                 A.    I got those screenshots from someone who

22    had access to that legally.

23                 Q.    Yeah.     And you've said that.

24                 A.    Can we take a quick break?         I need to use

25    the restroom.      I just drank a bunch of water.

                                                                 Page 85

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 88 of 196


1                  Q.    Well, let me -- let me ask you a follow-up,

2     then we can take the break, it relates to the question

3     that I just asked you.

4                  A.    All right.      I'll answer it.

5                  Q.    The -- the question was whose -- who gave

6     you -- this is along the lines of the other question about

7     the conduit, RD -- who is the person who gave you access

8     to the Facebook pages by giving you screenshots?

9                  A.    Someone that had legally -- legal access

10    to those screenshots.

11                 Q.    I'm asking you for the name.

12                 A.    I won't give you the name.        I will not

13    answer that question.

14                 Q.    You've been ordered by the Court to answer

15    that question.

16                 A.    I understand.        I also understand the

17    consequences that come from not answering that question.

18                 Q.    What's the basis for refusing to answer the

19    question?

20                 A.    Eric Coomer's lack of control, and his

21    ability to and desire to hurt those that speak out

22    against him.

23                 Q.    How has --

24                 A.    There's -- let me -- let me actually

25    finish that.      There's also another problem in that that

                                                                 Page 86

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 89 of 196


1     person is not protected under any protection order.                 And

2     at the point that he would be protected under a

3     protection order, I would seek that that protection order

4     also prohibit Eric Coomer from having access to that

5     information as well.

6                  Q.     In the hearing, we stipulated that the

7     protective order would be covered by the Facebook conduit

8     as well.     So they are protected, and that's our position

9     and stipulation.       So --

10                 A.     It is my position that that has not been

11    stipulated.       It is also my position that having Eric

12    Coomer have access to this individual would be a danger

13    to this person, given Eric Coomer's history with antifa.

14                 Q.     Sir, you're -- I just want to make sure

15    that you understand what you're doing.              The Court has

16    ordered you to provide that information to us.              And -- and

17    you are aware that there's an order in place to that

18    effect, right?

19                 A.     I also understand that on --

20                 Q.     But just answer that question first.            Can

21    you answer that?

22                 A.     I'm answering that question for you right

23    now.    On December 8th, Mr. Coomer said specifically that

24    those posts were fabricated.            He furthermore said that he

25    had no -- never had any sort of desire to push out

                                                                 Page 87

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 90 of 196


1     anything that would be politically motivated or biased.

2     That was, I think, paragraph 3.

3                        So as far as Mr. Coomer is concerned, I

4     fabricated those.       Now, you want me to come forward with

5     the person that gave me access to that information.                 Even

6     given the history of Mr. Coomer even as -- as recently as

7     a couple months ago where he got in a bar fight.

8                        So, I mean, you want me to give you

9     information related to this individual to a person who

10    has a history of flying off the -- off the handle, and I

11    don't think that that is appropriate.               So given that, I

12    understand the consequences.            I understand we'll go back

13    in front of the Court.         I will not divulge that

14    information unless I feel that that person is safeguarded

15    against Mr. Coomer specifically.

16                       MS. HALL:     Charlie, and I'm going to at

17    this point say we need to take a break and go off the

18    record.

19                       MR. CAIN:     I'm not agreeing to it.        I

20    mean, you can do what you want, but I want to get to the

21    bottom of this.

22                       MS. HALL:     And I understand -- there's no

23    question posed, and he asked for a break about four

24    questions ago.      So I'm asking for a break.

25                 A.    Just a quick break just to use the

                                                                  Page 88

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 91 of 196


1     restroom, and I'll be right back.

2                  Q.    (By Mr. Cain)        You're going to do it no

3     matter what.      I'm just saying I'm in the middle of a

4     topic, and so I'm not -- it's not an agreed-upon break.

5                        MS. HALL:     Okay.      Break.      We'll come back

6     in a few minutes.       Thank you.

7                        THE DEPONENT:        I'm just going to use the

8     restroom.     I'll be right back.

9                        THE VIDEOGRAPHER:          Going off the record.

10    The time is 12:26 p.m.

11                       (Recess from 12:26 p.m. to 12:34 p.m.)

12                       THE VIDEOGRAPHER:          We're back on the

13    record.     This is the beginning of Media Number 2.              The

14    time is 12:34.

15                 Q.    (By Mr. Cain)        Okay.       Mr. Oltmann, before

16    the break, I was asking you about the access to the

17    Facebook pages.      It wasn't an agreed break.             I don't want

18    to know if you -- the substance of your conversations, but

19    did you confer with counsel during the last break?

20                       MS. HALL:     Objection.

21                 A.    I didn't, no.        I went to the bathroom like

22    I told you I was going to.

23                 Q.    (By Mr. Cain)        So you didn't confer with

24    counsel?

25                 A.    I did not.

                                                                    Page 89

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 92 of 196


1                  Q.      Having had time to visit the restroom, I'm

2     going to give you one more shot.                  Are you going to respond

3     to my question as to who the person was that gave you

4     access to Dr. Coomer's Facebook pages?

5                  A.      No.     Put it in the protective order, and I

6     feel that that person is protected, then I may be

7     compelled to release that information.                     But given, again,

8     the irrational nature of Mr. Coomer, I'm not -- I'm not

9     prepared to do that right now.

10                 Q.      All right.        Well, I'll bite on -- and I

11    don't agree with you, I do believe it's protected.                     We've

12    already stipulated that it's protected and it's been

13    ordered.     So --

14                 A.      That doesn't stop -- that doesn't stop

15    Eric Coomer from being on this call right now and for him

16    getting access to that information.

17                 Q.      Right.

18                         And you're speculating, though, as to what

19    anyone would do with that information.

20                 A.      I'm not speculating.               I'm using -- I'm

21    using the habits and behavior of Mr. Coomer himself in

22    order to dictate what I think he will do in the future.

23                 Q.      Okay.     I'm going to burn a minute on this

24    because we're going to have to address this with the

25    Court.

                                                                        Page 90

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 93 of 196


1                          You said because of Dr. Coomer's lack of

2     control, you mentioned a bar fight.                  What specifically are

3     you saying presents a danger to the Facebook page person

4     by Dr. Coomer?

5                  A.      His -- his own writings that date back all

6     the way back to 1996.         His involvement with the

7     skinheads.        His previous addiction to heroin.            His

8     multiple arrests for DUI.           His inability to control

9     himself, comments and things that he's done in the past.

10                         I mean, he's just a wrecking ball.

11    Writing stuff publicly about how he abused his wife at

12    the time.     I didn't write these things, he did.               And

13    those aren't the writings of someone who is a sane

14    individual.        So I used his own writings and the things

15    that he wrote in order to come to a conclusion on what

16    he's likely to do to someone else based on his

17    recklessness with his own life.

18                 Q.      This -- this individual, as you understand

19    it -- but you also mentioned a bar fight.                  What does that

20    have to do with this?

21                 A.      I mean, you have a bar fight in the middle

22    of all of this.        I mean, I don't know.            I -- I don't --

23                 Q.      Who told you he had a bar fight?

24                 A.      Someone in the -- someone in the Salida

25    area.

                                                                     Page 91

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 94 of 196


1                  Q.    You mentioned, I think in the past, maybe

2     it was on one of your shows, that Dr. Coomer you said

3     assaulted two individuals.             Is that -- is that what you're

4     referring to?

5                  A.    That is the information that was provided

6     to me, yes.

7                  Q.    Okay.     So do you know whether or not

8     Dr. Coomer was charged with assault in this alleged bar

9     fight?

10                 A.    I do not believe he was.

11                 Q.    Right.

12                       And, in fact, do you know whether the other

13    individuals involved in this incident were charged

14    criminally?

15                 A.    I do not know that as well.

16                 Q.    You don't have any firsthand knowledge of

17    anything related to a bar fight in Salida, do you?

18                 A.    I hired a private investigator through

19    counsel.

20                 Q.    Right.

21                       Is Dr. Coomer under surveillance right now?

22                       MS. HALL:       Objection.

23                 A.    No.

24                 Q.    (By Mr. Cain)          Has he been in the past?

25                       MS. HALL:       Objection.

                                                                 Page 92

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 95 of 196


1                  A.    I don't know what my attorneys have done

2     in order to garner information about Mr. Coomer.

3                  Q.    (By Mr. Cain)          I'm not asking you about

4     your attorneys.      I'm talking specifically about whether

5     you have him under surveillance.

6                  A.    I personally do not have him under

7     surveillance, no.

8                  Q.    Have you ever sent someone to Dr. Coomer's

9     house to surveil him?

10                 A.    No.     Somebody volunteered to go by his

11    home to see if he was there because I was asked by

12    someone else if I'd seen Eric Coomer.                    Lots of people

13    reached out to me all over, giving me information about

14    Mr. Coomer.

15                 Q.    Can you see my screen?

16                 A.    I cannot.       You have to hit the share

17    screen button at the bottom.

18                 Q.    I'm screen sharing.                In the exhibits, it's

19    Exhibit 104.      You can't see it, I guess, because of your

20    setup, but it's on the screen.

21                 A.    Hold on.       Let me go to Exhibit 104.

22                 Q.    It was produced by Mr. Hoft.

23                 A.    Okay.

24                 Q.    It comes from the phone number

25    303-667-5105.      Is that your phone number?

                                                                       Page 93

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 96 of 196


1                  A.    It is.

2                  Q.    Is that your text to him, I sent someone to

3     his house and no sign of him?

4                  A.    I don't have that text in any of my texts.

5     And I don't understand the context of this.

6                  Q.    I asked you, Have you sent people to his

7     house to surveil him?          You said, No, that you had

8     volunteers.

9                        Did you send this text and did you send

10    someone to Dr. Coomer's house in November of 2020?

11                 A.    I did not send someone to his house.              I

12    sent someone to see if he was there.                  Because they called

13    me and said, I'm here.          I can check and see if he's at

14    his house.

15                 Q.    Okay.     Who did you send to his house?

16                 A.    It was a guy that lives in Salida that

17    reached out to me via Signal and said I live in Salida.

18    There's a lot of really bad people that live here.                  Those

19    are his exact words.         How can I help?

20                 Q.    Okay.     And my question is:           Just like all

21    these other questions that you're not answering, who is

22    this person?

23                 A.    I've answered every single one of your

24    questions.

25                 Q.    Who is the individual that you sent to

                                                                     Page 94

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 97 of 196


1     Dr. Coomer's house?       What's his name or her?

2                        MS. HALL:     Objection.

3                  Q.    (By Mr. Cain)        Who?

4                  A.    His name is Dave.

5                  Q.    Last name?

6                  A.    I actually don't have his last name.

7                  Q.    Oh.   Convenient.

8                        MS. HALL:     Charlie, we don't need the side

9     comments.

10                 Q.    (By Mr. Cain)        All right.    Dave in Salida,

11    you sent to Dr. Coomer's house in November, or at least he

12    volunteered to do it, right?

13                 A.    He actually said that he would go by

14    there.

15                 Q.    Is this the same person who provided you

16    information about some so-called bar fight?

17                 A.    No.   It was a private investigator that

18    got that information.

19                 Q.    So did you send this text or not on

20    Exhibit 104?

21                 A.    I'd have to see the text in order to see

22    that, if I did or didn't.

23                 Q.    The text is Exhibit 104, sir.          It's in the

24    Exhibit Share.      It's a one-liner.          It has your phone

25    number on it, you testified to, and is says, I sent

                                                                 Page 95

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 98 of 196


1     someone to his house and no sign of him.

2                        MS. HALL:     Charlie, you have cherry-picked

3     one sentence.      This thread shows that there's 14 text

4     messages.

5                  A.    Where are the rest?

6                  Q.    (By Mr. Cain)        I'm not going to ask about

7     the rest.     I have limited time.          I want to know the answer

8     to my question.      Did you send this text or not?

9                  A.    Well, I can't see the context of this

10    text.    I don't have this text in my possession, because

11    when my phone was replaced, that did not go with it.                 So

12    if you can show me the rest of the text, I can tell you

13    whether or not I sent it in the context of --

14                 Q.    This is what I have.             You can go back and I

15    guess talk to Mr. Hoft and review the records with your

16    counsel.

17                       My question is:         Did you send the text?         As

18    you sit here, do you know or not?

19                 A.    I don't know.        I mean, I'll assume that I

20    did if it came from Mr. Hoft, but I don't know.                 I don't

21    have this text in my possession.

22                 Q.    You talked about Dr. Coomer lacking control

23    and that's why you're not telling me the Facebook conduit.

24                       I'm going to show you what's been marked

25    previously as Exhibit 46.          This is a Parlor post.         You --

                                                                    Page 96

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 99 of 196


1     I'm sharing my screen, but you can't see it, so I guess

2     this is for the benefit of everyone else.

3                        Do you have that up?

4                  A.    Yeah.     What day was this?

5                  Q.    Does it matter?

6                  A.    Yeah.

7                  Q.    I don't know.          You sent it, didn't you?

8                  A.    I did not send that.               That was what's

9     called an echo.

10                 Q.    Okay.     Tell me what that is.

11                 A.    An echo is where you share somebody else's

12    post, and you can add your own thing to it.

13                 Q.    Okay.

14                 A.    But I do --

15                 Q.    I'm sorry.        Go ahead.

16                 A.    I do believe that when your family gets

17    threatened, when you have to surround your bed with metal

18    plates because you're afraid someone is going to come

19    kill your family, and you have to higher personal

20    security detail when people send you powder in the mail,

21    when people come to your house with a gun, those are all

22    things -- by the way, I didn't attack Dominion.                   I went

23    after the credibility of Eric Coomer and his connection

24    to the election fraud based on his own words.                   Right?

25                       So that happened within a couple of days

                                                                      Page 97

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 100 of 196


1      of -- of me actually coming out that Monday.               So I

2      didn't -- you don't cut the tongue out of the person

3      that's lying.     You cut the tongue out of the person who's

4      telling the truth.

5                        When you get attacked with such -- with

6      such vitriol, you have a tendency to get really pissed

7      off, especially when your kids and your wife are in

8      danger.    So, yeah, emotions fly high.

9                        So I don't know when this was written.              My

10     guess is that the top section was written

11     somewhere -- somewhere after or before he put up a post

12     related to the fact that those posts were manufactured.

13                 Q.    Okay.     You don't remember the con- -- the

14     circumstances that caused to you put this post up?

15                 A.    I'm sure it was anger.

16                 Q.    Okay.

17                 A.    I'm sure it was written out of anger.

18                 Q.    You're not denying that this is your post,

19     are you?

20                 A.    Well, I don't -- I don't know because I

21     don't have that post anywhere in any of the posts that I

22     have on Parlor.      It does not exist.

23                 Q.    Okay.     Well, we were able to get it from

24     Parlor, obviously.        Are you denying that you sent --

25                 A.    Hold on a second.            You got this from

                                                                   Page 98

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 101 of 196


1      Parlor?

2                  Q.    Yes.

3                  A.    You said you got this from Parlor.                You

4      got this from Parlor.         So Parlor gave you this post?

5                  Q.    No.     It was posted to your Parlor account.

6                  A.    Well, I went to Parlor and asked them if I

7      could get a record of my previous posts that did not show

8      up, and they denied me.

9                  Q.    Are you denying that you posted this, yes

10     or no?

11                 A.    I don't know if I posted it.             To me,

12     something like that would be an echo.                It would not

13     be -- an echo is where you basically repost somebody

14     else's post.

15                 Q.    Okay.     So did you repost -- when you say,

16     I've been busy doing 15 interviews in the last two days,

17     are you saying someone else posted that and then you just

18     reposted someone who had been doing 15 interviews in the

19     last two days?

20                 A.    No, no, no.         You don't understand how

21     Parlor works.     So you'll repost the post, which is a

22     picture, and then above it you just put your own -- your

23     own stuff into it.

24                 Q.    Okay.     So the picture was posted, and you

25     grabbed the -- the screenshot.              This is of Dr. Coomer's

                                                                    Page 99

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 102 of 196


1      house, isn't it, in Salida?

2                   A.   I think so.         I've never been there.

3                   Q.   Okay.     That was your understanding, though,

4      when you echoed that picture?

5                   A.   Sure.     If I did it, yeah.

6                        I've never -- I've never seen this post.

7                   Q.   Well, you typed it, didn't you?

8                   A.   Again, I went back in Parlor and I don't

9      have any access to any of those records.                 It's kind of

10     like the stuff with YouTube.             So you can tell me that I

11     posted this, but I can't find it anywhere.

12                  Q.   Well, do you remember doing it?              Do you

13     remember saying, So it's up to you, blow this shit up.

14     Share.     Put his name everywhere.            No rest for this

15     shitbag.     Eric Coomer.      Eric Coomer.          Eric Coomer.   This

16     shitbag and the corrupt ass hats in Dominion voting

17     systems must not steal our election and our country.

18     Eric, we are watching you.

19                       You don't remember typing that?

20                  A.   No.     But it's possible that I did type it.

21                  Q.   You did, didn't you?

22                  A.   I just answered your question.

23                  Q.   And you wanted people to go to his house.

24     That's why you reposted -- or echoed that picture?

25                  A.   You want to restate your question?

                                                                    Page 100

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 103 of 196


1                   Q.   Yeah.     What do you mean by "blow this shit

2      up"?

3                   A.   I'm not even sure I wrote it.

4                   Q.   So you're not standing by this?

5                   A.   I can't find it anywhere at Parlor.                   You

6      said you got it from Parlor, yet conveniently I can't go

7      to Parlor and get any posts previously.                   Nor are you

8      willing to give me the date that this was supposedly

9      posted.

10                  Q.   Did you delete this post?

11                  A.   I did not.        I've deleted nothing.

12                  Q.   You're under oath, sir.

13                  A.   Unlike your client.                Unlike your client, I

14     have deleted nothing.

15                  Q.   Including the Facebook video that you took

16     while you were in Grand Junction the other day that you

17     deleted?

18                  A.   What do you mean I deleted?                I didn't

19     delete it.

20                  Q.   Yeah, you did.          It was taken down.

21                  A.   That's not true.

22                  Q.   Who took it down?

23                  A.   It was never taken down.

24                  Q.   So that Facebook -- you're actually on

25     record saying you had to delete it.

                                                                      Page 101

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 104 of 196


1                  A.     You cannot be this stupid.            Maybe you are.

2      Maybe you don't use social media.              But all's I have to

3      do, and all's Eric had to do on all of those posts that

4      he deleted was change the settings so that they were not

5      public, and that he was the only one that could have

6      access to them.      So that's what I did.            I preserve

7      everything.      And you're the one that came out and said

8      that you preserved them as well.

9                  Q.     Oh.

10                 A.     So you want to have a debate about your

11     client, we can have a debate about your client.                If you

12     want to ask me questions related to your client and

13     his -- and whether or not he was on that call, whether or

14     not he was a part of election fraud, you know, we can

15     just starting mounting up the evidence.                I've been

16     through all your photos and exhibits.

17                        So if you'd like to ask me questions about

18     those, I'm prepared to answer those.                But this subjective

19     stuff that you want to throw in the middle of it and ask

20     me questions about things that either are not relevant or

21     not true, I'm not going to sit here and stand for it.

22     You can bully someone else.           You're not going to bully

23     me.

24                 Q.     Are you through?

25                 A.     Are you?

                                                                   Page 102

                                Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 105 of 196


1                   Q.      Nope.

2                   A.      Then let's go.

3                   Q.      So you said online that you took down the

4      video the other day from Grand Junction.

5                   A.      Yes.

6                   Q.      Okay.     So where you're quibbling with me is

7      deleting it versus taking them down?

8                   A.      That's what you said.

9                           MS. HALL:       And, Charlie, how is this

10     relevant?     What is this have to do with your client Eric

11     Coomer?     Does the video have something to do with your

12     client?     Because if not, please move on.

13                          MR. CAIN:       It's my time, Counsel.

14                          MS. HALL:       Then we'll sit here and you can

15     stare at my client, because the questions are not

16     relevant.     You're going beyond the scope of limited

17     discovery.        And you've done this with all of the

18     defendants, and I'm not cool with it anymore.

19                          MR. CAIN:       You've got intentional -- well,

20     first of all, I'm not going to debate you because it's a

21     waste of time.        He testified that my client lacked

22     control.     I've got an intentional infliction claim.           And

23     your client is unwilling to own up to what he posted on

24     Parlor as Exhibit 46.

25                  A.      No.     You're not asking me questions.     I

                                                                Page 103

                                    Veritext Legal Solutions
                                         800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 106 of 196


1      will answer those questions.           When you purposely lie to

2      me, as you have to the judge and in this case, which you

3      have done, then I'm going to correct that.

4                        You said that I deleted those posts.               Your

5      words, not mine.      I did not delete those posts.           I made

6      them private.     There's a difference between making

7      something private and preserving those things and

8      deleting them.     I did not delete them.

9                  Q.    (By Mr. Cain)        You took them down.      Then if

10     that's the issue that you have, then I stand corrected.

11                       MS. HALL:     Charlie, he did not take them

12     down.   He just told you he made the post private.              So

13     that means you and all of your team and all of your

14     experts and everything that you're doing to follow my

15     client 24 hours a day can no longer see that.            It is

16     still on his Facebook page.          If you are friends with Joe

17     Oltmann, you can go on his Facebook page --

18                       THE DEPONENT:        No, you can't.   No.

19                       MS. HALL:     -- and see it.

20                       THE DEPONENT:        No, but I'll show it to

21     him.

22                 Q.    (By Mr. Cain)        All right.   I'm going to

23     move on.    I can -- I guess what I can conclude from this

24     is that it's possible that you posted an echo of a picture

25     of Dr. Coomer's house and you wrote these words, but you

                                                                Page 104

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 107 of 196


1      won't confirm that for me?

2                   A.      There you go.         There's my video.   See,

3      this is Facebook.          See that?       That's the video you said I

4      took down.        It's still up on Facebook.

5                   Q.      That's the video you said you took down.

6                   A.      I'm sorry?

7                   Q.      That's the video you said you took down.

8                   A.      No.    Okay.     Anyway --

9                   Q.      You're -- you're starting -- well, I'm not

10     going to comment.

11                          What we'll do is, I guess, move on to --

12                  A.      It's a good idea.

13                  Q.      -- to another topic.

14                          Actually, you know what?          I'm going to take

15     a bathroom break.

16                          MS. HALL:      Oh, we object, Charlie.

17                          THE DEPONENT:         No, we don't.   Stop it.

18     Stop.    Please stop.        Charlie, take a bathroom break.           Do

19     you want a bathroom break, seriously?

20                          MR. CAIN:      Yeah.      We're going to go off

21     the record because we've got limited amount of time and

22     we've wasted a lot of it.             And I need to kind of organize

23     what I'm going to cover with you because I suspect your

24     lawyers are not going to agree to go past three hours

25     today.

                                                                   Page 105

                                   Veritext Legal Solutions
                                        800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 108 of 196


1                        THE DEPONENT:        They may not agree but, I

2      mean, obviously, I --

3                        MS. HALL:     Sure.

4                        MR. CAIN:     Let's go off the record.

5                        THE VIDEOGRAPHER:          Going off the record.

6      The time is 12:55.

7                        (Recess from 12:55 p.m. to 1:02 p.m.)

8                        THE VIDEOGRAPHER:          We're back on the

9      error.    The time is 1:02.

10                 Q.    (By Mr. Cain)        Mr. Oltmann, since we have

11     45 minutes, I'll probably jump around a little bit.              I

12     like to call it the lightening round.

13                       But before I get off on some topics, I was

14     informed by one of our lawyers that the Parlor post was on

15     or about December 5th, which would have been before they

16     took the Parlor down and I think there was some loss of

17     data.

18                       Does that help you in terms of your

19     recollection as to whether you posted that echo?

20                 A.    No, because once I saw this post, which

21     I've seen before, I went back to Parlor to try and

22     recover some of the information on Parlor to see if I had

23     posted that, in fact.       And I could find no record of it,

24     not at Parlor.

25                       But again, I guess that when the tech

                                                                Page 106

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 109 of 196


1      giants decided that they were going to sensor half of

2      America, they in essence deleted history and part of that

3      is the stuff that was up on Parlor.

4                   Q.    All right.        So did anybody else in December

5      of 2020, did anybody else have access to your Parlor

6      account besides yourself?

7                   A.    I'm not sure I understand the question.

8                   Q.    Well, someone posted this from your Parlor

9      account.     The point of my question is:             Did someone else

10     have access?      Could someone else have posted this?

11                  A.    Well, I can't authenticate that post.            I

12     mean, that post doesn't show that there's any comments.

13     That post doesn't show that there's any -- it doesn't

14     show anything.      It doesn't look like what Parlor looks

15     like today, which is the reason why I went back to Parlor

16     to ask them if this is a post that they could recover for

17     me.

18                  Q.    And it's your sworn testimony that you

19     don't recall -- or you can't recall having actually made

20     that post?

21                  A.    No.     But I've called Eric Coomer a shitbag

22     numerous times.

23                  Q.    Okay.     So you stand by the content.         It's

24     just you don't know if that's actually your post?

25                  A.    I stand by that comment.

                                                                   Page 107

                                  Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 110 of 196


1                   Q.   All right.        So let's -- let's talk a little

2      bit about -- we talked about the antifa call, and your

3      conduit has been identified as RD., and that's essentially

4      it.   We've talked about Facebook.              I want to follow-up on

5      the Facebook question now.

6                        You -- when you got this -- the original

7      screenshots from Dr. Coomer's Facebook account, were you

8      located at that elk hunt home that you had referred to in

9      some of your prior testimony?

10                  A.   Yes.

11                  Q.   Okay.     So just help me a little bit about

12     the timeline.     You had testified that you were -- you had

13     this epiphany when you were at this elk hunt.               This would

14     have been November 6 of 2020; is that correct?

15                  A.   I never had an epiphany.

16                  Q.   Okay.     Well, I don't mean to -- whatever it

17     was, on November 6th is when you started looking back at

18     Dr. Coomer as a result of an article that you read; is

19     that fair?

20                  A.   Correct.       Correct.

21                  Q.   And that's why you were out elk hunting, I

22     think in New Mexico; is that right?

23                  A.   I was not elk hunting in New Mexico.

24                  Q.   Okay.     What were you doing?

25                  A.   I was elk hunting.

                                                                  Page 108

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 111 of 196


1                   Q.   Okay.     Where were you?

2                   A.   In Colorado.

3                   Q.   All right.        And in terms of getting access

4      to the Facebook post, how did you go about actually

5      getting that data?

6                   A.   Somebody gave me access to it.

7                   Q.   Okay.     And the somebody is the person

8      you're not going to reveal, correct?

9                   A.   I'm not going to reveal that person

10     because Eric Coomer is on this call, and the subject is

11     not subject, thus, I can see to the protection order by

12     giving you that information.

13                  Q.   Was it -- well, I'm not going to give you

14     too many names.      Was it Ryan McBride?

15                  A.   I -- I am not going to disclose who the

16     person is.

17                  Q.   Do you know Mr. McBride?

18                  A.   I'm not going to disclose -- yes, I do.

19                  Q.   And you're not going to tell me whether it

20     was him that gave you access?

21                  A.   I'm not going to tell you -- I'm not going

22     to tell you who gave me access.

23                  Q.   Okay.     Was November 6th the day that you

24     first received screenshots from the Facebook page?

25     November 6.

                                                                Page 109

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 112 of 196


1                   A.   Yes.

2                   Q.   Okay.     And had you already been talking to

3      one of Dr. Coomer's Facebook friends about getting access

4      to his Facebook page prior to that point?

5                   A.   No.

6                   Q.   Did you know -- well, strike that.

7                        Had you had access to Dr. Coomer's Facebook

8      account prior to November 6?

9                   A.   No.

10                  Q.   Walk me through the steps on November 6th

11     that you took in order to get access.

12                       And I understand you're not going to tell

13     me the names -- or name, but -- and I don't agree with

14     that, obviously.        But just kind of walk me through how you

15     were able to do that.

16                  A.   Okay.     Repeat your -- is that a question

17     or what --

18                  Q.   Yes.     Walk me through how you got access to

19     the Facebook page.

20                  A.   Somebody sent me the Facebook post.

21                  Q.   I get that.

22                       You must have called someone.         Tell me --

23     tell me how it came about.

24                  A.   I reached out to numerous people to see

25     who'd be willing to give me information.

                                                                Page 110

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 113 of 196


1                   Q.    Okay.     But specifically Facebook

2      information.      Why did you think Facebook might have

3      information on Dr. Coomer?

4                   A.    I didn't.       I wanted to validate the

5      information that I had previously.

6                   Q.    So you just started calling or reaching

7      out, as you said, to various people to see if they could

8      get you access to his Facebook?

9                   A.    I started doing research on the 6th to get

10     access to information that would have corroborated the

11     information that I had previously going back to

12     September.

13                  Q.    Okay.     And then how did you -- did you find

14     someone in your -- in your investigation who told you,

15     Hey, I can get you access to the Facebook account?

16                  A.    No.     I just started doing research.

17                  Q.    Okay.     You're being evasive.     I'm trying to

18     get --

19                  A.    Actually, that's exactly what I did.         I

20     started doing research.           I started doing research on

21     social media accounts.          And was able to uncover Instagram

22     account, Twitter account that had been previously

23     deactivated.      A Facebook account that was not

24     deactivated.

25                        I started looking at pictures that were

                                                                Page 111

                                  Veritext Legal Solutions
                                       800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 114 of 196


1      publicly available of people that were connected to those

2      people, and looked to see if there was a 2 degree

3      separation of Eric Coomer and other people that I could

4      get access to that information.

5                   Q.   And so you found through looking at -- or

6      doing that research, someone that you recognized as a

7      friend of Dr. Coomer?

8                   A.   Not right away, no.

9                   Q.   Well, you got the information on the 6th,

10     right?     You were able to get screenshots that day,

11     correct?

12                  A.   Yes.    Some of them on that day, yes.

13                  Q.   All right.       And so how did you receive

14     those?     How were they transmitted to you?

15                  A.   Signal.     I believe Signal, yeah.

16                  Q.   And same thing with -- well, were all of

17     the Facebook pages sent to you via Signal?

18                  A.   Again, the best I can recollect.            I don't

19     have access to my previous phone content.

20                  Q.   Is the person who gave you the Facebook

21     pages still a contact on your Signal account?

22                  A.   I haven't looked at it, but probably.

23                  Q.   Take a look real quick.            I want to know.

24                       THE REPORTER:         I'm sorry.     I didn't

25     understand.

                                                                  Page 112

                                Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 115 of 196


1                        THE DEPONENT:        I just have to keep going

2      backwards in time.

3                  Q.    (By Mr. Cain)        If you're not going to find

4      it, I don't have time.       Certainly don't stall the process.

5                  A.    You asked me to look for it.          I'm looking

6      through every conversation that I've had.

7                  Q.    All right.      Well, then we'll go off the

8      record and you can do it off the record.

9                        THE VIDEOGRAPHER:          We're going off the

10     record.    The time is 1:12.

11                       (Recess from 1:12 p.m. to 1:13 p.m.)

12                       THE VIDEOGRAPHER:          Back on the record.

13     The time is 1:13.

14                 Q.    (By Mr. Cain)        All right.    You indicated

15     off the record, Mr. Oltmann, that through your search

16     function, you're not able to pull up messages from the

17     Facebook contact; is that true?

18                 A.    That is true.

19                 Q.    You'd have to individually go through that.

20     And we don't have time for that, at least today we don't.

21                       You mentioned also that you had reached out

22     to a number of people to do some invest- -- or in your

23     investigation of Dr. Coomer on the 6th.             Who else did you

24     reach out to?

25                 A.    Publicly available people that were -- you

                                                                Page 113

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 116 of 196


1      know, the same thing.         Just trying to figure out if

2      somebody would give me access to that information, that

3      would be friendly to the idea of validating who Eric

4      Coomer is.

5                   Q.   Okay.     And as you sit here today, are you

6      able to -- if you know, to pull up from Signal the

7      transmittal of the Facebook pages to you?

8                   A.   I'm not sure I understand the question.

9                   Q.   Well, is that -- is that transmittal data

10     still on your Signal app, if you know?

11                  A.   Well, if it was on my Signal app, I would

12     have been able to find it, so, again, I believe that the

13     Signal when I downloaded the information did not carry

14     through -- carry over.

15                  Q.   Did you ask that the information be sent

16     via Signal to you?

17                  A.   I don't -- I don't recall, no.

18                  Q.   Is there any way as you sit here to trace

19     the information of when and from whom you received the

20     Facebook pages?

21                  A.   I'm not sure I understand the question.

22                  Q.   Well, I'm just -- if I want to show the

23     Court, Here is evidence of when these Facebook pages were

24     transmitted to Joe Oltmann, as I sit here, I don't have

25     anything but your word.

                                                                Page 114

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                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 117 of 196


1                        So is there any physical evidence that you

2      can think of that would show that transmission?

3                  A.    Yeah.     I mean, I don't know.      As I sit

4      here right now, no, but if I'm given more time to think

5      about it, I can probably come up with some sort of record

6      of where it came from.

7                  Q.    But you're certain, as I understand your

8      testimony, that this person that gave you the screenshots

9      was one of Dr. Coomer's friends on his Facebook page at

10     the time?

11                 A.    Yeah, I think still friends.

12                 Q.    Did he or she -- is it a he or she, can you

13     at least tell me that?

14                 A.    No.

15                 Q.    Did he or she explain to you why they were

16     willing to provide you access to this information; what

17     their motivation was?

18                 A.    Yeah.     I don't -- I don't think they

19     probably had a motivation other than my explanation of

20     what I was dealing with.          I mean, look it's a pretty

21     heavy conversation, right?            It's not something to

22     be -- you know, to take lightly.

23                 Q.    Did you have to convince this person the

24     reason for --

25                       THE DEPONENT:          Sorry.

                                                                Page 115

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 118 of 196


1                        (Phone ringing.)

2                   A.   Apologies.      Can you repeat that question?

3                   Q.   (By Mr. Cain)        Yeah.

4                        Did you have to convince this person to

5      provide you this information?           In other words, were they

6      reluctant to do so?

7                   A.   No.

8                   Q.   And again, the reason you're not giving

9      this to me is because you think that their -- that the

10     reveal of their identity would subject them to some form

11     of retribution by Dr. Coomer?

12                       MS. HALL:     Objection, Charlie.      He has

13     told you 5 to 10 times already.            He doesn't believe it's

14     in the protected order.

15                       MR. CAIN:     I've already stipulated to

16     that.    I'm --

17                       MS. HALL:     I understand what you've said

18     on this deposition.      There is nothing in the protective

19     order that was previously filed with the Court that

20     addresses what the Court just said the last time we were

21     there.    So I get what your position is.          You've heard

22     what my clients' is, and I guess we'll take it up with

23     the court.

24                       MR. CAIN:     Oh.     So let's assume for the

25     sake of argument that -- that that needs to be buttoned

                                                                Page 116

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 119 of 196


1      up.   I don't believe that's the case.               And I already told

2      you that our view is that it's subject to the protective

3      order.

4                  Q.    (By Mr. Cain)          But assuming that

5      information -- or that protective order was extended to

6      this information, would you be willing to provide us with

7      that testimony at that -- at that time?

8                  A.    I think that I would give up more

9      information if I knew that Eric was not going to get

10     access to that information.

11                 Q.    Okay.     Would you provide us with the

12     identity of this person?

13                 A.    If Eric did not have access --

14                       MS. HALL:       Objection.

15                 Q.    (By Mr. Cain)          Is that a Yes?

16                 A.    I can't speculate.

17                 Q.    Okay.     Let's -- let's talk a little bit

18     about your affidavit.         We've spent almost all this

19     deposition talking about the antifa call and some of this

20     Facebook stuff.

21                       The affidavit which is Plaintiff's

22     Exhibit 2, I provided that to you previously, was signed

23     by you -- I believe on November 13 of 2020; is that

24     correct?

25                 A.    Yes.     Is that -- Exhibit 2?

                                                                   Page 117

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 120 of 196


1                        MR. KIMREY:         Mr. Cain, I have a question,

2      a point of clarification.           Shall we deem all exhibits

3      that you are referring to within this deposition as

4      exhibits to this deposition?

5                        MR. CAIN:       Yes.

6                        MR. KIMREY:         Thank you.

7                  Q.    (By Mr. Cain)          Are you with me,

8      Mr. Oltmann?

9                  A.    Yes.

10                 Q.    Okay.     So this affidavit you signed

11     November 13, right?

12                 A.    Yes.

13                 Q.    And the purpose --

14                 A.    November 13th, you said?

15                 Q.    Yes, sir.       1-3.

16                 A.    All right.        Perfect.         Okay.

17                 Q.    Who asked you to sign an affidavit?

18                 A.    I don't remember the person.

19                 Q.    Who were they associated with?

20                 A.    With Sidney Powell, I do believe.

21                 Q.    You understood that this affidavit

22     potentially was going to be used by Ms. Powell in

23     connection with litigation?

24                 A.    Yes.

25                 Q.    Okay.     And you allowed this affidavit to be

                                                                    Page 118

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 121 of 196


1      filed of record in lawsuits that Ms. Powell was associated

2      with?

3                   A.      No.     I just filed an affidavit, and I

4      signed it.

5                   Q.      Okay.     But your expectation was that this

6      could be used as evidence in a lawsuit Ms. Powell was

7      involved with?

8                   A.      The only expectation I had was that I was

9      going to sign an affidavit of what I knew.

10                  Q.      Okay.     Well, in terms of what you knew,

11     just looking at the affidavit, I have a few questions.

12     You go over, of course, the antifa call, right?

13                  A.      Yep.     Yes.

14                  Q.      On page 2.

15                          You refer to the call as being on or about

16     the week of September 27.              But that's not correct, right?

17     It was prior to that week, true?

18                  A.      I think that's why I wrote -- they put "on

19     or about."        So I had this -- they drafted this.               I gave

20     them information.           They drafted it.            And then I signed

21     it.     So there's parts of this that were not complete, or

22     that had pulled stuff out and made it so that the context

23     could be changed.

24                          But overall, the information is still

25     accurate because they did put on or around, I think.

                                                                        Page 119

                                    Veritext Legal Solutions
                                         800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 122 of 196


1      Actually, I can't -- yeah, on or about --

2                        THE REPORTER:         I'm sorry.     Whoa, whoa,

3      whoa.

4                  Q.    (By Mr. Cain)         But it's more accurate --

5                        THE REPORTER:         I just didn't get the last

6      part of your statement, sir.            You dropped your voice.

7                        THE DEPONENT:         I said on or about the week

8      of September 27th.

9                        MR. KIMREY:        And I just note for the

10     record that Plaintiff's Exhibit 2 is Bates Powell 206

11     through Powell 211.

12                       THE REPORTER:         Who just spoke?

13                       MR. KIMREY:        That was Blaine Kimrey.

14                       THE REPORTER:         Thank you.

15                 Q.    (By Mr. Cain)         All right.     To be more

16     accurate, the -- the antifa call -- you say meeting here,

17     but was prior to September 26, not during the week of

18     September 27th, true?

19                 A.    Well, it says on or about the week of

20     September 27th.      So that was still on or about the week.

21     So this had happened before the 26th.               So, yes, then this

22     would be factually accurate.

23                 Q.    And this -- well, this affidavit was done

24     less than two months after the call, right?

25                 A.    Yes.

                                                                  Page 120

                                Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 123 of 196


1                   Q.   And so you did your best to be as complete

2      and accurate in this affidavit as possible, right?

3                   A.   I -- I gave them a bunch of information.

4      I don't think I gave them completely all the information.

5      Just the information I felt was important to the

6      affidavit.

7                   Q.   Right.

8                        And no one from the Powell camp asked you

9      any of these questions about how did you get on the call

10     in terms of your conduit and that sort of thing, did they?

11                  A.   I think there's a lot of moving parts at

12     the time, and the things that they were more concerned

13     with was the litany of affidavits that were coming in

14     from across the nation.        And it was getting as much of

15     this information as possible so that they could do

16     fact-finding and figure out what the credibility was of

17     all that information collectively, in the middle of

18     having SISA and other organizations within days of the

19     election say that there's nothing to see here, this is

20     the safest election ever, without even doing any sort of

21     discovery into the sheer volume of fraud that was

22     existing across our nation.

23                       MR. CAIN:     Objection.         Nonresponsive.

24                  Q.   (By Mr. Cain)        All I'm asking is:      No one

25     from the Powell camp that was involved in obtaining this

                                                                  Page 121

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 124 of 196


1      affidavit asked to speak to your conduit or interview them

2      associated with confirming your story, fair?

3                   A.      I didn't have a credibility issue.       I

4      didn't have an issue where you --

5                   Q.      No, sir.       I asked you if they asked for

6      that information.          Yes or no?

7                   A.      No.

8                   Q.      You say in here, and you wrote in your

9      notes -- you use the word in your notes, "fortifying."

10     But when you're talking about Eric speaking on this -- and

11     this is on the middle of page 2 of the affidavit, Powell

12     207 -- Eric continued with fortifying the groups and

13     recruiting.

14                          Okay.     Are you referring to Eric Coomer in

15     that sentence?

16                  A.      Where is this part?

17                  Q.      It's in -- a little higher than the middle

18     of the page on the second page of your affidavit.             You go,

19     The conversation went like this.

20                          And then you described the conversation

21     about Eric being the Dominion guy, et cetera?

22                  A.      What -- what page are you referring to?

23                  Q.      Sir, I don't -- I've already said that

24     twice now.        The second page of your affidavit, Powell 207

25     is the Bates number on the bottom right.

                                                                Page 122

                                    Veritext Legal Solutions
                                         800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 125 of 196


1                  A.    Okay.

2                  Q.    You're talking about the conversation on

3      the antifa call.      At the middle of it, you say, Eric

4      continued with fortifying the groups and recruiting.

5                        My question was:           You're referring there,

6      obviously, to Eric Coomer, correct?

7                  A.    I am.

8                  Q.    All right.        I want you to tell me what you

9      remember Eric Coomer saying about fortifying the groups

10     and recruiting specifically.

11                 A.    So there's a ton of rhetoric going on on

12     the call itself and the comments made about keeping up

13     and fortifying their efforts.             There was a bunch of

14     people talking all at the same time.                  So, you know, Eric

15     was in the middle of communicating on the call, along

16     with all these other people.

17                       So when I talk about being excentric and

18     boisterous, it's the -- it's the vulgarness of -- by

19     which they all seem to communicate.                  The F word is

20     probably every other word.

21                 Q.    Yes, sir.       But you say and swore in this

22     affidavit that Eric did and said certain things.                     He

23     talked about fortifying the groups and recruiting.

24                 A.    Right.

25                 Q.    What specifically did he talk about in

                                                                     Page 123

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 126 of 196


1      terms of fortifying the groups and recruiting?

2                   A.    So I just answered that question as it

3      relates to them talking about fortifying, right?             Again,

4      I referred back to my notes when I had -- when I was

5      writing this stuff, and some of this information is

6      missing other paragraphs that I would have left in it.

7      Right.

8                         So the fortifying and saying that, Hey, we

9      need to keep up the pressure, those comments came out of

10     Eric's mouth.      Those comments came out of other people's

11     mouths.     It was -- it was a centric bit of hyperbole.

12                  Q.    All right.     So you say, Keep up the

13     pressure.     You're attributing words to that effect -- to

14     Eric Coomer.      What was he referring to about keeping up

15     the pressure?

16                  A.    I don't know.       I would assume it's related

17     to antifa and the things that they are doing across the

18     state of Colorado and the country at that point.             I mean,

19     they were terrorizing communities and burning down

20     buildings and looting and shooting and stabbing and

21     throwing frozen water bottles and feces.

22                        So it probably had something to do with

23     that.

24                  Q.    Let me -- let me ask you.       You've done a

25     lot of research into antifa, it's clear.           What evidence do

                                                                Page 124

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 127 of 196


1      you have that Dr. Coomer was involved, outside of this

2      call, as you've alleged, was involved in any

3      activity -- antifa-related activities, whether it's March

4      or speaking at a rally or throwing feces, as you say?

5      What evidence do you have that he actually was part of an

6      antifa movement?

7                  A.    So -- well, first of all, he posted the

8      antifa manifesto on his Facebook page on, I think,

9      June 5th or June of 6th.

10                 Q.    And we've talked about the Facebook.             I'm

11     talking about --

12                 A.    We haven't specifically talked about that

13     particular post.

14                 Q.    Right.      I'll exclude since we don't have

15     time, and we know what -- we can look to in terms of

16     Facebook.    I'm asking, based on the amount of time that

17     you spent looking into Eric Coomer and his association

18     with antifa, carving out any kind of Facebook --

19                 A.    Okay.     I'll bite.         All right.   Let me walk

20     through -- let me walk through all the information that I

21     learned about Eric Coomer.

22                 Q.    I'm asking a specific question.             Not --

23                 A.    That's the specific question.             You

24     can't -- you can't carve it out and say you don't want me

25     to answer the question.

                                                                   Page 125

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 128 of 196


1                   Q.      Here's the question.               Here's the question.

2      Listen to my question.

3                   A.      Okay.

4                   Q.      What information do you have that -- that

5      puts Eric Coomer in an antifa event, rally, as a speaker,

6      as a member of an association that you -- that you equate

7      with antifa?        What specifically do you know about that?

8                   A.      I know that I was on this call, and I know

9      that Eric at Dominion was on that call.                     I know that I

10     walked through and listened to other videos that had Eric

11     Coomer on it, and it was the same voice that was on this

12     call, who was on those other calls doing demonstrations

13     across the country.

14                          So I know that I did an amazing amount of

15     due diligence to tie back the Eric who was on the antifa

16     call to the Facebook posts, and the likelihood of that

17     happening.        And then going even further into that and

18     finding information related to owning the adjudication

19     process -- or excuse me, being a patentholder for the

20     adjudication process for the Dominion voting systems, as

21     well as the numerous affidavits across the country, which

22     as it came to light even after this time, tied back

23     improprieties to Dominion, such as the fact that there is

24     a modum inside the machine, yet the CEO of the Dominion

25     voting system said that there was no modem inside it.

                                                                        Page 126

                                    Veritext Legal Solutions
                                         800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 129 of 196


1                        They now have amended that and said, Oh,

2      there is one, but it's not used and it wasn't turned on

3      during the course of the election.

4                  Q.    I'm asking you about motives.

5                        Did you -- have you seen Dr. Coomer at a --

6      at an antifa really?

7                  A.    You asked me what information would be

8      provided that would lead me to believe that Eric Coomer

9      was, in fact, a part of antifa and what other information

10     do you have that would lead me to that conclusion.             I'm

11     trying to give that you information that led me to that

12     conclusion, and you don't want to hear my opinions.             Not

13     because it's not --

14                 Q.    Sir, you're wasting time again.

15                       Have you seen -- let me -- let me break it

16     down for you.

17                       Have you seen video evidence or in-person

18     evidence of Dr. Coomer at what you would consider an

19     antifa rally, yes or no?

20                 A.    No.

21                 Q.    Have you seen him speak at -- or at a

22     movement or some event that involved antifa?

23                 A.    Yes.

24                 Q.    Which one?

25                 A.    This call that I was on back in September.

                                                                Page 127

                                Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 130 of 196


1                   Q.   All right.      I'm talking about any kind of

2      public event that -- that antifa was associated with.

3      Speaker at a rally or anything like that.

4                   A.   Well, I didn't attend antifa rallies.

5                   Q.   Have you seen any evidence of that, videos

6      of Dr. Coomer speaking at an antifa rally?

7                   A.   I have not reviewed any of the antifa

8      videos, and everyone during the summer of 2020 was

9      wearing masks and covering their identity.                 So getting

10     access --

11                  Q.   So your answer is no --

12                       THE REPORTER:        Just a moment.        One at a

13     time.

14                       THE DEPONENT:        Apologies.

15                       THE REPORTER:        Still, one at a time.

16                  Q.   (By Mr. Cain)        Go ahead.

17                  A.   The difficulty in uncovering who was at

18     any of these antifa rallies, even given the videos that

19     you have there, would be very difficult because of the

20     fact that all their faces were covered.

21                       So, you know, can I say for -- with

22     certainty that -- that he was at a -- at an antifa rally,

23     the answer to that question is no.                 Can I say that he

24     wasn't?     The answer to that question would be no, as

25     well.

                                                                    Page 128

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 131 of 196


1                  Q.    Well, you're certain -- and you've said

2      this previously about Heidi Beedle -- that she's part of a

3      group called Revolution, I think; is that right?

4                  A.    Yes.

5                  Q.    Yeah, that's your testimony on that.

6                        What group, if you know, is Dr. Coomer

7      involved with that you view as an antifa-related

8      organization?

9                  A.    Well, most of the antifa members of the --

10     how you say an idea and not an organization, although

11     it's a very, very well-run organization, do not make

12     themselves known.        They do not make themselves

13     associated, because by that association, they would

14     associate with murderers and rapists and people that hurt

15     people in the community and bully them to get them to, I

16     guess, stay in their homes.            Intimidate them.

17                 Q.    So you can't identify a specific

18     organization that you've been able to research and

19     conclude that Dr. Coomer is involved with some leftist

20     organization?

21                 A.    Yes, I can actually.               He proclaimed

22     himself that he was a part of the skinhead movement and

23     in the article written in the New York Times by Susan

24     Dominus, he admitted that he was a part of the skinheads,

25     but it was a special group of skinheads that are against

                                                                     Page 129

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 132 of 196


1      racism.

2                        So that is a far left organization that

3      has strong ties to communism and Marxism, and he was

4      by -- self-proclaimed a part of that even dating back to

5      his time in Denver, Colorado.

6                  Q.    Thanks.    So skinhead organization.          Is that

7      it?

8                  A.    I don't -- I don't know.         I haven't

9      done -- I will say for right now, to answer your

10     question, yes.

11                 Q.    All right.      So when he was talking about,

12     as you say in your affidavit, recruiting -- antifa

13     recruiting, what specifically was Dr. Coomer saying he

14     wanted to do to recruit new members of this group?

15                 A.    Well, I think it was the comments that

16     they have collectively where they were agreeing with and

17     talking to them about keeping the pressure on and staying

18     the course that were directly related to that

19     recruitment.

20                       I don't use it from recruiting from the

21     standpoint of walk through a door, knock, knock.               Just

22     recruitment of making sure we get more people to show up

23     to these events.

24                 Q.    Would you describe Dr. -- I'm sorry.            I

25     thought you were finished.

                                                                Page 130

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 133 of 196


1                   A.    No.

2                   Q.    Would you describe --

3                   A.    Go ahead.

4                   Q.    Would you describe Dr. Coomer as being one

5      of the leaders of the antifa group that was assembled on

6      this call?

7                   A.    No.     Nor did I at the time believe that he

8      was actually -- after doing research, that he would

9      associate himself with antifa.

10                  Q.    You mention -- I don't want to spend a lot

11     of time on this.

12                        So at the end of your affidavit, the last

13     full paragraph, you talk about you used ARIMA, A-R-I-M

14     analysis to show trends.

15                  A.    Yeah.

16                  Q.    Do you remember that?

17                  A.    Yeah.

18                  Q.    Okay.     Do you have that analysis handy

19     still?

20                  A.    I have some of the information related to

21     what I did on the -- on other analyses later, but ARIMA

22     is -- uses -- I mean, do you know what ARIMA is.

23                  Q.    I know what it stands for.         But I guess my

24     question is:      If I -- you talk about it in your affidavit.

25     If you have datasets involved with that, if you have

                                                                Page 131

                                  Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 134 of 196


1      some -- some analysis, I'd like to see it.

2                        Have you produced any of that information

3      to anyone, either the defendants in this case or other

4      experts?

5                  A.    No, but I created a chart.        So this is the

6      stuff that I can get into more specifically.            But I

7      created a chart that looked at the voting probability of

8      people voting a certain way during a time series, and

9      then voting a certain way after that time series and the

10     likelihood of that actually happening by using previous

11     lags as opposed to what happened in the future.

12                       So using a stationary point, and then

13     creating a plotted chart to show me whether or not

14     there's any irregularities or errors in the data that

15     were -- that would not be probable based upon the

16     information that was input.

17                 Q.    So my question is that the charting that

18     you used and the datasets -- or the charting that you

19     created and the datasets, do you still have that

20     information?

21                 A.    I think so.

22                 Q.    Did you -- and you -- but you didn't

23     provide it to anybody outside of your own group; is that

24     correct?

25                 A.    So that's not necessarily true.         I brought

                                                                Page 132

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 135 of 196


1      some of those charts to Washington, D.C. in early

2      January.    I provided that information as it relates to

3      Dominion voting systems and the vulnerabilities that they

4      had in the Dominion voting systems.                  And the process of

5      walking a through path of Dominion to the Black Box, to

6      how they recover those votes, how it's transferred over

7      to SCYTL, how SCYTL goes on to Edison, how Edison then

8      translates that over to the New York Times.

9                  Q.     Right.     And you talked about that in your

10     August 18 testimony from -- when Sidney Powell's lawyers

11     were asking you about this issue, right?

12                 A.     Yes.

13                 Q.     And you said then that you know how

14     Dr. Coomer can flip the Election, to use your words,

15     right?

16                 A.     Is that what I said?

17                 Q.     Yes.     You said you know how Dr. Coomer

18     flipped the election.

19                 A.     Is that what I said?

20                 Q.     Yes.

21                 A.     I haven't seen the transcript.

22                        MS. HALL:      Well, Charlie, the reason he's

23     asking you is you obviously have a copy of the

24     transcript.      We haven't seen the transcript yet.              So

25     where did you get the transcript?

                                                                     Page 133

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 136 of 196


1                        MR. CAIN:     Sidney Powell's lawyers sent it

2      to everybody.

3                        MS. HALL:     Well, I haven't seen it.            I

4      didn't get it.

5                        MR. CAIN:     Well, that's not on me.

6                        MS. HALL:     I didn't say it was.            I'm just

7      saying he hasn't seen the transcript.

8                        THE DEPONENT:        No.    Show me

9      the transcript.

10                       MR. CAIN:     All right.         So here on

11     page 181 --

12                       MR. ARRINGTON:        This Barry Arrington.           I'm

13     going to put on the record that I sent the transcript to

14     everyone.

15                       THE REPORTER:        Who just spoke?

16                       MR. ARRINGTON:        This is Barry Arrington.

17                       I don't know why you're saying you haven't

18     seen it.     I sent it to everyone.

19                       MS. HALL:     I'm not saying you didn't,

20     Barry.     I'm just saying I did not receive anything, and

21     neither did Ingrid.      So that's all I'm saying.

22                  Q.   (By Mr. Cain)        I'll go about it this way

23     since we don't have --

24                  A.   Therefore, I haven't reviewed it.

25                  Q.   Outside of the transcript -- I mean, you

                                                                  Page 134

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 137 of 196


1      can just testify now.        Do you or do you not know how

2      Dr. Coomer flipped the Election?

3                   A.   I believe I know how the election was

4      influence and/or stolen, yes.

5                   Q.   And I -- you used a passive.             I asked -- I

6      said Dr. Coomer.      You know how Dr. Coomer, at least

7      according to your -- your analysis, how he was involved in

8      flipping the election, true?

9                   A.   I know that Coomer was a director of

10     strategy and security for Dominion voting systems, and in

11     that capacity and owning the adjudication process

12     in -- in that system, I know where the election

13     was -- was affected, yes.          I know where it was

14     compromised.

15                       And Eric Coomer is responsible for those

16     things, and therefore, I think that I know -- actually I

17     know that I know -- how Dominion was able to affect or

18     leave open vulnerabilities to allow for the election to

19     be stolen.

20                  Q.   Right.     And you've testified -- you've

21     testified at length in questions from Ms. Powell's lawyers

22     about that specific topic, right?

23                  A.   Yep.

24                  Q.   Just a few weeks ago.             And you said that

25     you hadn't reduced, as of that time, your analysis to some

                                                                   Page 135

                                Veritext Legal Solutions
                                     800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 138 of 196


1      written format or report.

2                        Have you done that now?             Have you prepared

3      a report reflecting your analysis?

4                        MS. HALL:      Objection.         Relevance.

5                  A.    No.   I did.      I provided a diagram -- a

6      very crude diagram that the public can understand.                I

7      worked on the deviations between the -- four deviations

8      that happened inside the Dominion system.

9                  Q.    (By Mr. Cain)        Okay.       Let me make sure -- I

10     want to make sure we get this on the record.

11                 A.    Can you hear me?

12                 Q.    Yeah, who's speaking?

13                       MR. KIMREY:       I'm sorry.        This is Blaine

14     Kimrey.

15                       So we're new to this matter.             I'm

16     wondering, just for clarification, Mr. Cain, if you have

17     a copy of the sworn statement, could you enter it in the

18     deposition since you're talking about it a lot?

19     And Mr. Oltmann has acknowledged that he did give a sworn

20     statement, so maybe if we could actually see it and he

21     could confirm it as entered in the deposition, that would

22     make everything easier to follow.              Just a suggestion.

23                       MR. CAIN:      I appreciate it.         I'm moving

24     off that now because I asked him the question outside of

25     this sworn statement, and I'm not -- I just don't have

                                                                   Page 136

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 139 of 196


1      time to address that.

2                   Q.     (By Mr. Cain)         So let me -- let me get back

3      on to what I was talking about.               You had testified that

4      you -- that you had done analysis in this -- of behavioral

5      deviations and tech deviations, it's part of what you

6      said.

7                          And then I asked you, Has this been reduced

8      to writing?       And you said it -- you referenced a schematic

9      or something that we could all understand.               Is that fair?

10                  A.     Yes.    So I've been assisting with

11     gathering information related to how the Dominion system

12     works.     So I was able to -- I've done it in different

13     parts, related to even like the ICX machine, the ability

14     to bypass the ICX in cases of balance outstanding or the

15     alignment being off.

16                         So I've done multiple things where I've

17     written out diagrams on how the system can be

18     manipulated -- be manipulated inside of the -- inside of

19     the Dominion system, depending on which part you have.

20                  Q.     Well, we'll conclude on this as probably

21     the last topic.       On Exhibit 103, which we previously

22     marked from your recent disclosures, this is

23     Document 0 -- I believe it's small -- but it is 0881,

24     which is a diagram -- it looks like a voting system

25     diagram.     I want you to --

                                                                  Page 137

                                  Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 140 of 196


1                        (Phone ringing.)

2                        THE REPORTER:          Just a moment.   I can't

3      hear.

4                        THE DEPONENT:          I don't know why it came

5      through my phone.        Hold on.

6                  Q.    (By Mr. Cain)          So Exhibit 103 has a diagram

7      that I think is what you're referring to.             Can you confirm

8      that this is the diagram that you were just talking about?

9                  A.    Yes.

10                 Q.    Okay.     So the -- the work that you've done

11     regarding -- at least as of this date regarding

12     Dr. Coomer's participation in flipping the election, in

13     part, is reflected on this particular diagram that we're

14     looking at, correct?

15                 A.    Those -- that diagram walks through the

16     vulnerabilities of the Dominion voting systems and the

17     possible ways to, what I call, big cons and small cons.

18     Small cons to keep you distracted, and the big con of how

19     you were able to take invalidated fraudulent votes and

20     then reconnect them with people that vote.

21                 Q.    And your -- your conclusion is that

22     Dr. Coomer's part of the big con; is that right?

23                 A.    My conclusion is that -- that Eric made

24     comments related to making sure that President Trump was

25     not going to win.        And I did not make statements related

                                                                 Page 138

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 141 of 196


1      to that Biden was going to win because I didn't hear

2      that.   I just heard that President Trump was not going to

3      win, and those came from him.

4                        And I validated him, and then after that I

5      validated his social posts, which are very boisterous

6      and -- that validate that -- number one, he's not in a

7      position where he could influence it.                  And number 2, he

8      said he would influence it.            And number 3, that his clear

9      bias and hatred for just the country, police officers,

10     and his support for antifa was -- was well noted.

11                 Q.    (By Mr. Cain)          Okay.       Well, that's

12     different than what you've testified to before in terms

13     of --

14                 A.    How is that different?

15                 Q.    -- to actually having -- I had understood

16     that you said from a technical standpoint, Dr. Coomer was

17     involved in rigging the election, which would affect

18     results, and you even testified to this -- in places like

19     Antrim County; in Mesa County, Colorado; and Cobb County,

20     Georgia?

21                 A.    That he would have the ability to do that

22     and he's in a position to do that, absolutely.

23                 Q.    Okay.

24                 A.    I was very clear on that.               I've been clear

25     the entire time.      I've never once changed anything about

                                                                     Page 139

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 142 of 196


1      what I've said, not once.

2                  Q.    Well, and you've said, in fact, that

3      he -- you -- at least in your last testimony, that you're

4      95 percent sure that he actually engaged in that activity

5      of flipping the election.

6                  A.    I don't have a transcript.

7                        THE REPORTER:          I'm sorry.       I can't

8      understand Ms. Hall.

9                  A.    I don't even know if that's a question or

10     not.

11                 Q.    (By Mr. Cain)          Yeah.       You have a high

12     degree of certainty -- you've testified already --

13                 A.    I do.

14                 Q.    -- in the deposition with the Powell

15     attorneys that you have a 95 percent degree of certainty

16     that Dr. Coomer was involved in flipping the election.

17                 A.    Yes.

18                 Q.    All right.        By the way, while I'm thinking

19     about it, you -- do you hold yourself out as an election

20     security expert?

21                       MS. HALL:       Objection.          Relevance.

22                 A.    No, I'm a data guy.

23                 Q.    (By Mr. Cain)          Okay.       So you would agree

24     with me that you are not an election security expert?

25                       MS. HALL:       Objection.

                                                                     Page 140

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 143 of 196


1                        THE DEPONENT:          Should I answer?

2                  A.    Okay.     So I built a system that

3      develops --

4                        THE REPORTER:          I'm sorry.    I'm sorry, sir.

5      Can you slow down just a bit?

6                  A.    I built a system that creates quality

7      scores, relevant inspectors, and correlations of data on

8      individual DNA of an individual.               I built the

9      architecture behind a system that allows for us to

10     perform very well, actually above anyone else in the

11     country related to how we position messaging in front of

12     millions of people.        I built that.

13                       We're one of the largest first-party data

14     aggregators in the nation when I ran my company.                I know

15     that within a couple of days of me coming out and talking

16     about what information I did have, I had death threats.

17     I know that that -- those death threats have continued

18     through the last nine months.

19                 Q.    (By Mr. Cain)          Sir, my question was

20     election security expert.           Do you hold yourself out as an

21     expert in election security issues?

22                 A.    I would hold myself out as an expert in

23     system architecture.        I would hold myself out at -- and I

24     can prove over time as a two-time Ernst & Young

25     entrepreneur of the year nominee and one-time finalist in

                                                                    Page 141

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 144 of 196


1      2020, after going through some rigorous tests by many of

2      the people on those panels, that I know what I'm talking

3      about when it comes to code and when I'm talking about

4      when you are talk about the Black Box, RUP kits, having

5      people overseas write code for you.                What the

6      implications are of having connections to different

7      systems that are not secured.           Having internet access

8      with the ability to access those systems.

9                         From an architecture standpoint, I could

10     punch holes in what Dominion has built over and over and

11     over again.      I don't need to know that you have to take a

12     stack of votes and put it through the system.                 I have to

13     know that you can secure those votes through technology

14     that allows for transparency, which is what the system is

15     supposed to be built on.

16                 Q.     You're -- you're speaking quickly, which is

17     find except for Laurel.        She's probably going to kill both

18     of us after this deposition.

19                        My -- you're not answering my question.

20                 A.     I did answer your question.

21                 Q.     Have you -- let me ask a different question

22     and see if you can answer this one.

23                        Do you have any experience working in

24     elections or in election security?

25                        MS. HALL:    Objection.          Relevance.

                                                                     Page 142

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 145 of 196


1                  Q.    (By Mr. Cain)          You can answer.

2                        MS. HALL:       Please explain how this is

3      relevant to your defamation claim, Charlie.

4                        MR. CAIN:       Nope.

5                        MS. HALL:       Okay.      Well, then move on.        And

6      you're done.

7                        MS. DEFRANCO:          He's done.

8                        MS. HALL:       What's the time?

9                        THE VIDEOGRAPHER:            It's three hours and

10     three minutes.

11                       MS. HALL:       Thanks.        We're done, Charlie.

12                 A.    Can I answer this last question?

13                 Q.    (By Mr. Cain)          Yeah.       You're going to

14     answer potentially more, but why don't you finish

15     this with -- we have tomorrow, obviously set aside as

16     well, but go ahead.

17                       MS. HALL:       No.     Charlie.       You have PCU

18     United tomorrow, Shuffling Madness, and CD Solutions.                    So

19     there will be no questions that are posed to Mr. Oltmann.

20                 A.    I'm going to answer this question if I can

21     because it's fresh in my mind.

22                       THE DEPONENT:          Can I answer it?

23                 A.    Okay.     I have not worked in Dominion,

24     Sequoia, ESNS, Hart, Clear Ballot, I've never worked

25     inside of an election system.             With that said, there are

                                                                     Page 143

                                 Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 146 of 196


1      certain things that you have to do in order to secure a

2      system.

3                        I did and was a CEO of a company that did

4      MSP services, so I understand that's Managed Service

5      Provider, which is the IOT of an internet of things --

6                        THE REPORTER:        I'm sorry.   Of the

7      internet?    I just didn't hear the word.

8                        THE DEPONENT:        Internet of things.

9                  Q.    (By Mr. Cain)        I-O-T.

10                 A.    We also have an e-commerce platform that

11     is a headless design.       It services some fortune 100

12     companies in the United States.            So I'm very familiar

13     with security, and as it relates to how the systems

14     interconnect and the API that are available, how to move

15     things offline and online.          How to find out or discover

16     whether or not something is or is not connected to the

17     internet, and the probability of those things being

18     connected to the internet by way of looking at the math

19     and science, which is why I used mathematical equations

20     to figure out whether or not this is probable.

21                       So it leads me back to fact-checking the

22     information related to the system architecture.              It's a

23     simple process that anyone that's involved in technology

24     goes through in order to make sure that they can validate

25     or invalidate their theory.

                                                                Page 144

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 147 of 196


1                        In this case the theory came back, and I

2      was able to look at what would probably happen in Georgia

3      as an example on early January that related to, and it

4      came true.     The system came down, it came back up.            We

5      were able to validate other information that we call

6      offline information in order to validate that there was a

7      probable system interference.

8                        Now, whether or not that system

9      interference was caused by Dominion is -- is not

10     even -- it's not even up for debate.               It's not up for

11     debate.    Dominion has a system that Antrim, Mesa County,

12     and other counties were able to validate would show that

13     in the math of how they calculate votes.

14                       Dominion was complicit in that behavior,

15     that is -- and I think that I have enough expertise and

16     technology that I can come to that conclusion without

17     actually working for Dominion.

18                       MR. CAIN:     I'm prepared to move forward

19     with additional questions which counsel seems to believe

20     that --

21                       MS. HALL:     We're done.         No, your three

22     hours is up, Charlie.       I'm going to do some clarification

23     now with my client here.

24     /////

25     /////

                                                                  Page 145

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 148 of 196


1                                   EXAMINATION

2      BY MS. HALL:

3                   Q.    So, Joe, you were asked by Mr. Cain about

4      this contact for your ability to get on a call.                 Who -- or

5      not who reached out to you, but did you reach out to that

6      person or --

7                   A.    No.

8                   Q.    -- did they reach out to you?

9                         Explain that.

10                  A.    They reached -- they reached out to me.

11                  Q.    Can you explain that a little bit more?

12                  A.    I never made a proactive approach to a

13     person that got me on the antifa call.                 I wasn't the one

14     that did the reaching out.           They reached out to me.

15                  Q.    And what was the purpose of you getting on

16     that call?

17                  A.    It was just to discover antifa

18     journalists.      And if you go back to October 15th, I

19     believe it was, I'd have to check -- either October 15th

20     or 14th, I was in an FEC meeting.              And I said, We have

21     been -- we have infiltrated antifa.                 Based on that call,

22     that I got all the information I was able to collect

23     afterwards, that said that, Hey, we were able to uncover

24     these antifa journalists and uncover these antifa

25     journalists, the next day an antifa journalist wrote an

                                                                    Page 146

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 149 of 196


1      article about the fact that I had threatened antifa

2      journalists on that -- in that FEC meeting.

3                        That was prior to the election, before I

4      even knew Dominion's name.          I knew their name, but I

5      didn't know the significance of Dominion across the

6      country.

7                   Q.   And these journalists were actually doxing

8      you, correct?

9                   A.   Yes, and they were using -- they weren't

10     just doxing me.      They were doxing other people.          They

11     were using systems and relationships that they had.

12     People that were working in other places, such as working

13     in vet centers.      That they would gather information of

14     people that owned pets, and they would report those pets

15     to the animal control to say that they were abusing their

16     animals.

17                       They would report people for their kids,

18     to CPS, that said that they were abusing their kids.                So

19     they used their positions in this web of -- or group of

20     people in order to intimidate, threaten, dox, and cause

21     harm to other people in the community.             It wasn't just

22     me.

23                       MS. HALL:     Okay.      We're complete.

24                       MR. ARRINGTON:        I'm going to have some

25     follow up.

                                                                Page 147

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 150 of 196


1                        THE REPORTER:        Who's speaking?

2                        MR. ARRINGTON:        This is Barry Arlington.

3                        MS. HALL:     No.     No.        Barry, we're not

4      going to -- we're not going to agree to that.

5                        MR. ARRINGTON:        I don't care if you agree,

6      Andrea.    This is a deposition.          I'm counsel at the

7      deposition, and I'm going to do some cross-examination.

8                                  EXAMINATION

9      BY MR. ARRINGTON:

10                  Q.   My first question -- so, Mr. Oltmann, I

11     have a couple of questions about your prior testimony.

12     The question is this:       In response to one of Mr. Cain's

13     questions, you said about -- about whether Dr. Coomer was

14     affiliated with antifa.        I thought you said, Nor did I

15     believe --

16                       THE REPORTER:        I'm sorry.        Just a moment.

17     Just a moment.     Just a moment.         Just a moment.       Just a

18     moment, please.      There are multiple people talking, and I

19     cannot hear the question.

20                       MR. ARRINGTON:        I'll repeat the question.

21                  Q.   (By Mr. Arrington)          So I believe you said

22     in response to one of Mr. Cain's questions about

23     Dr. Coomer's association with antifa, that, quote -- I

24     tried to jot this down -- quote, Nor did I believe after

25     conducting research he, meaning Dr. Coomer, would

                                                                    Page 148

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 151 of 196


1      associate himself with --

2                        Did I -- did I misunderstand you?          I

3      thought you believed that he was associated with antifa.

4                  A.    Yes, I did.       So let me clarify that.        This

5      is the context part where it's taken out of -- when I did

6      the original research on Eric Coomer, and I found out

7      that he had a doctorate in nuclear engineering, I did

8      not, at that point in time back in September, feel that

9      he was -- he wasn't my target.            I thought maybe he was

10     CIA or FBI.

11                       I did not believe -- I couldn't understand

12     why someone who was -- had a doctorate in nuclear

13     engineering would associate himself with antifa.             And

14     since he wasn't the person I was looking for at the time,

15     I just filed all this stuff away for Eric Coomer as he

16     was on that call, but I didn't understand the

17     significance of it.      Does that make sense?

18                       When I verify that that's who he was, it

19     just didn't seem normal to me that a person that has a

20     doctorate in -- in nuclear engineering would be involved

21     in this type of -- in this type of organization.

22                       So as I went through and revalidated

23     information related to his social posts and started doing

24     more research on Mr. Coomer and, you know, his history of

25     being involved in the skinhead movement and some of the

                                                                Page 149

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 152 of 196


1      other things that he had done related to information

2      we've been able to dig up, I certainly believe that he

3      was a part of the antifa movement and had a significant

4      role in antifa just based on someone else knowing who he

5      was and what his capabilities are and the breadth of what

6      Dominion voting systems does across the nation, the

7      influence that they have.

8                        Does that clarify that?

9                   Q.   (By Mr. Arrington)          Yes.   Thank you.

10                       You also said that you provided certain

11     information to Ms. Powell.          I'm going to -- I'm sorry for

12     this.     For some reason there was a misdirection that you

13     didn't get the transcript of your testimony from last

14     month.

15                       But at one point -- I'm reading from the

16     transcript -- it says -- you testified that you may have

17     sent Sidney Powell some of this information.

18                       MR. ARRINGTON:        And for counsel's

19     information, I'm reading from page 138, starting at

20     line 4.     I'll start over.

21                  Q.   (By Mr. Arrington)          And you testified that

22     you may have sent Sidney Powell some of this information

23     you were gathering.      You have specific recollection that

24     you did send it to her?        If so, when?

25                       And you answered, So other than the

                                                                 Page 150

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 153 of 196


1      information that I had provided, if I had sent anything to

2      Sidney, it would have been with Randy Corporon on it as

3      far as lawyer to lawyer.

4                        So is it a fact that you're -- you did not

5      communicate directly with Ms. Powell, that -- that you

6      communicated with her through Mr. Corporon?

7                  A.    Yeah.     So I -- I'm going to say this

8      because I actually went back and listened to everyone

9      else's depositions as well.            I did not have any direct

10     conversations with Sidney Powell.               All right?   Those

11     conversations happened through attorneys.               So me and

12     Sidney Powell directly did not have any conversations.

13                 Q.    So you've testified that you've done

14     extensive research regarding Dr. Coomer; is that correct?

15                 A.    Yes.

16                 Q.    Can you summarize some of the things that

17     you found out about his background that you have personal

18     knowledge of in terms of your research that would lead

19     you -- that would lend credence to your accusation that he

20     was associated with antifa and that he was a -- I don't

21     remember your exact words, but a -- someone who was an

22     agitator or aggressive or however you want to suggest

23     that?

24                 A.    Well, there's someone that -- yeah, so as

25     I went through and did research, I was able to uncover

                                                                    Page 151

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 154 of 196


1      certain things about Mr. Coomer.             One of which is being a

2      part of the skinhead movement.            Two, the way that he

3      spoke was -- you know, it's pretty -- it's pretty vulgar.

4      And where he speaks that vulgarity and how he speaks it,

5      lend credibility to how antifa acts as well.

6                        Then you have the -- the information that

7      Eric wrote specifically about his wife where he talked

8      about sexually battering, urinating on, making bark like

9      a dog and some of the other things that Eric did.                And

10     then publicly put that information out there in an effort

11     to humiliate his wife.

12                       Then there's the -- the post that he put

13     up, and the things that he admitted to about being a drug

14     addict and getting in fights and being the person that --

15     that not only is -- you know, I guess a nuclear student

16     or a physicist, that is -- that can beat up people.

17     Right?

18                       And I'm paraphrasing some of the things

19     that I have learned about him.            And then you look at the

20     other things that came up related to how he treats

21     people, and talking about other people that had worked

22     with Eric Coomer.

23                       So there's just not a lot of redeeming

24     stuff that's out there about Eric Coomer relating to --

25                 Q.    Let me ask you this:             Did you have any

                                                                   Page 152

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 155 of 196


1      occasion to find out anything that he personally said

2      about his own mental health?

3                   A.   It --

4                        MR. CAIN:       Let me -- hold on, Mr. Oltmann.

5      Mr. Arrington, I've done this in prior depositions, and I

6      don't want there to be -- my silence to be

7      misinterpreted.      That I believe you're outside of the

8      scope of the discovery order, and I would object on that

9      basis.    But out of deference to you, if I can just have

10     that running understanding, I won't interrupt your

11     questions.

12                       MR. ARRINGTON:          I appreciate that,

13     Mr. Cain.     I would suggest that everything that I'm

14     talking about here can be tied back into questions that

15     you asked on direct.        So if the court reporter could read

16     back the question, I'd appreciate it.

17                       (The last question was read.)

18                  A.   The answer is yes.            He had a writing where

19     he said that -- again, I'm trying to find the writings

20     themself.     But admits to being bipolar, admits to having

21     a drug problem, admits to lying multiple times, not just

22     the times that he's admitted to lying when he said that

23     the posts were fabricated or deleting information.               So

24     he -- there's a habit, I would say, of -- of this.

25                  Q.   (By Mr. Arrington)            But did your research

                                                                  Page 153

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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 156 of 196


1      lead to crimes, such as DUIs and jail time?

2                           MR. CAIN:    Same objections.

3                           Barry, I didn't understand from your prior

4      comment if you'll agree that I can just have a running

5      objection.        We can disagree about scope issues or

6      propriety of going outside of the discovery order.                     But

7      if I can have a running objection, I won't have to make

8      it.

9                           MR. ARRINGTON:       Yes.       We can disagree

10     whether my cross relates back to your direct and,

11     therefore, it would be within the discovery order, and to

12     the extent that your direct was within the discovery

13     order.    And yes, we can agree to your standing objection.

14                          MR. CAIN:    Thank you.

15                          THE REPORTER:       I'm sorry.       Just a moment.

16     Counsel, there -- Counsel, there is background noise

17     coming through Mr. Arrington's mic that I'm having

18     trouble hearing you all the time, Mr. Arrington.

19                          MR. ARRINGTON:       I'm sorry about that.

20                          Could you repeat the last question or

21     reread the last question?

22                          (The last question was read.)

23                          MR. ARRINGTON:       That was the question

24     before last.        Let me make another run at it.

25                  Q.      (By Mr. Arrington)          Did you have occasion

                                                                     Page 154

                                 Veritext Legal Solutions
                                      800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 157 of 196


1      to -- to find out any information about whether he had

2      committed DUIs and been in jail?

3                   A.      Yes.    He bragged about that in some posts

4      that he put on a blog site -- I believe it was a Google

5      blog site -- about having a good lawyer, otherwise, he

6      would have spent quite a bit of time in jail.

7                           And then through subsequent information

8      that I was able to uncovered, it showed that he had

9      multiple DUIs.

10                          MR. ARRINGTON:         That's all of my

11     questions.        Thank you.

12                          MR. CAIN:      Well, unless counsel for

13     Mr. Oltmann is going to allow us to continue, we're done

14     for today.

15                          MS. HALL:      No.     We're done.

16                          THE VIDEOGRAPHER:            Going off -- going off

17     the record/, the time is 2:07.

18                          (Video deposition concluded.)

19                          THE REPORTER:         Same orders, Counsel?

20     Transcript orders?

21                          MR. KIMREY:        I don't know what those

22     orders are.        I can tell you what I want, though.            Should

23     I do that?

24                          THE REPORTER:         Yes.

25                          MR. KIMREY:        So I'd like a rough ASCII.

                                                                     Page 155

                                   Veritext Legal Solutions
                                        800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 158 of 196


1      How quickly can you produce that?

2                        THE REPORTER:        How soon would you like it?

3                        MR. KIMREY:       I don't want to engage in any

4      sort of cruel and unusual request.                 You know, I don't

5      know what else you have.        What's reasonable for you given

6      other things you need to work on?

7                        (Discussion off the record.)

8                        MR. ARRINGTON:        This is Barry Arlington.

9      Do we have to order today or can we order later?                      Can we

10     put --

11                       THE REPORTER:        You can order later if

12     you'd like.

13                       MR. ARRINGTON:        Okay.        Thank you.

14                       THE REPORTER:        Mr. Cain, your order?

15                       MR. CAIN:     Whatever Scotty says.             I

16     believe we did a one-day turnaround expedite.

17                       MS. HALL:     And this is Andrea Hall.                We'll

18     just -- whatever, I guess -- yeah, reading and signing.

19     I don't know what your turnaround is on that, but, yeah,

20     we'll take the reading and signing.

21                       THE REPORTER:        Have I covered ordering,

22     counsel?

23                       MS. BOEHMER:       This is Margaret Boehmer on

24     behalf of Eric Metaxas.        We'll take an Etran.           We don't

25     need it expedited, and we do not need a rough.

                                                                    Page 156

                               Veritext Legal Solutions
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     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 159 of 196


1                        THE REPORTER:          Other counsel?

2                        MR. HOLWAY:       This is Eric Holway on behalf

3      of the Trump campaign, and I would like an e-transcript

4      as well, please.      And no, I don't need it expedited.

5      Thank you.

6                        THE REPORTER:          Any other counsel?      No?

7                        I'm off the record.

8                              *   *   *    *     *   *     *

9                        WHEREUPON, the foregoing deposition was

10     concluded at the hour of 2:11 p.m.                 Total time on the

11     record was 3 hours and 25 minutes.

12

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                                                                    Page 157

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 160 of 196


1                       I, JOSEPH OLTMANN, the deponent in the

2      above deposition, do hereby acknowledge that I have read

3      the foregoing transcript of my testimony and state under

4      oath that it, together with any attached Amendment to

5      Deposition pages, constitutes my sworn testimony.

6

7      ______ I have made changes to my deposition

8      ______ I have NOT made any changes to my deposition

9

10

                                  ____________________________

11                                JOSEPH OLTMANN

12

13     Subscribed and sworn to before me this _____

14     day of __________________, 20____.

15

16     My commission expires: ____________________

17

18                                             __________________________

                                               Notary Public

19

20                                             __________________________

                                               Address

21

22

23

24

25       Job No. TX4792290

                                                                 Page 158

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 161 of 196


1                            REPORTER'S CERTIFICATE
2
3
4                        I, Laurel S. Tubbs, a Registered
5      Professional Reporter and Notary Public within the State
6      of Colorado, do hereby certify that previous to the
7      commencement of the examination, the deponent was duly
8      sworn by me to testify to the truth.
9                        I further certify that this deposition was
10     taken in shorthand by me at the time and place herein set
11     forth and thereafter reduced to a typewritten form; that
12     the foregoing constitutes a true and correct transcript.
13                       I further certify that I am not related
14     to, employed by, nor of counsel for any of the parties or
15     attorneys herein, nor otherwise interested in the result
16     of the within action.
17                       My commission expires September 1, 2023.
18
19                             <%22402,Signature%>
                               LAUREL S. TUBBS
20                             Registered Professional Reporter,
                               Certified Realtime Reporter
21                             and Notary Public
22
23
24
25

                                                                Page 159

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 162 of 196


1     Coomer, Eric, Ph.D. v. Donald J. Trump For President, Inc.

2     Joseph Oltmann Job No. 4792290

3                         E R R A T A       S H E E T

4     PAGE_____ LINE_____ CHANGE________________________

5     __________________________________________________

6     REASON____________________________________________

7     PAGE_____ LINE_____ CHANGE________________________

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9     REASON____________________________________________

10    PAGE_____ LINE_____ CHANGE________________________

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17    __________________________________________________

18    REASON____________________________________________

19    PAGE_____ LINE_____ CHANGE________________________

20    __________________________________________________

21    REASON____________________________________________

22

23    ________________________________              _______________

24    Joseph Oltmann                                      Date

25

                                                                 Page 160

                               Veritext Legal Solutions
                                    800-336-4000
     Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 163 of 196


1     defrancoi@yahoo.com

2                               September 9, 2021

3     RE: Coomer, Eric, Ph.D. v. Donald J. Trump For President, Inc.

4     DEPOSITION OF: Joseph Oltmann 4792290

5          The above-referenced witness transcript is

6     available for read and sign.

7          Within the applicable timeframe, the witness

8     should read the testimony to verify its accuracy. If

9     there are any changes, the witness should note those

10    on the attached Errata Sheet.

11         The witness should sign and notarize the

12    attached Errata pages and return to Veritext at

13    errata-tx@veritext.com.

14         According to applicable rules or agreements, if

15    the witness fails to do so within the time allotted,

16    a certified copy of the transcript may be used as if

17    signed.

18                                Yours,

19                                Veritext Legal Solutions

20

21

22

23

24

25

                                                                 Page 161

                               Veritext Legal Solutions
                                    800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 164 of 196

[& - 80]

          &          138 150:19            206 14:7 79:13,16     314-329-5040 3:18
 & 2:4 4:3,7,22      13th 118:14             120:10              3400 4:7
   141:24            14 96:3               207 14:8 122:12,24    3801 3:4
                     1400 2:10             208 14:8 79:6,21                4
          0
                     1437 1:3                79:22
 0 137:23                                                        4 79:24 150:20
                     146 5:11              20cv34319 1:6
 0881 137:23                                                     40 78:24
                     148 5:12              211 120:11
                                                                 400 4:3 31:13
          1          14th 146:20           2150 2:15
                                                                 409 1:7
 1 61:15 79:16       15 52:20 99:16,18     222 4:12
                                                                 45 78:25 106:11
   159:17            150 30:17             22402 159:19
                                                                 46 5:16 96:25
 1-3 118:15          1515 4:17             2251 3:8
                                                                   103:24
 10 29:2 46:20       15th 146:18,19        24 104:15
                                                                 4792290 160:2
   116:13            1600 2:10             25 157:11
                                                                   161:4
 100 30:17 57:21     17th 4:7,22           26 120:17
                     18 85:4 133:10        26th 72:3,7,14                  5
   60:25 66:21
   144:11            181 134:11              74:4 120:21         5 29:1 116:13
 103 5:17 137:21     18th 2:15             27 119:16             555 3:22 4:7
   138:6             19 62:23              27th 71:21 120:8      5613 4:3
 104 5:18 93:19,21   191250 3:17             120:18,20           5th 106:15 125:9
   95:20,23          1996 91:6             2821 3:22                       6
 1040 2:20           1:02 106:7,9          29 5:15 12:22         6 108:14 109:25
 1064 2:5            1:12 113:10,11          13:16,18 16:11,15     110:8
 1099 2:15           1:13 113:11,13          52:9                600 4:17
 10:04 5:5 6:4                2            2:07 155:17           60601 4:13
 117 5:14                                  2:11 157:10           63119 3:18
                     2 5:14 79:18,19,22
 11:23 63:2,4          89:13 112:2                  3            6420 4:22
 11:42 63:4,6          117:22,25 119:14    3 31:13 79:23 88:2    6th 108:17 109:23
 11:47 67:14,16        120:10 122:11         139:8 157:11          110:10 111:9
 11:50 67:16,18        139:7               30 37:14 42:13          112:9 113:23
 12 5:15             20 52:20 158:14       303-205-7870 3:5        125:9
 128 3:13            2019/2020 21:16       303-390-0016 2:16               7
 12:09 81:12,13      2020 30:6 38:5        303-443-1749 3:14     7 5:11
 12:17 81:13,15        48:13 60:13 71:21   303-534-5160 4:8      70 54:19,21 55:7
 12:26 89:10,11        82:2 94:10 107:5    303-573-1900 2:11       55:21
 12:34 89:11,14        108:14 117:23       303-667-5105          719-530-3011 2:6
 12:55 106:6,7         128:8 142:1           93:25               720-931-3200 4:18
 13 117:23 118:11    2021 1:17 5:5 6:4     303-734-3400 2:21
 131 5:19 80:17                                                            8
                       60:17 161:2         303-741-4539 4:4
   81:19,23          2023 159:17           303-749-0062 3:23     8 1:17 5:5
 137 5:17            205 14:7,10,11        312-609-7865 4:13     80 5:19 54:19,22
                       76:5                                        55:8,21

                                                                            Page 1
                              Veritext Legal Solutions
                                   800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 165 of 196

[80014 - amazing]

 80014 3:22            abused 91:11           activities 125:3      affiliation 55:15
 80111 2:20 4:4        abusing 147:15,18      activity 41:8 125:3   affirmed 7:3
 80202 1:4 2:11,16     access 11:5,10,12        140:4               afraid 97:18
   4:8,18                12:19 14:18 22:15    acts 152:5            aggregators
 80210 3:4               28:22 32:7,9,10,11   actual 23:10,18         141:14
 80539 3:9               32:18 48:19 49:9       26:3,18 34:9 49:9   aggressive 151:22
 80601 3:13              49:10,11 63:12,20      64:17 71:24 73:6    agitated 34:7 36:6
 81201 2:5               66:9 85:22 86:7,9      73:9                  46:12,15,17
 830 3:4                 87:4,12 88:5         add 97:12             agitator 151:22
 8400 2:20               89:16 90:4,16        addict 152:14         ago 18:7 25:2,2
 8th 6:4 87:23           100:9 102:6 107:5    addiction 91:7          28:5 88:7,24
           9             107:10 109:3,6,20    additional 145:19       135:24
                         109:22 110:3,7,11    address 1:3 19:5      agree 6:24 7:1
 9 161:2
                         110:18 111:8,10        33:21 49:5 90:24      59:5 90:11 105:24
 90048 4:23
                         111:15 112:4,19        137:1 158:20          106:1 110:13
 93 5:18
                         114:2 115:16         addresses 116:20        140:23 148:4,5
 95 140:4,15
                         117:10,13 128:10     adf 68:12               154:4,13
 96 5:16
                         142:7,8              adjudication          agreed 89:4,17
 970-419-8234 3:9
                       account 60:16            126:18,20 135:11    agreeing 88:19
   4:23
                         99:5 107:6,9         administered 6:16       130:16
           a             108:7 110:8          admits 153:20,20      agreement 6:21,22
 a.m. 5:5 63:4,4         111:15,22,22,23        153:21              agreements
   67:16,16              112:21               admitted 129:24         161:14
 ability 38:15 86:21   accounts 111:21          152:13 153:22       ahead 52:23,24
   137:13 139:21       accuracy 161:8         advice 28:21            97:15 128:16
   142:8 146:4         accurate 85:9          advise 8:12             131:3 143:16
 able 17:12 18:2         119:25 120:4,16      advocating 73:15      alignment 137:15
   19:2,9,15 51:13       120:22 121:2         affect 135:17         all's 102:2,3
   53:23 60:22 64:9    accusation 151:19        139:17              alleged 71:12 92:8
   64:15 68:25 70:22   acknowledge 6:13       affidavit 5:14          125:2
   74:17 81:2 98:23      6:16 158:2             71:20 117:18,21     allegedly 41:4
   110:15 111:21       acknowledged             118:10,17,21,25     alley 77:12
   112:10 113:16         136:19                 119:3,9,11 120:23   allotted 161:15
   114:6,12 129:18     acquire 33:8             121:2,6 122:1,11    allow 10:8 135:18
   135:17 137:12       act 22:10                122:18,24 123:22      155:13
   138:19 145:2,5,12   acting 58:16             130:12 131:12,24    allowed 118:25
   146:22,23 150:2     action 159:16          affidavits 44:8       allows 141:9
   151:25 155:8        actively 55:12           121:13 126:21         142:14
 absolutely 35:7         58:19 59:4           affiliated 51:2       amazing 58:13
   43:25 139:22        activist 55:13           148:14                126:14


                                                                                Page 2
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 166 of 196

[amended - article]

 amended 127:1            125:25 128:11,23       59:24 61:2 65:16     appearance 36:9
 amendment 158:4          128:24 130:9           65:18 66:16,20         36:12 37:11
 america 1:13 4:10        141:1 142:20,22        67:20,21 68:17       appearances 2:1
   4:15,20 107:2          143:1,12,14,20,22      69:15 70:18,22         3:1 4:1
 american 39:13           153:18                 71:10 73:24 74:14    appears 15:2
 amount 58:14           answered 12:7            75:18 77:12,15,20    applicable 161:7
   105:21 125:16          22:6 23:14,15          79:14 82:16 83:13      161:14
   126:14                 24:17 26:9,11          83:13 87:13 108:2    appreciate 85:16
 analyses 131:21          27:2 41:9,10           117:19 119:12          136:23 153:12,16
 analysis 131:14,18       57:21 94:23            120:16 123:3         approach 146:12
   132:1 135:7,25         100:22 124:2           124:17,25 125:3,6    appropriate 5:2
   136:3 137:4            150:25                 125:8,18 126:5,7       88:11
 anderson 77:18,23      answering 9:7            126:15 127:6,9,19    approximately
   77:24 78:13            28:16 34:17 35:23      127:22 128:2,4,6,7     58:6 78:23
 andrea 3:7,10 6:8        57:16,17 86:17         128:18,22 129:7,9    architecture 141:9
   6:25 148:6 156:17      87:22 94:21            130:12 131:5,9         141:23 142:9
 angeles 4:23             142:19                 139:10 146:13,17       144:22
 anger 98:15,17         answers 7:25             146:21,24,24,25      area 43:3 91:25
 animal 147:15            42:10                  147:1 148:14,23      argument 116:25
 animals 147:16         anti 39:13,14            149:3,13 150:3,4     arima 131:13,21
 anonymous 56:22        antif 79:13              151:20 152:5           131:22
 anonymously            antifa 10:21 11:1,5    antifascist 40:3       arlington 148:2
   69:10                  11:12,25 12:11         41:16                  156:8
 answer 8:11,13,20        14:20 16:5 17:9      antrim 139:19          arranged 67:21
   9:19 12:6,8,9          17:16,22 18:8          145:11               arrangement 6:19
   16:21,24 18:11,16      19:1,24 20:6 21:6    anybody 34:24          arrested 36:21
   20:24 21:3,4,5,5       21:11,14,19 24:1,2     43:4 56:2,10 73:6      37:9
   22:12 23:16 24:16      24:4,5,7,8 30:11       73:7 107:4,5         arrests 91:8
   24:19 25:13,19         30:15 32:8,12,14       132:23               arrington 3:3,3
   26:10,13 28:2          32:14 34:1 38:5,7    anymore 30:15            5:12 134:12,12,16
   34:18 35:11,15,16      38:18,19,22,23,24      103:18                 134:16 147:24
   35:19 36:16,18         39:2,6,7,9,9,12,13   anyway 105:8             148:2,5,9,20,21
   37:22,24 38:1          39:14,20,22,24       api 144:14               150:9,18,21 153:5
   39:6 40:18 41:11       40:2,4,6,8,13,22     apologies 116:2          153:12,25 154:9
   43:9,17 54:6           41:2,3,8,13,15         128:14                 154:18,19,23,25
   56:24 57:15 59:8       42:5,5 46:25         apologize 82:22          155:10 156:8,13
   59:9,10 61:8,10        47:17,20 50:8        app 29:3,7,25 63:9     arrington's 154:17
   70:1,11 83:18          51:2,3,8 53:24         63:12 64:12          arringtonpc.com
   84:6 86:4,13,14,18     54:4,15 55:11,12       114:10,11              3:5
   87:20,21 96:7          55:16 56:15 58:14    appear 15:12           article 108:18
   102:18 104:1           58:16,20,24 59:4                              129:23 147:1

                                                                                  Page 3
                                  Veritext Legal Solutions
                                       800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 167 of 196

[articles - behalf]

 articles 55:14          118:19 119:1        avenue 2:20 3:4        bark 152:8
 ascii 155:25            122:2 128:2         aware 10:19,22         barry 3:3,5 134:12
 aside 143:15            129:13 149:3          38:2,4,6 81:25         134:16,20 148:2,3
 asked 7:13 15:9         151:20                87:17                  154:3 156:8
   17:7 21:4 24:14     association 125:17              b            based 21:25 54:5
   24:17,18 26:11        126:6 129:13                                 54:24 55:6 60:24
                                             b 1:11,12,13 3:7
   41:9 49:18 51:6       148:23                                       63:11 72:10,17
                                               3:11,16,20,21 4:20
   54:7 55:19 56:24    assume 45:23                                   79:10 91:16 97:24
                                               15:3
   57:14,19 64:4,5       96:19 116:24                                 125:16 132:15
                                             back 21:21 26:1
   65:18 73:6,8,10       124:16                                       146:21 150:4
                                               31:4 42:15 48:14
   86:3 88:23 93:11    assuming 117:4                               basically 30:13
                                               52:6 60:12,13
   94:6 99:6 113:5     attached 158:4                                 99:13
                                               63:5 67:17 71:10
   118:17 121:8          161:10,12                                  basis 55:10 86:18
                                               73:1,5,11 74:21,23
   122:1,5,5 127:7     attack 97:22                                   153:9
                                               81:14 84:25 88:12
   135:5 136:24        attacked 98:5                                bates 14:6,7 76:5
                                               89:1,5,8,12 91:5,6
   137:7 146:3         attempt 48:24,25                               79:6 120:10
                                               96:14 100:8 106:8
   153:15              attempted 31:10                                122:25
                                               106:21 107:15
 asking 9:6,7 10:4       31:25 49:3 74:8                            bathroom 89:21
                                               108:17 111:11
   22:8 23:13 26:2     attempts 30:25                                 105:15,18,19
                                               113:12 124:4
   26:12,15 28:14,17     31:7                                       battering 41:23
                                               126:15,22 127:25
   36:18 40:6,25       attend 128:4                                   152:8
                                               130:4 137:2
   44:16 45:5 51:25    attended 32:24                               bclark 4:14
                                               144:21 145:1,4
   53:25 55:19 61:24   attention 61:22                              beat 152:16
                                               146:18 149:8
   61:25 70:25,25      attorney 6:23                                bed 97:17
                                               151:8 153:14,16
   71:3 83:21 86:11      20:22 28:15,18                             beedle 50:17,18
                                               154:10
   88:24 89:16 93:3      83:19 84:7                                   52:14 53:1 54:4,8
                                             background 16:20
   103:25 121:24       attorneys 6:12                                 54:25 55:2,4,8
                                               37:15 151:17
   125:16,22 127:4       10:13 74:21 93:1                             59:19 60:5,10,11
                                               154:16
   133:11,23             93:4 140:15                                  60:16,20 61:5,11
                                             backtrack 68:18
 aspect 61:17            151:11 159:15                                61:14,21 66:20
                                             backwards 113:2
 ass 100:16            attributing 124:13                             80:2 129:2
                                             bad 51:14 94:18
 assassinate 21:8      august 85:4                                  beedle's 59:24
                                             badgered 35:17
 assault 92:8            133:10                                     began 78:16
                                             balance 137:14
 assaulted 92:3        aurora 3:22                                  beginning 6:22
                                             ball 91:10
 assembled 131:5       authenticate 54:2                              32:4 53:8,8 82:14
                                             ballot 143:24
 assisting 137:10        57:4,7 107:11                                89:13
                                             bank 49:5
 associate 65:1        authenticated                                begins 6:2
                                             bannock 1:3
   129:14 131:9          54:4                                       behalf 2:2,9,13,18
                                             bar 88:7 91:2,19
   149:1,13            available 11:9                                 3:2,6,11,15,20 4:2
                                               91:21,23 92:8,17
 associated 68:12        50:1 112:1 113:25                            4:6,10,15,20
                                               95:16
   74:24 75:18           144:14 161:6                                 156:24 157:2

                                                                                 Page 4
                                Veritext Legal Solutions
                                     800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 168 of 196

[behavior - call]

 behavior 90:21        bipolar 153:20           105:19 127:15          34:14,18 36:1,4,5
   145:14              bit 31:4 72:23         brian 14:15,15,16        37:6,8,10,20 38:13
 behavioral 137:4        106:11 108:2,11        14:19                  38:16,17,21 39:1
 believe 24:9,10,11      117:17 124:11        brighton 3:13            39:17,25 40:12,15
   30:5 31:24 34:3       141:5 146:11         bringing 78:2            40:22,25 41:6,10
   48:21 52:2 60:8       155:6                brought 46:3             41:12 42:9 45:5
   60:14 63:17 65:4    bite 90:10 125:19        132:25                 45:11 62:19,21,24
   65:5,7 75:17,22     bkimrey 4:14           bryan 4:11               63:7 66:3,5 67:12
   76:9 77:5 78:24     bkloewer 2:7           building 60:2            67:19 69:14,23
   83:3,6 85:5 90:11   black 39:18 133:5        73:14                  70:3,6,9,10,13,24
   92:10 97:16           142:4                buildings 124:20         71:6 73:22 74:5
   112:15 114:12       blaine 4:11 13:1,9     built 141:2,6,8,12       80:25 81:8,16,23
   116:13 117:1,23       120:13 136:13          142:10,15              82:3,21,25 83:21
   118:20 127:8        blm 19:1               bully 102:22,22          84:9,16,19 88:19
   131:7 135:3         blog 155:4,5             129:15                 89:2,15,23 92:24
   137:23 145:19       blow 100:13 101:1      bunch 85:25 121:3        93:3 95:3,10 96:6
   146:19 148:15,21    board 78:2               123:13                 103:13,19 104:9
   148:24 149:11       boehmer 4:6            burn 90:23               104:22 105:20
   150:2 153:7 155:4     156:23,23            burning 124:19           106:4,10 113:3,14
   156:16              boisterous 123:18      burns 3:16,17 81:1       116:3,15,24 117:4
 believed 149:3          139:5                  81:4,4                 117:15 118:1,5,7
 believes 38:10        book 74:9,11           business 74:20           120:4,15 121:23
 benefit 97:2          bookmarked 79:7        businesses 73:17         121:24 128:16
 best 28:7 54:24,24    bothered 50:16           73:19,21               134:1,5,10,22
   55:6 72:12 73:24    bottles 124:21         busy 34:9,10             136:9,16,23 137:2
   112:18 121:1        bottom 14:7 83:8         48:16 74:20 99:16      138:6 139:11
 beth 2:14               88:21 93:17          button 93:17             140:11,23 141:19
 beth.chambers           122:25               buttoned 116:25          143:1,4,13 144:9
   2:17                boulevard 4:22         bypass 137:14            145:18 146:3
 better 65:25 66:1     bounty 21:16,19                  c              153:4,13 154:2,14
 bev 15:3,8,10,22      bowman 2:4                                      155:12 156:14,15
                                              c 6:1
   16:3,4 52:17        box 2:5 3:8,13,17                             cain's 148:12,22
                                              cain 2:2,4 5:11 6:7
 beyond 19:3 20:1        133:5 142:4                                 calculate 145:13
                                                6:7,24,24 7:6 8:19
   26:18 42:13         brad 2:3                                      calendar 72:1,19
                                                8:23 9:1,2 10:1,6
   103:16              bragged 155:3                                   72:21 73:3 74:6
                                                10:8,11 13:1,4,9
 bias 139:9            breadth 150:5                                 california 2:5 4:23
                                                13:15,16 15:8
 biased 88:1           break 20:16 62:20                               21:9
                                                16:24 18:11,15
 biden 139:1             62:25 63:10 85:24                           call 10:21,21 11:1
                                                22:2,3 23:12,13,18
 big 138:17,18,22        86:2 88:17,23,24                              11:5,12,16,24 12:1
                                                25:23 26:6,7,14,17
 binder 7:16,17          88:25 89:4,5,16,17                            12:12,20 13:23
                                                26:25 27:3 28:4
                         89:19 105:15,18                               14:4,7,18,24 15:11
                                                28:17,21,22 33:25

                                                                                  Page 5
                                 Veritext Legal Solutions
                                      800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 169 of 196

[call - client]

   15:18,21,25 17:24    called 5:3 38:7,19     ccain 2:6               34:16 35:22 37:3
   18:5,21 22:15          38:21 39:7 40:6      cd 143:18               38:9 40:9 62:20
   24:13 31:8 32:8        41:2 48:22 94:12     cell 31:15 64:17,22     69:18 80:21 81:1
   32:18 35:13 38:24      95:16 97:9 107:21      64:23 65:2,6          82:22 88:16 95:8
   39:12,22 41:24         110:22 129:3         centers 147:13          96:2 103:9 104:11
   44:14 46:25 47:5     calling 40:15          centric 124:11          105:16,18 116:12
   47:10 48:19,21,22      111:6                ceo 126:24 144:3        133:22 143:3,11
   48:23 49:1,6 50:4    calls 50:3 51:24       certain 11:6 49:4,5     143:17 145:22
   51:4,5,7,8,13,17       56:14 68:25 69:16      50:12 54:22 55:20   chart 132:5,7,13
   51:20 52:1,4,6,8       69:16,21 70:3,17       55:21 78:15 115:7   charting 132:17
   52:11,13,15,16,21      71:1 82:23 84:20       123:22 129:1          132:18
   52:21 53:1,8,18,19     126:12                 132:8,9 144:1       charts 133:1
   54:1,3,5,11,21       camera 45:1              150:10 152:1        check 25:15,20
   55:6,8,10,11,20      camp 5:19 12:16        certainly 51:1          33:14,23 49:22,23
   56:4,6,12,17,25        18:17 21:12 76:6       113:4 150:2           52:2 73:2 94:13
   57:6,7,9,20,22         76:7,11,13,15,19     certainty 54:11,14      146:19
   58:1,3,6,9,11,18       80:3,9,10,18 81:18     54:14,18,18 56:5    checking 144:21
   59:16,19 60:8          82:1,1,5,9 83:1,15     57:1,20,22 58:1,2   cherry 96:2
   61:5,6,12,20 62:7      83:23 84:1,19          58:4 60:3,5,7,7     chicago 4:13
   66:14,15,19,24         85:17 121:8,25         61:19,19 128:22     choice 76:23
   67:2,20,20,21 68:1   campaign 157:3           140:12,15           christopher 2:19
   68:20,22 69:2,3,5    capabilities 150:5     certificate 159:1     cia 149:10
   69:5,9,20 70:14      capacity 135:11        certified 5:7         circle 26:1
   71:10,11,13,17,25    care 21:3 22:9           159:20 161:16       circumstances
   72:9,13,25 73:24       42:3 148:5           certify 159:6,9,13      69:11 98:14
   74:14,23,24 75:1,3   careful 26:21 61:2     cetera 122:21         city 43:1
   75:6,9,10,12,20      carry 114:13,14        chambers 2:14         civil 5:2
   76:7,10,16,19 78:5   carve 125:24           chanel 1:12 4:10      claim 52:12 57:5
   78:11,14,16,18,20    carving 125:18           4:15,20 13:7          57:25 58:8 59:17
   79:14 83:12,16,24    case 1:6 7:11          change 102:4            103:22 143:3
   84:2 90:15 102:13      10:17 13:3,10          160:4,7,10,13,16    clarification 118:2
   106:12 108:2           38:4,12 39:8           160:19                136:16 145:22
   109:10 117:19          40:11 104:2 117:1    changed 119:23        clarify 60:10
   119:12,15 120:16       132:3 145:1            139:25                149:4 150:8
   120:24 121:9         cases 137:14           changes 63:19         clark 4:11 50:25
   123:3,12,15 125:2    castle 25:11 32:21       158:7,8 161:9         51:1 67:1,7
   126:8,9,12,16        catalyst 58:24         charge 24:12          clean 57:10
   127:25 131:6         cause 147:20           charged 92:8,13       clear 124:25 139:8
   138:17 145:5         caused 98:14           charles 2:2             139:24,24 143:24
   146:4,13,16,21         145:9                charlie 6:7,24 8:17   client 8:19 28:15
   149:16                                        8:24 10:1 33:19       28:18 38:12 40:15

                                                                                  Page 6
                                  Veritext Legal Solutions
                                       800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 170 of 196

[client - continued]

   40:18 69:21 83:19   commencing 5:5         compelled 90:7       connected 112:1
   84:7 101:13,13      comment 51:20          complaints 74:21       144:16,18
   102:11,11,12          82:21 105:10         complete 119:21      connection 77:19
   103:10,12,15,21       107:25 154:4           121:1 147:23         82:16,17 97:23
   103:23 104:15       comments 91:9          completely 121:4       118:23
   145:23                95:9 107:12          complicit 145:14     connections 142:6
 client's 41:1           123:12 124:9,10      compromised          cons 138:17,17,18
 clients 116:22          130:15 138:24          135:14             consent 6:19
 close 73:4 79:2       commerce 144:10        computer 7:19        consequences
 closer 65:24 67:10    commission               65:24                86:17 88:12
 cobb 139:19             158:16 159:17        con 98:13 138:18     conservative 1:11
 code 49:9 56:20       commitment               138:22               3:7,11
   57:3 142:3,5          11:13                concerned 51:10      consider 127:18
 coffee 46:18,19       committed 155:2          88:3 121:12        constitutes 158:5
   47:3,7              communicate 9:17       concerning 11:4        159:12
 coincidence 60:19       31:15 123:19         conclude 104:23      cont'd 3:1 4:1
 collect 17:2 18:2       151:5                  129:19 137:20      contact 24:22
   146:22              communicated           concluded 155:18       27:25 28:5 30:3,4
 collectively 121:17     51:24 70:22 151:6      157:10               30:8,23,25 31:8,10
   130:16              communicates           conclusion 91:15       31:14,25 49:3
 color 36:12             29:11 30:1 41:14       127:10,12 138:21     63:19 64:15 65:8
 colorado 1:1 2:11     communicating            138:23 145:16        77:7 79:23 112:21
   2:16,20 3:4,9,13      40:1 60:11,15,20     concrete 49:8          113:17 146:4
   3:22 4:4,8,18 5:8     61:11 123:15         conducting 7:22      contacted 34:7
   14:14 21:19 25:5    communication            148:25               64:23
   25:11 50:17 53:12     31:5 56:15,17,18     conduit 10:21 11:1   contacting 17:8
   72:5 109:2 124:18     68:7 70:21 82:9        12:5,11 14:4         80:4
   130:5 139:19        communications           17:18 18:20 29:5   contacts 64:20
   159:6                 1:11 3:16,20           37:25 42:13 69:1   contemporaneou...
 come 34:11 35:8         28:12,23 29:2,5,17     70:14 86:7 87:7      13:22
   48:18 52:6 85:17      30:2 31:22 61:18       96:23 108:3        content 107:23
   86:17 88:4 89:5       68:3                   121:10 122:1         112:19
   91:15 97:18,21      communism 130:3        confer 89:19,23      context 7:25 75:22
   115:5 145:16        communities            conferral 36:22        78:1,1 94:5 96:9
 comes 93:24 142:3       124:19               confirm 66:21          96:13 119:22
 coming 26:21 98:1     community 73:16          105:1 136:21         149:5
   121:13 141:15         129:15 147:21          138:7              continue 155:13
   154:17              companies 144:12       confirmed 33:22      continued 60:17
 commencement          company 49:18          confirming 122:2       122:12 123:4
   159:7                 73:13 141:14         conflict 69:4          141:17
                         144:3

                                                                                Page 7
                                 Veritext Legal Solutions
                                      800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 171 of 196

[continues - d]

 continues 22:4          113:23 114:4        corrected 104:10        127:3 130:18
 contract 64:6           116:11 122:14       correctly 14:16       court 1:1,3,4 6:10
 control 86:20 91:2      123:6,9 124:14      correlate 60:21         7:10 11:20 22:4
   91:8 96:22 103:22     125:1,17,21 126:5   correlated 58:20        38:1 43:7 44:5
   147:15                126:11 127:5,8,18   correlates 59:10        86:14 87:15 88:13
 convenient 95:7         128:6 129:6,19        59:23                 90:25 114:23
 conveniently            130:13 131:4        correlation 61:5        116:19,20,23
   101:6                 133:14,17 135:2,6     61:12                 153:15
 conversation            135:6,9,15 139:16   correlations 141:7    court's 64:8
   29:13 32:12 53:16     140:16 148:13,25    corroborate 58:15     courthouse 36:19
   54:5 65:20 75:16      149:6,15,24         corroborated            36:20
   78:3 113:6 115:21     151:14 152:1,22       111:10              courtroom 1:7
   122:19,20 123:2       152:24 160:1        corrupt 100:16          22:10 36:25
 conversations           161:3               counsel 6:5,19        cover 105:23
   47:8 49:23 51:21    coomer's 24:4,5,8       7:14 8:11 9:20      covered 87:7
   56:21 63:21 89:18     84:21 85:15 86:20     13:3,7 23:13          128:20 156:21
   151:10,11,12          87:13 90:4 91:1       28:13,19 36:22      covering 128:9
 convert 33:9,10         93:8 94:10 95:1       37:2 44:24 63:15    cps 147:18
 convince 115:23         95:11 99:25           63:23 85:2 89:19    created 132:5,7,19
   116:4                 104:25 108:7          89:24 92:19 96:16   creates 141:6
 cool 103:18             110:3,7 115:9         103:13 145:19       creating 132:13
 coomer 1:6 11:24        138:12,22 148:23      148:6 154:16,16     credence 151:19
   11:24 12:1 15:24    copies 13:6             155:12,19 156:22    credibility 97:23
   21:21,23 24:9,10    copy 13:19 133:23       157:1,6 159:14        121:16 122:3
   24:11 38:12,19        136:17 161:16       counsel's 150:18        152:5
   39:8 40:21 52:12    core 68:14            counties 145:12       crimes 154:1
   54:1 56:7,8,8,10    corporon 3:21,21      country 34:10         criminally 92:14
   57:2,5,9,18,22,25     151:2,6               44:8 56:16 100:17   cross 148:7 154:10
   58:8 59:17 60:4     corporonlaw.com         124:18 126:13,21    crude 136:6
   60:13,13,15,18,23     3:23                  139:9 141:11        cruel 156:4
   61:5,7,9,11,17      correct 7:11 13:21      147:6               cseerveld 2:21
   62:8,9,14 82:15       14:1 36:7 65:4      county 1:1 139:19     cstrial.com 2:6,7,7
   83:1,5,12 87:4,12     71:18,19 72:10        139:19,19 145:11      2:8
   87:23 88:3,6,15       83:24,25 84:18      couple 8:1 18:7       currently 9:11
   90:8,15,21 91:4       85:5,10,11 104:3      21:13 30:25 31:7      21:12,19 46:10
   92:2,8,21 93:2,12     108:14,20,20          31:7 44:7 48:15       64:13
   93:14 96:22 97:23     109:8 112:11          48:22 51:18 88:7    cut 98:2,3
   100:15,15,15          117:24 119:16         97:25 141:15                  d
   103:11 107:21         123:6 132:24          148:11
                                                                   d 1:11,12,13 3:7
   108:18 109:10         138:14 147:8        course 9:18 51:10
                                                                     3:11,16,20 4:20
   111:3 112:3,7         151:14 159:12         55:11 75:6 119:12
                                                                     6:1 27:22,24

                                                                               Page 8
                                Veritext Legal Solutions
                                     800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 172 of 196

[d.c. - directly]

 d.c. 133:1            death 141:16,17       deletes 29:1          describe 30:8 36:9
 daily 1:11 3:7,11     debate 102:10,11      deleting 57:18          36:12,15,23 37:10
   74:20                 103:20 145:10,11      103:7 104:8           45:14 50:5 130:24
 damage 64:1,2         debating 40:16          153:23                131:2,4
 damaged 64:5          december 87:23        demask 58:24          described 68:20
 danger 21:25 44:1       106:15 107:4        demonstrations          122:20
   44:3 65:21 87:12    decided 107:1           126:12              describing 71:2
   91:3 98:8           declare 6:17          denied 99:8             83:16
 dark 21:18            deem 118:2            denver 1:1,4 2:11     design 144:11
 dash 18:19 20:19      deep 65:17              2:16 3:4 4:8,18     desire 86:21 87:25
 data 77:13 106:17     defamation 35:25        14:14 43:3 48:17    despite 74:5
   109:5 114:9           38:12 40:11 143:3     72:4 130:5          detail 97:20
   132:14 140:22       defamatory 55:14      denying 98:18,24      determine 19:15
   141:7,13            defaming 59:4           99:9                develop 46:24
 datasets 131:25       defendant 2:13,18     depending 137:19      develops 141:3
   132:18,19             3:2 4:2,6,10        deponent 15:6         deviations 136:7,7
 date 6:3 71:12,24     defendants 1:15         16:22 25:20 28:3      137:5,5
   72:25 73:6,9 74:7     3:6,11,15,20 4:15     65:23 66:1,4        device 9:10
   74:18 91:5 101:8      4:20 73:8 103:18      69:22 73:20 80:23   devices 8:3 56:19
   138:11 160:24         132:3                 81:5 89:7 104:18    dexter 4:16
 dated 71:18           defending 2:18          104:20 105:17       diagram 136:5,6
 dates 71:11,11          85:3                  106:1 113:1           137:24,25 138:6,8
   73:3                deference 153:9         115:25 120:7          138:13,15
 dating 60:12 130:4    define 46:25 52:7       128:14 134:8        diagrams 137:17
 dave 95:4,10          definitely 32:18        138:4 141:1         dictate 90:22
 day 34:8,9 39:15      definition 41:20        143:22 144:8        died 18:7
   97:4 101:16 103:4   definitively 53:20      158:1 159:7         difference 104:6
   104:15 109:23       defranco 3:12,12      deposition 1:16       different 24:18
   112:10,12 146:25      6:8,8 7:1 143:7       5:3 6:3,13,14,15      54:6 56:18,19
   156:16 158:14       defrancoi 3:14          7:22 9:18 10:4        82:4 137:12
 days 48:22 72:2,14      161:1                 20:24,25 25:24        139:12,14 142:6
   73:24 97:25 99:16   degree 19:4 54:17       33:14 34:21 37:4      142:21
   99:19 121:18          54:18 59:18 61:19     41:21,22 116:18     difficult 128:19
   141:15                112:2 140:12,15       117:19 118:3,4      difficulty 128:17
 deactivated           delete 101:10,19        136:18,21 140:14    dig 150:2
   111:23,24             101:25 104:5,8        142:18 148:6,7      diligence 126:15
 deal 57:23 83:19      deleted 29:2,6,18       155:18 157:9        direct 58:4 151:9
 dealing 21:2 43:2       29:22,25 101:11       158:2,5,7,8 159:9     153:15 154:10,12
   115:20                101:14,17,18          161:4               directly 59:10
 dealt 69:20             102:4 104:4 107:2   depositions 151:9       130:18 151:5,12
                                               153:5

                                                                                Page 9
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 173 of 196

[director - endearing]

 director 135:9          dog 152:9               104:25 108:7,18     edison 133:7,7
 disagree 154:5,9        doing 17:8 20:11        110:3,7 111:3       education 73:17
 disclose 11:13            20:11 47:20 51:19     112:7 113:23        educational 37:15
   34:23 43:7 65:21        58:21 65:9 72:7       115:9 116:11        effect 30:13 87:18
   109:15,18               72:24,25 73:3         125:1 127:5,18        124:13
 disclosed 43:8            87:15 99:16,18        128:6 129:6,19      effort 152:10
 disclosure 10:20          100:12 104:14         130:13,24 131:4     efforts 65:12 74:6
   10:22                   108:24 111:9,16       133:14,17 135:2,6     123:13
 disclosures 56:15         111:20,20 112:6       135:6 138:12,22     either 39:9 43:12
   137:22                  121:20 124:17         139:16 140:16         56:3,20 60:7 67:1
 discover 144:15           126:12 131:8          148:13,23,25          70:6 71:2 102:20
   146:17                  149:23                151:14                132:3 146:19
 discovery 69:20         dominion 14:12        drafted 119:19,20     election 61:3
   83:7 103:17             61:12 72:4 75:16    dragged 48:1            97:24 100:17
   121:21 153:8            82:17 97:22         drank 85:25             102:14 121:19,20
   154:6,11,12             100:16 122:21       drc 2:21                127:3 133:14,18
 discuss 76:5              126:9,20,23,24      dropped 120:6           135:2,3,8,12,18
 discussed 52:8            133:3,4,5 135:10    drug 152:13             138:12 139:17
   66:14 76:6              135:17 136:8          153:21                140:5,16,19,24
 discussing 67:20          137:11,19 138:16    dsl 77:21,21            141:20,21 142:24
   76:19                   142:10 143:23       dtc 4:3                 143:25 147:3
 discussion 63:3           145:9,11,14,17      due 21:14 126:15      elections 142:24
   67:15 76:10 77:22       147:5 150:6         dui 91:8              electronic 33:9,11
   156:7                 dominion's 147:4      duis 154:1 155:2,9      72:21
 disgusting 55:3         dominus 129:24        duly 7:3 159:7        elk 108:8,13,21,23
 dispute 56:10           donald 1:9 2:13       dymond 2:19             108:25
 disqualify 19:9           160:1 161:3                   e           else's 97:11 99:14
 distracted 138:18       door 130:21                                   151:9
                                               e 6:1,1 15:3 144:10
 district 1:1            downloaded                                  email 2:6,7,7,8,12
                                                 157:3 160:3,3,3
 divulge 21:20,24          114:13                                      2:17,17,21 3:5,10
                                               earlier 68:24
   34:25 48:25 88:13     dox 147:20                                    3:14,19,23 4:5,9
                                               early 4:22 30:5
 dna 141:8               doxing 147:7,10                               4:14,14,19,24,24
                                                 133:1 145:3
 doctorate 149:7           147:10                                      5:17 31:6,18
                                               earlysullivan.com
   149:12,20             dr 39:8 54:1 56:8                             33:12,21
                                                 4:24,24
 document 5:16             56:10 57:5,25                             emails 33:10 83:4
                                               easier 136:22
   80:19 82:14             58:8 59:17 60:4                           emotions 98:8
                                               east 2:20 3:4
   137:23                  62:9,14 83:5                              employed 42:21
                                               echo 97:9,11 99:12
 documented 49:15          84:21 85:15 90:4                            159:14
                                                 99:13 104:24
   49:17                   91:1,4 92:2,8,21                          employment 42:23
                                                 106:19
 documents 12:21           93:8 94:10 95:1                           endearing 77:2
                                               echoed 100:4,24
                           95:11 96:22 99:25

                                                                                Page 10
                                  Veritext Legal Solutions
                                       800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 174 of 196

[ended - fair]

 ended 78:18              126:5,9,10,15       exactly 111:19          146:9,11
 enemy 77:11              127:8 135:15        examination 5:4       explanation 56:23
 enforcer 19:1            138:23 149:6,15       5:10 7:5 146:1        59:7 115:19
 engage 156:3             152:7,9,22,24         148:7,8 159:7       extended 117:5
 engaged 140:4            156:24 157:2        examined 7:3          extensive 151:14
 engineering 149:7        160:1 161:3         example 145:3         extent 11:6,7,8
   149:13,20            eric's 124:10         excentric 123:17        154:12
 enter 136:17           eric.holway 2:17      exclude 125:14        extremist 41:18
 entered 10:17          ernst 141:24          excluding 56:9                  f
   136:21               errata 161:10,12      excuse 126:19
                                                                    f 123:19
 entire 50:9 139:25       161:13              exhibit 5:14,15,16
                                                                    fabricated 87:24
 entirety 23:5          error 106:9             5:17,18,19 12:22
                                                                      88:4 153:23
 entitled 5:16          errors 132:14           13:10,16,18 16:11
                                                                    facebook 84:21
 entrepreneur           esns 143:24             16:15 52:9 80:17
                                                                      85:15,20 86:8
   141:25               especially 98:7         81:19,23 93:19,21
                                                                      87:7 89:17 90:4
 environment 59:3       esq 2:2,3,3,4,9,14      95:20,23,24 96:25
                                                                      91:3 96:23 101:15
   59:12                  2:14,19 3:3,7,12      103:24 117:22,25
                                                                      101:24 104:16,17
 epiphany 108:13          3:16,21 4:2,6,11      120:10 137:21
                                                                      105:3,4 108:4,5,7
   108:15                 4:11,16,21,21         138:6
                                                                      109:4,24 110:3,4,7
 equate 126:6           essence 107:2         exhibits 5:13 7:14
                                                                      110:19,20 111:1,2
 equations 144:19       essentially 108:3       7:15,17 13:2,6,8
                                                                      111:8,15,23
 eric 1:6,12 2:14       estimate 54:24          93:18 102:16
                                                                      112:17,20 113:17
   4:6 14:11 15:24        55:6,24 73:24         118:2,4
                                                                      114:7,20,23 115:9
   18:14 21:21 24:4     et 122:21             exist 98:22
                                                                      117:20 125:8,10
   24:5,8,9,10,11       ethnicity 36:13       existed 82:17
                                                                      125:16,18 126:16
   38:12,19 39:12,12    etran 156:24          existing 121:22
                                                                    faces 128:20
   40:21 50:20 56:7     evasive 24:15,16      expectation 119:5
                                                                    fact 19:8 21:3
   57:2,9,18,22 61:12     42:10,11 111:17       119:8
                                                                      28:18 38:7 41:24
   62:9 67:1 72:4       event 126:5           expedite 156:16
                                                                      51:23 52:10 53:18
   75:16 82:15 83:1       127:22 128:2        expedited 156:25
                                                                      55:16 58:15,16
   83:12 86:20 87:4     events 130:23           157:4
                                                                      59:10 61:13 79:12
   87:11,13 90:15       everybody 24:7        experience 142:23
                                                                      92:12 98:12
   93:12 97:23            76:6 134:2          expert 140:20,24
                                                                      106:23 121:16
   100:15,15,15,18      evidence 35:6           141:20,21,22
                                                                      126:23 127:9
   102:3 103:10           44:10 59:11         expertise 145:15
                                                                      128:20 140:2
   107:21 109:10          102:15 114:23       experts 104:14
                                                                      144:21 147:1
   112:3 114:3 117:9      115:1 119:6           132:4
                                                                      151:4
   117:13 122:10,12       124:25 125:5        expires 158:16
                                                                    factually 120:22
   122:14,21 123:3,6      127:17,18 128:5       159:17
                                                                    fails 161:15
   123:9,14,22          exact 36:24 94:19     explain 8:1,9 75:8
                                                                    fair 13:14 51:11
   124:14 125:17,21       151:21                115:15 143:2
                                                                      55:1,9,24 66:16,16

                                                                                Page 11
                                 Veritext Legal Solutions
                                      800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 175 of 196

[fair - give]

   73:25 76:14 84:5    file 13:8              flying 88:10            141:11
   85:17,18 108:19     filed 116:19 119:1     focus 50:7,8 58:17    frozen 124:21
   122:2 137:9            119:3 149:15          58:18,18 70:13      full 7:7 27:7,10
 fairly 58:10 74:20    files 20:13            follow 82:4 86:1        131:13
 faith 73:16           filled 51:22             104:14 108:4        fully 62:18
 fall 28:21            finalist 141:25          136:22 147:25       function 13:11
 false 37:1            find 20:9,16 31:5      follows 7:4             113:16
 familiar 144:12          49:4 58:14 69:16    foregoing 157:9       further 6:15 44:11
 family 43:5,11,19        100:11 101:5          158:3 159:12          126:17 159:9,13
   44:17 47:16 97:16      106:23 111:13       form 18:10 26:4       furthermore
   97:19                  113:3 114:12          41:5 116:10           87:24
 far 69:8 73:1            142:17 144:15         159:11              future 90:22
   83:15,23 88:3          153:1,19 155:1      format 136:1            132:11
   130:2 151:3         finding 83:14          forth 159:11                   g
 fascinating 51:22        121:16 126:18       fortify 79:19
                                                                    g 6:1
 fascist 40:3          fine 27:5 62:21        fortifying 122:9
                                                                    gab 80:18 81:24
 fashioned 72:22          84:9                  122:12 123:4,9,13
                                                                      82:5
 fbi 149:10            finish 57:14 86:25       123:23 124:1,3,8
                                                                    gained 62:4
 fear 47:24               143:14              fortune 144:11
                                                                    games 23:12
 fec 1:10 3:6,11       finished 130:25        forward 13:8 88:4
                                                                    garner 93:2
   25:9,12,21 30:22    firm 3:3,17              145:18
                                                                    gateway 1:12 3:16
   32:3,20 33:2        first 7:3 8:2 23:8     found 59:13 112:5
                                                                      3:20
   34:10 46:1,2,6,9       23:10 27:11,13,16     149:6 151:17
                                                                    gather 48:25
   50:14 58:20 68:12      30:18,19 32:5       four 13:25 79:1
                                                                      147:13
   73:14 146:20           48:20 61:13 67:21     88:23 136:7
                                                                    gathering 137:11
   147:2                  76:5 79:12,25       frankly 21:21
                                                                      150:23
 fec's 25:24              87:20 103:20          24:12
                                                                    geared 68:24
 feces 124:21 125:4       109:24 125:7        fraud 97:24
                                                                    gentleman 21:15
 feel 88:14 90:6          141:13 148:10         102:14 121:21
                                                                    georgia 139:20
   149:8               firsthand 92:16        fraudulent 138:19
                                                                      145:2
 feelings 42:2         five 25:2 26:11        fresh 143:21
                                                                    getting 7:24 9:19
 felt 121:5               28:4 79:2           friend 45:22,24
                                                                      32:8 46:25 47:13
 female 45:20          flip 133:14              77:12 112:7
                                                                      48:12 74:21 84:5
 fight 88:7 91:2,19    flipped 133:18         friendlies 67:4
                                                                      85:15 90:16 109:3
   91:21,23 92:9,17       135:2               friendliest 51:20
                                                                      109:5 110:3
   95:16               flipping 135:8         friendly 114:3
                                                                      121:14 128:9
 fights 152:14            138:12 140:5,16     friends 43:5,10,19
                                                                      146:15 152:14
 figure 35:17 41:1     floor 4:22               44:17 104:16
                                                                    giants 107:1
   59:14 69:19 114:1   florida 3:4              110:3 115:9,11
                                                                    giuliani 1:10
   121:16 144:20       fly 98:8               front 7:17 80:16
                                                                    give 7:10 11:8 12:5
                                                81:20 88:13
                                                                      12:12 20:23 21:5

                                                                               Page 12
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 176 of 196

[give - happening]

   22:24 26:24 32:18      38:20 39:6,23       grew 48:1               39:10,21 40:9,14
   44:19 49:9 54:17       40:17,19 42:15      group 68:14 129:3       40:16,17,23,25
   73:2 86:12 88:8        43:14 46:22 51:5      129:6,25 130:14       41:1,9 42:8 45:2
   90:2 101:8 109:13      51:12 56:2 57:23      131:5 132:23          62:15,20 69:12,18
   110:25 114:2           63:1 65:11 67:13      147:19                70:5,8,20 71:4
   117:8 127:11           71:10 80:14 81:11   groups 122:12           74:1 80:21 82:20
   136:19                 88:16 89:2,7,9,22     123:4,9,23 124:1      82:22 83:18 84:6
 given 26:22 27:2         90:2,2,23,24 96:6   grow 47:25              88:16,22 89:5,20
   27:14 31:14 43:6       96:24 97:18         grsm.com 4:9            92:22,25 95:2,8
   48:16 49:4,5           102:21,22 103:16    guarantee 26:14         96:2 103:9,14
   64:17 87:13 88:6       103:20 104:3,22     guess 46:13 51:4        104:11,19 105:16
   88:11 90:7 115:4       105:10,14,20,23       54:23 55:25 58:12     106:3 116:12,17
   128:18 156:5           105:24 106:5          58:12 60:18 66:8      117:14 133:22
 giving 86:8 93:13        107:1 109:8,9,13      72:12 77:24 93:19     134:3,6,19 136:4
   109:12 116:8           109:15,18,19,21       96:15 97:1 98:10      140:8,21,25
 gizer 4:22               109:21 110:12         104:23 105:11         142:25 143:2,5,8
 glad 30:14,14            111:11 113:1,3,9      106:25 116:22         143:11,17 145:21
 go 8:10 14:25            117:9 118:22          129:16 131:23         146:2 147:23
   19:12,15 27:19         119:9 123:11          152:15 156:18         148:3 155:15
   31:4 52:23,24          126:17 134:13       guessing 72:15          156:17,17
   59:13 65:9 67:11       138:25 139:1,2      gun 61:1 97:21         hamstring 56:3
   73:1,5 80:6 81:9       142:1,17 143:13     guns 61:3              hand 30:15,22
   88:12,17 93:10,21      143:20 145:22       guy 14:12 21:8,9       handed 30:14
   95:13 96:11,14         147:24 148:4,4,7      34:6 64:12 75:23     handle 22:9 28:10
   97:15 100:23           150:11 151:7          75:23 77:15 80:3      88:10
   101:6 103:2            154:6 155:13,16       80:6 94:16 122:21    hands 30:18
   104:17 105:2,20        155:16                140:22               handwritten
   105:24 106:4         good 20:18 47:19               h              72:22
   109:4 113:7,19         47:20 105:12                               handy 131:18
                                              h 160:3
   119:12 122:18          155:5                                      happen 34:8 145:2
                                              habit 153:24
   128:16 131:3         google 155:4                                 happened 29:24
                                              habits 90:21
   134:22 143:16        gordon 4:2,7                                  29:24 32:1 34:5
                                              hair 36:13
   146:18               gotten 61:22 83:3                             44:13 48:14 49:23
                                              half 107:1
 goal 43:23             gpm 4:17                                      63:16 71:14 74:4
                                              hall 3:7,8 5:11 6:9
 goes 18:25 133:7       gqueenan 4:5                                  97:25 120:21
                                                6:25,25 8:17,22,24
   144:24               grabbed 99:25                                 132:11 136:8
                                                15:5 18:10 23:11
 going 8:10,10,11       grand 101:16                                  151:11
                                                23:14,16 26:4,9,14
   10:1,8 11:19,22        103:4                                      happening 48:17
                                                27:1 28:14,20
   21:3,4,5 22:3,12     gray 4:21                                     73:13 126:17
                                                33:19 34:13,16
   26:1,15 34:8,18,23   greenwood 2:20                                132:10
                                                35:22 36:2,4 37:3
   37:3,22,24 38:17       4:4
                                                37:7,19 38:9,15,25

                                                                                Page 13
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 177 of 196

[harm - information]

 harm 34:25 35:3,7     higher 97:19          hurt 42:2 86:21         incorrect 29:9
   147:21                122:17                 129:14               independent 53:12
 hart 143:24           highly 38:18          hyperbole 124:11        index 5:9
 hatred 139:9          hired 92:18           hyphen 77:15            indicate 6:21
 hats 100:16           history 21:23 47:4               i            indicated 33:25
 he'll 70:11             47:6 87:13 88:6                               67:24 113:14
                                             icx 137:13,14
 head 21:17,19           88:10 107:2                                 individual 11:4,11
                                             idea 48:18 77:11
 headless 144:11         149:24                                        12:3 21:22 22:1
                                                84:4 105:12 114:3
 health 153:2          hit 21:14 80:3                                  22:14 23:1,4,17
                                                129:10
 hear 16:25 25:18        93:16                                         25:1 43:24 46:5
                                             identification 27:8
   44:25 45:3,7        hoft 1:11 3:15,20                               60:12 65:20 67:7
                                             identified 12:22
   75:15 127:12          93:22 96:15,20                                87:12 88:9 91:14
                                                61:25 66:13 108:3
   136:11 138:3        hold 12:25 20:10                                91:18 94:25 141:8
                                             identify 6:5 19:2
   139:1 144:7           25:25 81:7 93:21                              141:8
                                                32:24 42:18 46:13
   148:19                98:25 138:5                                 individually
                                                52:25 56:2,5,11,25
 heard 51:9 116:21       140:19 141:20,22                              113:19
                                                57:19 58:7 59:2
   139:2                 141:23 153:4                                individuals 10:20
                                                60:6 61:19 68:14
 hearing 16:18         holes 142:10                                    11:4,11 60:4 67:2
                                                68:21 75:19
   65:23 87:6 154:18   holway 2:14 157:2                               92:3,13
                                                129:17
 heavily 18:8            157:2                                       infiltrated 67:25
                                             identifying 18:4
 heavy 115:21          home 93:11 108:8                                68:2,6 69:15
                                                18:24 19:6
 heidi 50:18 52:14     homes 129:16                                    146:21
                                             identities 56:14
   53:1,5,13,13,18     hone 53:16                                    infliction 103:22
                                             identity 11:1,4,11
   54:2 55:8 60:5,16   hope 44:3                                     influence 135:4
                                                12:5 14:3 17:11
   60:20 61:11,14,21   hour 62:23 157:10                               139:7,8 150:7
                                                27:12 37:25 52:1
   61:24 66:20 80:1    hours 34:23 35:16                             inform 42:16
                                                58:4 116:10
   129:2                 104:15 105:24                               information 7:24
                                                117:12 128:9
 help 74:17 77:7         143:9 145:22                                  11:9,21,22 12:13
                                             iii 2:9
   94:19 106:18          157:11                                        12:14,19 16:13
                                             illinois 4:13
   108:11              house 93:9 94:3,7                               17:20 18:2,4,24
                                             imessage 5:18
 helpful 82:11           94:10,11,14,15                                19:6,8 20:1,4,8,9
                                             imminent 21:25
 heroin 91:7             95:1,11 96:1                                  20:17 21:20 22:25
                                             implications 142:6
 herring 1:13 4:20       97:21 100:1,23                                23:3,5 26:23
                                             important 9:2
 hesitation 21:24        104:25                                        27:15,25 28:15,18
                                                121:5
 hey 111:15 124:8      huh 50:23                                       28:19 29:4 33:7,8
                                             improprieties
   146:23              human 55:3                                      33:18,23 34:1,2
                                                126:23
 hide 56:14            humiliate 152:11                                42:23 43:6 44:20
                                             inability 91:8
 hiding 21:13          hunt 108:8,13                                   44:25 48:21,25
                                             incident 92:13
 high 59:18,21,23      hunted 21:10                                    49:10,11,11,13
                                             include 9:19
   60:4,7,24 61:18     hunting 108:21,23                               50:1 52:3,13,14
                                             including 71:22
   98:8 140:11           108:25                                        53:15 58:15 59:1
                                                101:15

                                                                                Page 14
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 178 of 196

[information - june]

   59:13 60:10,24       inspectors 141:7       invited 34:11         joey 12:16 18:17
   62:4 63:15,16,20     instagram 111:21       involved 17:14          21:12 76:6,7,11,12
   64:7,8,9 65:2,11     installed 64:13          18:8 30:16 41:7       76:19 77:7,14
   65:16,19,20 66:9     instructing 8:19         68:5,11,15 73:14      79:23 80:2,9,10,18
   70:1 72:4 73:2         40:18                  77:24 92:13 119:7     81:17 82:1,1 83:4
   84:5 87:5,16 88:5    instruction 70:7         121:25 125:1,2        85:17
   88:9,14 90:7,16,19     70:12                  127:22 129:7,19     john 81:4
   92:5 93:2,13         instructions 9:19        131:25 135:7        jojo 80:2,8
   95:16,18 106:22      intentional 103:19       139:17 140:16       jonathan 3:16
   109:12 110:25          103:22                 144:23 149:20,25    joseph 1:10,16 3:6
   111:2,3,5,10,11      interconnect           involvement 59:24       3:11 5:3 6:3 7:2,8
   112:4,9 114:2,13       144:14                 59:25 60:1 91:6       158:1,11 160:2,24
   114:15,19 115:16     interest 32:16,19      ios 5:18                161:4
   116:5 117:5,6,9,10     35:14 50:5 51:12     iot 144:5             jot 148:24
   119:20,24 121:3,4    interested 84:12       ip 49:5               journalist 14:20
   121:5,15,17 122:6      159:15               ips 49:5                19:9,10 41:13
   124:5 125:20         interesting 60:9       irrational 90:8         51:3,8 53:24 54:5
   126:4,18 127:7,9       60:10                irregularities          54:15 55:12,13,17
   127:11 131:20        interference 145:7       132:14                59:3 66:20 146:25
   132:2,16,20 133:2      145:9                issue 8:12 35:25      journalistic 59:12
   137:11 141:16        internet 57:11           104:10 122:3,4      journalists 32:15
   144:22 145:5,6         142:7 144:5,7,8,17     133:11                34:1 40:1,2,2 50:8
   146:22 147:13          144:18               issued 7:10             50:15 51:10,14,16
   149:23 150:1,11      interrupt 153:10       issues 81:17            51:18 52:11 55:11
   150:17,19,22         interrupting 26:16       141:21 154:5          58:14,24 66:16
   151:1 152:6,10         38:14 70:7                     j             146:18,24,25
   153:23 155:1,7       interview 122:1                                147:2,7
                                               j 1:9 2:2,13 3:12
 informed 106:14        interviews 99:16                             judge 7:11 10:17
                                                 3:12 160:1 161:3
 ingrid 3:12,12 6:8       99:18                                        38:4,8,10,21,22,24
                                               jackson 2:15
   6:25 134:21          intimidate 129:16                              38:24 39:7,7,11
                                               jacksonkelly.com
 initial 30:8             147:20                                       40:6,6,7,10,20,20
                                                 2:17,17
 initially 25:8 30:3    invalidate 144:25                              40:24 41:3,3,7
                                               jail 154:1 155:2,6
 initials 20:20         invalidated 138:19                             42:6 104:2
                                               james 1:11 3:15,20
   23:17 26:18 42:14    invest 113:22                                july 30:5,22 48:15
                                               january 133:2
 input 132:16           investigation 17:6                           jump 106:11
                                                 145:3
 ins 32:23                111:14 113:23                              junction 101:16
                                               jeremy 4:21
 inside 12:20 29:2      investigations                                 103:4
                                               jgray 4:24
   29:12 32:14 59:2       65:17                                      june 38:5 60:12,14
                                               job 158:25 160:2
   59:12 61:14          investigator 92:18                             125:9,9
                                               joe 104:16 114:24
   126:24,25 136:8        95:17
                                                 146:3
   137:18,18 143:25

                                                                                 Page 15
                                  Veritext Legal Solutions
                                       800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 179 of 196

[keep - line]

           k           37:15,18,20,23       known 11:15           learned 16:3 47:14
 keep 10:10 26:12      38:13,22 40:12         19:12,14 21:11         47:16,19,22,24
   26:15 30:2 33:7     42:19,21 43:1,4,10     26:20 27:14 83:12      54:25 55:3,7,15,16
   33:20 40:14,23      43:11,12,17,22,23      129:12                 125:21 152:19
   72:19 113:1 124:9   44:13,17 45:13,24    knows 18:19 20:19     leave 135:18
   124:12 138:18       46:6,21 47:13          23:17 43:4          leaving 30:11
 keeping 123:12        48:7,12 50:5,20,23   kornfeld 2:10         led 52:13 127:11
   124:14 130:17       50:25 51:1 54:20     kyle 50:25,25 67:1    left 63:8 75:12
 kelly 2:15            57:4,24 58:2,3         67:6                   124:6 130:2
 kept 29:12 33:6       62:11,13,16 63:24              l           leftist 41:14
 key 74:20             64:18,25 67:2,11                              129:19
                                            lack 86:20 91:1
 kids 47:22,25 98:7    69:6 72:18 74:3                            leftists 41:15
                                            lacked 103:21
   147:17,18           76:13 78:7,13,20                           legal 36:17 71:3
                                            lacking 96:22
 kill 21:7 97:19       80:10 82:17,19                                86:9 161:19
                                            lags 132:11
   142:17              83:15,23 89:18                             legality 70:25
                                            largest 141:13
 killing 83:14         91:22 92:7,12,15                           legally 70:23
                                            lasalle 4:12
 kimrey 4:11 13:1      93:1 96:7,18,19,20                            85:22 86:9
                                            late 46:20 71:23
   13:2,5,14 118:1,6   97:7 98:9,20                               lend 151:19 152:5
                                            lathrop 4:17
   120:9,13,13         99:11 102:14                               length 135:21
                                            lathropgpm.com
   136:13,14 155:21    105:14 107:24                              level 54:10,13,14
                                              4:19
   155:25 156:3        109:17 110:6                                  59:6 60:5,7
                                            laurel 5:6 84:16
 kind 63:8 100:9       112:23 114:1,6,10                          liberals 41:18
                                              142:17 159:4,19
   105:22 110:14       115:3,22 123:14                            lie 22:11 104:1
                                            law 3:3,8,12,17,21
   125:18 128:1        124:16 125:15                              lied 36:25
                                            law.com 2:21
 kits 142:4            126:7,8,8,9,14                             lieu 6:16
                                            lawsuit 40:19
 kloewer 2:3           128:21 129:6                               life 21:14 91:17
                                              119:6
 knew 24:13 32:10      130:8 131:22,23                            light 126:22
                                            lawsuits 119:1
   59:2 68:12 75:24    133:13,17 134:17                           lightening 106:12
                                            lawyer 20:23
   117:9 119:9,10      135:1,3,6,9,12,13                          lightly 115:22
                                              73:10 84:12 151:3
   147:4,4             135:16,17,17                               likelihood 59:18
                                              151:3 155:5
 knock 130:21,21       138:4 140:9                                   59:23 60:24
                                            lawyers 73:7
 know 14:23 15:16      141:14,17 142:2                               126:16 132:10
                                              83:22 105:24
   16:6,8,18 17:15,23  142:11,13 147:5                            likes 24:10
                                              106:14 133:10
   18:23 19:21 21:22   149:24 152:3,15                            limelight 24:11
                                              134:1 135:21
   23:6,7,8,9,10,18    155:21 156:4,5,19                          limitation 29:15
                                            lead 34:24 65:19
   23:21,22 24:1,14   knowing   65:10                                29:25
                                              127:8,10 151:18
   24:18 25:4,6,13     150:4                                      limited 69:19 96:7
                                              154:1
   26:2,8,18,18 27:7 knowledge 41:4         leaders 131:5
                                                                     103:16 105:21
   27:10,11,13,17,20   75:21 92:16                                line 10:2 13:15
                                            leads 144:21
   27:21,22,24 31:6    151:18                                        36:11 83:12
                                            learn 47:12,15
   32:6,9 33:13 35:2                                                 150:20 160:4,7,10
                                              48:4 53:17

                                                                              Page 16
                               Veritext Legal Solutions
                                    800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 180 of 196

[line - members]

    160:13,16,19          20:21 59:11 63:21   manifesto 11:25      51:7 53:20 58:2
 liner 95:24              74:6 79:10 108:17    39:15 60:1 125:8    62:16 68:4,5 73:1
 lines 86:6               111:25 112:5        manipulated          73:2,5 77:11 88:8
 list 50:1 60:2           113:5 119:11         137:18,18           88:20 91:10,21,22
 listed 77:3              125:17 138:14       manner 6:20          96:19 101:1,18
 listen 126:2             144:18 149:14       manufactured         106:2 107:12
 listened 35:2          looks 107:14           98:12               108:16 115:3,20
    126:10 151:8          137:24              march 125:3          124:18 131:22
 listening 35:14        looting 124:20        marched 38:5         134:25
 litany 121:13          los 4:23               41:3               meaning 76:24,24
 literally 39:14        loss 106:16           marching 39:18       148:25
 litigation 118:23      lost 61:16             39:18              means 104:13
 little 31:4 35:13      lot 16:7,9 55:3       margaret 4:6        mechanic 19:16
    72:23 78:25,25        60:22 61:21 73:12    156:23             media 1:11,14 3:7
    82:4 106:11 108:1     76:22 94:18         mark 14:14 17:17     3:11 12:1 39:16
    108:11 117:17         105:22 121:11        77:15 80:3          50:12 57:10 80:3
    122:17 146:11         124:25 131:10       marked 81:19         89:13 102:2
 live 25:3 94:17,18       136:18 152:23        96:24 137:22        111:21
 lived 43:1             lots 68:16 93:12      marks 77:16         meet 34:19 35:20
 lives 39:19 94:16      louis 3:18            married 47:23        46:18
 living 37:18,21        loveland 3:9           48:4               meeting 25:9
 llc 1:11 3:8,16,20     loves 24:9            marxism 130:3        30:10,22 32:3,20
 llp 4:17,22            lying 98:3 153:21     marxist 60:1         33:2 36:6 46:14
 located 8:21 108:8       153:22              masks 128:9          47:2 70:23 120:16
 locations 21:13                 m            massive 59:24,25     146:20 147:2
 log 65:6                                      59:25              meetings 32:23,25
                        m 2:9 3:7 131:13
 logged 15:21                                 material 74:17       45:9,25 46:1,6,9
                        ma'am 73:20
 logs 33:14                                    82:15 83:1          46:12 68:7
                        machine 126:24
 long 62:21 78:20                             math 144:18         member 14:20
                          137:13
    78:23                                      145:13              16:5 17:22 19:24
                        madness 1:10 3:7
 longer 104:15                                mathematical         20:6 21:11 25:12
                          3:11 143:18
 look 7:23 33:17,22                            144:19              25:16 38:19 39:1
                        mail 97:20
    56:15 74:17                               matter 6:18 8:5      39:8,19 41:2 78:2
                        making 104:6
    107:14 112:23                              21:2 39:19 78:9     126:6
                          130:22 138:24
    113:5 115:20                               89:3 97:5 136:15   members 21:7
                          152:8
    125:15 145:2                              mboehmer 4:9         32:14 33:14 43:11
                        male 37:12 42:13
    152:19                                    mcbride 109:14       43:19 47:16 50:12
                          45:20,21
 looked 63:9,25                                109:17              59:4 61:2 65:16
                        malkin 1:12 4:2
    112:2,22 132:7                            mcrae 4:22           65:18 66:13 70:18
                        man 18:6
 looking 7:23 13:20                           mean 15:12 24:5      83:12,13 84:20
                        managed 144:4
    14:12 19:12,14,18                          38:10 49:2,16       129:9 130:14

                                                                             Page 17
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 181 of 196

[memberships - nonresponsive]

memberships           157:11                 movement 19:1         nationwide 83:13
 25:22               misdirection             24:2 40:3 58:16      nature 90:8
mental 153:2          150:12                  59:24 77:21 125:6    navy 61:14
mention 131:10       misinterpreted           127:22 129:22        necessarily 58:18
mentioned 46:12       153:7                   149:25 150:3           132:25
 51:17 66:25 91:2    missing 124:6            152:2                need 21:21 36:11
 91:19 92:1 113:21   missouri 3:18           moving 73:12            77:8 85:24 88:17
mentor 46:22         misunderstand            121:11 136:23          95:8 105:22 124:9
mesa 139:19           149:2                  msp 144:4               142:11 156:6,25
 145:11              mms 5:18                muffled 66:5            156:25 157:4
messages 96:4        mobich 50:22,23         multiple 35:5         needs 16:25
 113:16               67:1                    45:14 91:8 137:16      116:25
messaging 141:11     modem 126:25             148:18 153:21        neither 134:21
met 30:19 34:14      modum 126:24             155:9                network 1:13 4:10
 35:25 47:6,7 48:9   moment 25:18            murderers 129:14        4:16,20
 48:15 76:12          128:12 138:2                    n            networks 1:13
metal 97:17           148:16,17,17,17                                4:20
                                             n 6:1
metaxas 1:12 4:6      148:18 154:15                                never 17:12 27:12
                                             nail 74:18
 156:24              monday 98:1                                     37:8 48:9 64:23
                                             name 6:21 7:7
metro 43:3           monitor 69:9                                    76:12 87:25 100:2
                                              11:14 12:12,15
mexico 108:22,23     month 150:14                                    100:6,6 101:23
                                              14:22 15:2,3,10,12
mic 154:17           months 18:7 21:14                               108:15 139:25
                                              15:14,20 17:17,25
michelle 1:12 4:2     25:2,2 28:4 49:1                               143:24 146:12
                                              18:7,18,24,25 19:6
mid 71:14,22          61:22 88:7 120:24                            new 21:16 64:6
                                              22:16,17,18,19,20
middle 24:11          141:18                                         108:22,23 129:23
                                              22:22,24 23:8,10
 63:18 74:3 83:10    moses 7:11 10:17                                130:14 133:8
                                              23:18,20,20,21,22
 89:3 91:21 102:19   motivated 58:22                                 136:15
                                              23:24,25 24:3,4,6
 121:17 122:11,17     88:1                                         news 1:13 4:10,16
                                              24:8 26:3,19 27:8
 123:3,15            motivation 115:17                               4:20
                                              27:10,11,13,16,23
millions 141:12       115:19                                       newsmax 1:14
                                              45:17 50:21 57:1
mind 41:2,13         motives 127:4                                 ni 18:18,20,23,25
                                              57:3,11 60:13
 143:21              mounting 102:15                                 19:13,15,21 20:1
                                              68:15 86:11,12
mindset 58:25        mouth 124:10                                    20:14 75:23
                                              95:1,4,5,6 100:14
mine 104:5           mouths 124:11                                 night 7:15 81:25
                                              110:13 147:4,4
minute 52:7 56:9     move 8:18,22,24                               nine 61:22 141:18
                                             names 24:2,2,8
 57:24 67:11 81:10    16:2 21:13 35:23                             noise 16:20,22
                                              52:15,16 53:2,3,4
 90:23                40:9 103:12                                    154:16
                                              56:20,20,20 76:4
minutes 29:1,2        104:23 105:11                                nominee 141:25
                                              109:14 110:13
 46:20 62:23 76:20    143:5 144:14                                 nonresponsive
                                             nation 121:14,22
 78:24,25 89:6        145:18                                         22:2 26:6 121:23
                                              141:14 150:6
 106:11 143:10

                                                                              Page 18
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 182 of 196

[nope - opinion]

 nope 103:1 143:4      numbers 14:8          occurred 48:12           98:23 99:15,24
 normal 149:19         numerous 107:22         57:8 58:6,25           100:3 103:6 105:8
 north 4:12              110:24 126:21         71:25 72:9,25          107:23 108:11,16
 notarize 161:11                o              73:25 75:16 84:2       108:24 109:1,7,23
 notary 5:7 158:18                           october 146:18,19        110:2,16 111:1,13
                       o 6:1 144:9
  159:5,21                                   office 3:8,12 8:3,3      111:17 114:5
                       oann 13:7
 notated 33:18                                 8:7,15 13:8 34:11      117:11,17 118:10
                       oath 6:16 85:8
 note 13:5 63:9                                69:6 75:11             118:16,25 119:5
                         101:12 158:4
  77:8,14 79:13                              officers 139:9           119:10 122:14
                       object 10:1 18:10
  80:1,2 120:9                               offices 3:21             123:1 125:19
                         26:4 105:16 153:8
  161:9                                      offline 144:15           126:3 131:18
                       objecting 70:8
 noted 139:10                                  145:6                  136:9 138:10
                       objection 8:17
 notes 5:15 11:15                            oh 14:9 15:6 38:2        139:11,23 140:23
                         22:2 23:11 26:6
  11:16 12:14,15,20                            50:7,23 78:12          141:2 143:5,23
                         27:1 28:14 34:13
  12:23 13:19,21                               95:7 102:9 105:16      147:23 156:13
                         34:16 35:22 37:19
  14:1,3,8 15:1 16:9                           116:24 127:1         old 36:13 37:13
                         38:25 39:10,21
  16:11,12,16 17:2,3                         okay 11:18 13:14         72:22
                         40:9 62:15 69:12
  17:4,5,10 52:2,7                             13:20,25 15:6,14     oltmann 1:10,16
                         69:22,23 70:10,20
  52:10 56:1,3,4                               15:24 16:6,15          3:6,11 5:3,14,15
                         71:4 74:1 82:20
  61:14,15 66:7,22                             17:5,10 19:5,25        6:3,9 7:2,8,9,21
                         82:23 83:18 84:6
  71:17 74:9,13,13                             29:14 33:12 34:5       9:2,17 10:12,16
                         89:20 92:22,25
  74:16 76:4 77:4                              35:9,20 37:7 38:3      13:17 20:21 28:23
                         95:2 116:12
  79:1,8 81:18                                 39:5 44:22 45:5        30:21 35:2 46:16
                         117:14 121:23
  122:9,9 124:4                                45:11,24 46:5,8,24     63:7 80:20 81:16
                         136:4 140:21,25
 notice 5:1                                    47:21 48:18 50:15      89:15 104:17
                         142:25 154:5,7,13
 notoriety 24:9                                50:19 51:9,16          106:10 113:15
                       objections 6:20
 november 94:10                                52:5,19,23 53:17       114:24 118:8
                         10:9 36:17,17
  95:11 108:14,17                              54:6,10,16 59:20       136:19 143:19
                         154:2
  109:23,25 110:8                              60:2 61:16 62:6        148:10 153:4
                       observations 56:4
  110:10 117:23                                64:11 65:12 66:4       155:13 158:1,11
                       observed 63:10
  118:11,14                                    66:8 67:5,19 68:4      160:2,24 161:4
                       obtaining 121:25
 nuclear 149:7,12                              68:9,13,18 69:7      olympia 21:9
                       obvious 22:10
  149:20 152:15                                70:10,17 71:7,8      once 106:20
                       obviously 7:22
 number 28:1 31:6                              72:24 74:23 75:8       139:25 140:1
                         56:9 68:21 72:9
  31:16 49:9 63:11                             75:11 76:14,24       online 103:3
                         98:24 106:2
  63:13,18 64:16,17                            77:22 78:12 79:12      144:15
                         110:14 123:6
  64:22 65:2,6                                 79:16,25 80:7        open 135:18
                         133:23 143:15
  89:13 93:24,25                               81:14 84:14 89:5     openly 41:14
                       occasion 153:1
  95:25 113:22                                 89:15 90:23 92:7     opinion 35:14 51:7
                         154:25
  122:25 139:6,7,8                             93:23 94:15,20         66:23
                       occur 48:21 71:12
                                               97:10,13 98:13,16
                         71:13

                                                                               Page 19
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 183 of 196

[opinions - percent]

 opinions 127:12        overall 119:24        pardon 23:2           partner 48:7
 opposed 132:11         overseas 142:5        park 47:8,14          parts 73:13 119:21
 opposite 55:14         owned 147:14          parker 3:22             121:11 137:13
 order 7:10 10:17       owning 126:18         parkway 4:3           party 141:13
   10:20 12:2 38:1        135:11              parley 5:16           passive 135:5
   43:7 44:5 56:21                p           parlor 96:25 98:22    patentholder
   56:21 59:13 64:16                           98:24 99:1,3,4,4,5     126:19
                        p 6:1
   65:6 74:7 79:8,9                            99:6,21 100:8        path 46:23 48:2
                        p.c. 1:9
   87:1,3,3,7,17 90:5                          101:5,6,7 103:24       59:14 133:5
                        p.m. 81:13,13
   90:22 91:15 93:2                            106:14,16,21,22      patterson 4:3
                          89:10,11,11 106:7
   95:21 109:11                                106:24 107:3,5,8     pc 2:10 3:2,21 4:3
                          106:7 113:11,11
   110:11 116:14,19                            107:14,15            pcu 143:17
                          157:10
   117:3,5 144:1,24                           part 7:13 25:19       pedophiles 41:17
                        p.o. 2:5 3:8,13,17
   145:6 147:20                                30:11,14 32:12         41:19
                        page 5:10,13 14:5
   153:8 154:6,11,13                           38:23 39:5,9,24      penalty 6:18
                          14:6,8,8,9 61:15
   156:9,9,11,14                               40:8 41:20 45:25     people 17:3,8
                          76:5 79:3,5,12,16
 ordered 11:20                                 47:17 60:9,11          19:12,14 21:8,24
                          79:18,19,22,23,24
   86:14 87:16 90:13                           61:8,10 75:7,8,10      24:13 31:13 32:13
                          80:19 91:3 104:16
 ordering 156:21                               76:10 78:13 85:7       43:11,11 44:8
                          104:17 109:24
 orders 155:19,20                              102:14 107:2           45:15 47:7 50:9
                          110:4,19 115:9
   155:22                                      120:6 122:16           52:1,20 55:14
                          119:14 122:11,18
 organization                                  125:5 127:9 129:2      58:3,4,11,13,19
                          122:18,22,24
   17:14 30:12 39:3                            129:22,24 130:4        59:2,5,12,14 65:15
                          125:8 134:11
   129:8,10,11,18,20                           137:5,19 138:13        65:17 68:11,14
                          150:19 160:4,7,10
   130:2,6 149:21                              138:22 149:5           75:3 93:12 94:6
                          160:13,16,19
 organizations                                 150:3 152:2            94:18 97:20,21
                        pages 14:1 15:4
   121:18                                     participant 55:22       100:23 110:24
                          84:21,23 85:15,20
 organize 105:22                              participants 15:21      111:7 112:1,2,3
                          86:8 89:17 90:4
 organized 39:3,4                             participating 6:12      113:22,25 123:14
                          112:17,21 114:7
   51:24 78:4                                  55:6                   123:16 129:14,15
                          114:20,23 158:5
 organizing 77:25                             participation           130:22 132:8
                          161:12
 original 108:6                                18:20 138:12           138:20 141:12
                        paid 61:21
   149:6                                      particular 21:25        142:2,5 147:10,12
                        panels 142:2
 outside 7:24 9:18                             34:4 46:14 49:6        147:14,17,20,21
                        papers 33:7
   10:22 125:1                                 50:4,16 53:11,16       148:18 152:16,21
                        paragraph 83:11
   132:23 134:25                               56:17 70:14 74:24      152:21
                          88:2 131:13
   136:24 153:7                                84:5 125:13          people's 30:18
                        paragraphs 124:6
   154:6                                       138:13                 73:16 124:10
                        paranoid 46:18
 outstanding                                  parties 6:18 9:18     perceive 7:24 8:12
                          47:3
   137:14                                      81:25 159:14         percent 54:19,22
                        paraphrasing
                                                                      55:8,21 57:22
                          152:18

                                                                                Page 20
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 184 of 196

[percent - powell]

   60:25 66:21 140:4    peter 4:21            planning 51:23        possible 56:22
   140:15               pets 147:14,14        plates 97:18           59:1 100:20
 perception 54:25       ph.d. 1:6 160:1       platform 144:10        104:24 121:2,15
 perfect 118:16           161:3               platforms 56:19        138:17
 perform 141:10         phone 2:6,11,16         57:10               possibly 73:12
 period 23:6 33:3         2:21 3:5,9,14,18    play 29:23            post 5:19 96:25
   43:2 48:12 49:4        3:23 4:4,8,13,18    playing 23:12          97:12 98:11,14,18
   63:22                  4:23 28:1 31:6,16   please 6:5,11,20       98:21 99:4,14,21
 perjury 6:18             37:5 63:10,13,17      7:7 16:21 25:19      100:6 101:10
 person 6:17 7:21         64:1,3,5,6,10,13      30:24 70:7 103:12    104:12 106:14,20
   10:3 11:14,14          64:22,23 65:6,24      105:18 143:2         107:11,12,13,16
   12:4,5,10 16:3         83:11 93:24,25        148:18 157:4         107:20,24 109:4
   17:21 19:2,16          95:24 96:11         pllc 2:4,15,19         110:20 125:13
   20:5 23:6,7,9 25:3     112:19 116:1        plotted 132:13         152:12
   25:7 30:9 31:23        138:1,5             pm.me 3:19            posted 21:16
   34:4 35:25 42:12     phonetic 50:22        point 19:21 39:2       39:15 80:18 81:24
   42:16 44:1,3,4       photos 102:16           43:15,15 44:15       99:5,9,11,17,24
   45:14,16,17,25       physical 37:10          47:9 50:7 53:6       100:11 101:9
   46:2,3,21 47:5         115:1                 62:10 65:3 68:13     103:23 104:24
   49:18 53:7,11,14     physically 6:13         69:7 70:25 76:12     106:19,23 107:8
   53:15 54:20 55:12      8:20 9:24 10:7        77:13 78:14 80:10    107:10 125:7
   55:16 58:8 59:15     physicist 152:16        87:2 88:17 107:9    posting 39:14
   65:21 68:13 75:5     pick 36:11 63:8         110:4 118:2          80:20 82:1,7
   86:7 87:1,13 88:5      65:24                 124:18 132:12        83:10,11
   88:9,14 90:3,6       picked 96:2             149:8 150:15        posts 39:13 87:24
   91:3 94:22 95:15     picture 64:4,5        police 39:14 139:9     98:12,21 99:7
   98:2,3 109:7,9,16      99:22,24 100:4,24   political 55:15        101:7 102:3 104:4
   112:20 115:8,23        104:24                59:6                 104:5 126:16
   116:4 117:12         pictures 63:25        politically 58:22      139:5 149:23
   118:18 127:17          111:25                88:1                 153:23 155:3
   146:6,13 149:14      pinpointing 58:13     popped 52:16,17       potential 77:12
   149:19 152:14        piqued 32:16,18       posed 88:23           potentially 118:22
 person's 26:2          pissed 98:6             143:19               143:14
 personal 97:19         place 87:17 159:10    position 87:8,10      powder 97:20
   151:17               places 139:18           87:11 116:21        powell 1:9,9 3:2,2
 personally 71:9          147:12                139:7,22 141:11      85:3 118:20,22
   93:6 153:1           plaintiff 1:7 2:2,9   positions 147:19       119:1,6 120:10,11
 persons 12:10            5:4 6:7             positively 52:25       121:8,25 122:11
 pertained 18:1         plaintiff's 12:22     possession 96:10       122:24 140:14
 pertaining 16:17         52:9 80:17 117:21     96:21                150:11,17,22
                          120:10                                     151:5,10,12

                                                                               Page 21
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 185 of 196

[powell's - queenan]

 powell's 133:10       private 92:18         prohibit 10:20        public 5:7 102:5
   134:1 135:21          95:17 104:6,7,12      87:4                 128:2 136:6
 prentice 2:20         privilege 8:12        project 21:15          158:18 159:5,21
 prepared 10:25          83:20 84:8          promptly 74:22        publicly 91:11
   11:3 90:9 102:18    privileged 28:15      pronoun 54:20          112:1 113:25
   136:2 145:18          28:19               propriety 154:6        152:10
 present 6:14 10:7     pro 39:13             protect 12:2 34:22    pull 20:10,16
 presented 11:25       proactive 146:12      protected 87:1,2,8     113:16 114:6
   26:5 27:4,6         probability 61:6        90:6,11,12 116:14   pulled 119:22
 presents 91:3           132:7 144:17        protection 12:2       punch 142:10
 preserve 102:6        probable 132:15         87:1,3,3 109:11     pundit 1:12 3:16
 preserved 82:15         144:20 145:7        protective 10:17       3:20
   102:8               probably 26:23          10:19 87:7 90:5     punish 44:4
 preserving 104:7        30:17 31:13 39:24     116:18 117:2,5      punished 44:5,9
 president 1:9 2:13      40:3 46:17 54:18    protest 21:10 38:5    purports 82:1
   138:24 139:2          61:14 76:20 80:16     39:19 41:5          purpose 34:21
   160:1 161:3           84:15 106:11        protests 68:8          56:13 66:15
 pressure 124:9,13       112:22 115:5,19       77:25                118:13 146:15
   124:15 130:17         123:20 124:22       prove 141:24          purposely 104:1
 pretty 34:9,10          137:20 142:17       provide 7:14          pursuant 5:1
   39:3 47:6 48:16       145:2                 11:21,22 33:12      push 87:25
   55:2 59:18 74:19    problem 26:10           44:24 48:19 49:13   put 7:15 35:12
   115:20 152:3,3        58:12 86:25           63:12 64:4,5,8,16    39:14 44:1,3
 previous 32:12          153:21                65:2 71:24 84:21     49:25 51:13 65:21
   42:20 69:3,4 91:7   procedure 5:2           87:16 115:16         66:10 77:4 90:5
   99:7 112:19         proceedings 10:22       116:5 117:6,11       98:11,14 99:22
   132:10 159:6          22:11                 132:23               100:14 119:18,25
 previously 96:25      process 47:14         provided 11:10,11      134:13 142:12
   101:7 111:5,11,22     48:12 113:4           13:2 44:15 63:25     152:10,12 155:4
   116:19 117:22         126:19,20 133:4       69:25 85:2,3 92:5    156:10
   129:2 137:21          135:11 144:23         95:15 117:22        puts 126:5
 price 4:12            proclaimed              127:8 133:2 136:5   putting 21:14
 prick 35:17             129:21 130:4          150:10 151:1         39:13 52:3
 primary 76:15         produce 156:1         provider 144:5                 q
 printed 7:15          produced 28:12        providing 26:19
                                                                   qualifications 42:6
 prior 72:10,10,14       81:24 93:22 132:2     27:8 28:18
                                                                   qualifies 38:22
   108:9 110:4,8       professional 5:6      proxy 58:16
                                                                   qualify 18:3 40:3
   119:17 120:17         159:5,20            prpclegal.com 4:5
                                                                    40:7,8
   147:3 148:11        progressed 62:5       pscott 4:24
                                                                   quality 141:6
   153:5 154:3         progression 30:21     psl 77:20
                                                                   queenan 4:2
                         30:24

                                                                              Page 22
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 186 of 196

[question - record]

 question 9:5,7,14     questioning 10:2      ran 73:13 141:14       real 112:23
  11:2 12:6,7,10,10      40:10               randy 3:21,21          really 59:3 76:13
  14:14 15:9 17:17     questions 7:25          151:2                  94:18 98:6 127:6
  18:16,16 22:6,13       8:10,11,14,20 9:4   range 54:19 71:11      realtime 5:7
  23:13,15,19 24:17      9:20 10:5 17:7      rapists 129:14           159:20
  24:17,18,21 26:7,9     22:5 26:16 35:15    rat 76:22,24 77:4      reason 8:13 9:4
  26:11,12,12,17         35:16,17,18,19      rbc 3:23                 35:7 107:15
  27:2,4,6,7,16          36:16,18 38:1       rd 18:19 20:19,19        115:24 116:8
  28:16 29:16 34:17      44:16 46:20 48:23     20:23 22:3,7,12,18     133:22 150:12
  34:19 35:11,12,23      70:7 73:11 88:24      22:21 23:6,7,9,17      160:6,9,12,15,18
  37:22,24 39:2,6        94:21,24 102:12       23:20,22 24:22         160:21
  40:18 42:20 43:9       102:17,20 103:15      26:2,5,20 27:5,14    reasonable 156:5
  43:17 47:1 51:6        103:25 104:1          27:16 28:11,13,23    recall 14:25 31:12
  54:7 55:23 57:13       119:11 121:9          29:17 30:4 31:22       34:9 53:9 76:2,3
  57:14,15,16,17,21      135:21 143:19         33:12,18 34:19         78:24 107:19,19
  59:8 61:17,18          145:19 148:11,13      35:20 37:11 42:14      114:17
  68:22,24 69:13         148:22 153:11,14      42:15 44:17 46:12    receive 13:6
  70:2,11,19 71:16       155:11                50:3 51:12 63:12       112:13 134:20
  74:18 77:15,16       quibbling 103:6         64:16,22 65:8        received 80:14
  80:3 83:19,23        quick 85:24 88:25       66:10 67:19 69:1       83:1 109:24
  84:7,14,17 86:2,5      112:23                70:13 75:5 78:4        114:19
  86:6,13,15,17,19     quickly 142:16          78:12 79:14 86:7     recess 63:4 67:16
  87:20,22 88:23         156:1                 108:3                  81:13 89:11 106:7
  90:3 94:20 96:8      quit 23:12 38:14      reach 32:6 113:24        113:11
  96:17 100:22,25        70:7                  146:5,8              recht 2:10
  107:7,9 108:5        quite 155:6           reached 65:15,16       recklessness 91:17
  110:16 114:8,21      quote 79:1,2            93:13 94:17          reclaim 43:14
  116:2 118:1 123:5      148:23,24             110:24 113:21        recognize 82:3
  124:2 125:22,23                r             146:5,10,10,14       recognized 112:6
  125:25 126:1,1,2                           reaching 111:6         recollect 112:18
                       r 2:14 6:1 27:17,21
  128:23,24 130:10                             146:14               recollection 28:7
                         131:13 160:3,3
  131:24 132:17                              read 6:11 84:17          66:23 72:12,17
                       race 36:13
  136:24 140:9                                 108:18 153:15,17       106:19 150:23
                       racism 130:1
  141:19 142:19,20                             154:22 158:2         reconnect 138:20
                       racist 41:16,19
  142:21 143:12,20                             161:6,8              record 6:6,22 13:3
                       racists 41:17
  148:10,12,19,20                            readily 11:9             13:5,12 17:1
                       radical 41:14,15
  153:16,17 154:20                           reading 14:15            25:21 33:9,19
                       rallies 128:4,18
  154:21,22,23                                 150:15,19 156:18       49:20 62:22 63:1
                       rally 39:18 41:4
 questioned 78:8                               156:20                 63:3,6 64:21,24
                         125:4 126:5
  78:10,11                                   reagor 2:19              67:11,13,15,18
                         127:19 128:3,6,22
                                                                      81:9,11,15,23

                                                                               Page 23
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 187 of 196

[record - response]

   88:18 89:9,13         138:7               relationships           45:3,7 65:22 66:2
   99:7 101:25         reflect 17:10           147:11                67:9 73:18 81:3
   105:21 106:4,5,23   reflected 14:4        release 90:7            112:24 120:2,5,12
   113:8,8,10,12,15      15:25 16:15         relevance 37:19         120:14 128:12,15
   115:5 119:1           138:13                38:9,25 39:21         134:15 138:2
   120:10 134:13       reflecting 17:5         69:12 136:4           140:7 141:4 144:6
   136:10 155:17         136:3                 140:21 142:25         148:1,16 153:15
   156:7 157:7,11      refusing 12:6         relevant 8:6,8,18       154:15 155:19,24
 recorded 9:12           44:19 86:18           8:25 10:2 34:17       156:2,11,14,21
 recording 8:3 9:9     regard 39:10            35:24 38:11,14,18     157:1,6 159:5,20
   9:10,11,14            40:10                 40:11,19,20 64:9      159:20
 records 33:11         regarding 10:25         69:19 70:5 102:20   reporter's 159:1
   96:15 100:9           83:1 138:11,11        103:10,16 141:7     reporting 6:15,20
 recover 49:6 63:14      151:14                143:3               repost 99:13,15,21
   64:10,15 106:22     registered 5:6        reluctant 116:6       reposted 99:18
   107:16 133:6          159:4,20            remember 31:12          100:24
 recreate 74:6         regular 31:20           45:19 72:25 76:21   represent 6:6
 recruit 130:14        reinvent 85:13          78:1 98:13 100:12   republic 2:18 85:3
 recruiting 122:13     relate 83:5 84:7        100:13,19 118:18    request 63:22 64:7
   123:4,10,23 124:1   related 19:8 49:1       123:9 131:16          83:7 156:4
   130:12,13,20          49:11,24 51:20        151:21              requirement 65:7
 recruitment             52:4 53:15 62:13    remote 34:22          reread 154:21
   130:19,22             67:7 69:2 72:4      remotely 5:4 6:15     research 17:8
 redeeming 152:23        73:16 88:9 92:17    removed 63:19           49:18,20 53:25
 reduced 135:25          98:12 102:12        removes 64:19           54:1,2,7,8 58:14
   137:7 159:11          124:16 125:3        repeat 11:2 16:24       60:23 68:17 73:12
 rees 4:7                126:18 129:7          25:19 69:13 84:14     111:9,16,20,20
 refer 85:14 119:15      130:18 131:20         85:12 110:16          112:6 124:25
 reference 80:4,5        137:11,13 138:24      116:2 148:20          129:18 131:8
 referenced 81:18        138:25 141:11         154:20                148:25 149:6,24
   137:8 161:5           144:22 145:3        repeated 16:21          151:14,18,25
 referred 38:16          149:23 150:1        repeating 84:12         153:25
   39:8 80:8,9 108:8     152:20 159:13       rephrase 9:5          researching 65:17
   124:4               relates 12:13 86:2    replaced 63:17        respect 15:22 34:5
 referring 16:11         124:3 133:2           64:6 96:11            60:3,5 61:16
   17:18 40:14,24        144:13 154:10       replied 64:6          respond 31:9 32:1
   52:9 56:3 61:7      relating 70:18        report 136:1,3          90:2
   64:2 68:10 76:25      74:14 152:24          147:14,17           responding 43:16
   80:1 82:19 92:4     relation 62:9,17      reporter 5:6,7        response 8:16
   118:3 122:14,22     relationship 47:4       6:10,12 16:19         43:13,18,20 44:21
   123:5 124:14          48:6                  18:13 25:17 28:2      57:13 148:12,22

                                                                              Page 24
                                Veritext Legal Solutions
                                     800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 188 of 196

[responses - see]

 responses 22:5          66:1,9,19,20,25     round 106:12          science 144:19
 responsible             68:1,18,22 71:16    royal 68:9            scope 103:16
   135:15                72:6,7 73:22 75:2   rudolph 1:10            153:8 154:5
 responsive 55:5         76:1,8,18 81:16     rules 5:2 161:14      scores 141:7
 rest 96:5,7,12          82:11 83:16 85:19   run 129:11 154:24     scott 4:21
   100:14                86:4 87:18,22       running 10:5          scotty 156:15
 restate 100:25          89:1,8 90:9,10,15     153:10 154:4,7      scoured 63:21
 restroom 85:25          90:17 92:11,20,21   rup 142:4             screen 7:19 80:15
   89:1,8 90:1           95:10,12 97:24      ryan 109:14             80:22,24 81:19
 result 7:10 12:2        104:22 107:4                  s             93:15,17,18,20
   29:6 66:19 77:9       108:1,22 109:3                              97:1
                                             s 5:6 6:1 159:4,19
   108:18 159:15         112:8,10,13 113:7                         screenshot 72:3,6
                                               160:3
 results 49:21           113:14 115:4,21                             84:23 99:25
                                             safeguarded 88:14
   139:18                118:11,16 119:12                          screenshots 85:15
                                             safest 121:20
 retribution 21:22       119:16 120:15,24                            85:16,20,21 86:8
                                             sake 116:25
   21:23 116:11          121:2,7 122:25                              86:10 108:7
                                             salida 2:5 91:24
 return 31:8             123:8,24 124:3,7                            109:24 112:10
                                               92:17 94:16,17
   161:12                124:12 125:14,19                            115:8
                                               95:10 100:1
 revalidated             128:1 129:3 130:9                         scroll 15:5,6
                                             sam 16:2 17:17,20
   149:22                130:11 133:9,11                           scytl 133:7,7
                                               18:4,7
 reveal 109:8,9          133:15 134:10                             sean 50:17,18
                                             sane 91:13
   116:10                135:20,22 138:22                          search 72:4
                                             saw 15:12 106:20
 review 16:9 96:15       140:18 151:10                               113:15
                                             saying 31:11 50:10
 reviewed 10:16          152:17                                    searching 20:13
                                               51:11 53:10 55:5
   128:7 134:24        rights 73:16                                seating 9:11
                                               62:8,10 89:3 91:3
 revolution 59:25      rigorous 142:1                              second 12:25
                                               99:17 100:13
   129:3               ringing 116:1                                 20:10 68:19 79:7
                                               101:25 123:9
 rhetoric 51:22          138:1                                       81:7 85:1 98:25
                                               124:8 130:13
   123:11              rion 1:12 4:10,15                             122:18,24
                                               134:7,17,19,20,21
 richard 27:19           4:20 13:7                                 section 98:10
                                             says 82:14 83:11
 rick 27:20            ripplinger 4:3                              secure 142:13
                                               95:25 120:19
 rigging 139:17        rklawpc.com 2:12                              144:1
                                               150:16 156:15
 right 9:24 12:18      road 3:22 35:24                             secured 142:7
                                             scared 26:21
   12:21 13:8,13,21    rock 25:11 32:21                            security 63:18
                                               46:18 47:3
   14:7,11 15:22       roger 27:20                                   97:20 135:10
                                             scenario 69:8
   16:8 20:18 26:1     rogers 2:9                                    140:20,24 141:20
                                               72:16
   33:16 34:24 39:14   role 150:4                                    141:21 142:24
                                             schedule 74:7,19
   46:11 48:11 49:25   ron 53:6                                      144:13
                                             scheduling 69:4
   50:2 51:5,25        room 6:14                                   see 15:20,24 20:10
                                             schematic 137:8
   52:21 56:1,16       rough 155:25                                  20:13,16 25:15,21
                                             school 37:16 78:2
   62:19 63:7 64:13      156:25                                      33:18 49:3 61:3

                                                                               Page 25
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 189 of 196

[see - somebody]

   64:20 73:3 80:14      71:15,21 72:3,7,14     134:8 145:12          61:24 67:9 87:14
   80:20,21,23,25        74:3,4 111:12        showed 25:9 32:3        95:23 101:12
   81:2,6,6,7 93:11      119:16 120:8,17        45:17,25 155:8        118:15 120:6
   93:15,19 94:12,13     120:18,20 127:25     showing 46:6            122:5,23 123:21
   95:21,21 96:9         149:8 159:17         shows 92:2 96:3         127:14 141:4,19
   97:1 104:15,19        161:2                shuffling 1:10 3:7    sisa 121:18
   105:2,3 106:22      sequoia 143:24           3:11 143:18         sit 34:22 54:10
   109:11 110:24       series 132:8,9         side 16:23 21:24        58:7 73:22 85:8
   111:7 112:2         seriously 105:19         34:24 35:3 64:8,8     96:18 102:21
   121:19 132:1        served 12:11             95:8                  103:14 114:5,18
   136:20 142:22       service 144:4          sidney 1:9,9 3:2,2      114:24 115:3
 seeing 13:18          services 144:4,11        85:3 118:20         site 155:4,5
 seek 87:3             session 41:23            133:10 134:1        sitted 9:10
 seen 71:11 82:7,12    set 29:12 30:1           150:17,22 151:2     sitting 34:12,15,19
   93:12 100:6           74:25 143:15           151:10,12             35:8,21 43:15
   106:21 127:5,15       159:10               sign 32:23 33:2,17    six 25:2 28:4
   127:17,21 128:5     settings 102:4           94:3 96:1 118:17    skarnulis 2:3,4,7
   133:21,24 134:3,7   setup 93:20              119:9 161:6,11      skinhead 129:22
   134:18              sexually 152:8         signal 28:9,10,13       130:6 149:25
 seerveld 2:19         share 13:10 80:15        28:23 29:1,6,12       152:2
 segue 52:5              81:19 93:16 95:24      31:3,4,23 63:9,12   skinheads 91:7
 self 130:4              97:11 100:14           64:12 65:1,6          129:24,25
 send 94:9,9,11,15     sharing 93:18 97:1       94:17 112:15,15     slandering 59:5
   95:19 96:8,17       sheer 121:21             112:17,21 114:6     slanted 55:13
   97:8,20 150:24      sheet 161:10             114:10,11,13,16     slow 141:5
 sense 50:3 149:17     sheets 32:24 33:3      signature 159:19      small 73:17,18,20
 sensor 107:1            33:17                signed 44:8 117:22      137:23 138:17,18
 sent 93:8 94:2,6,12   shit 100:13 101:1        118:10 119:4,20     smoking 61:1,2
   94:25 95:11,25      shitbag 100:15,16        161:17              sms 5:18
   96:13 97:7 98:24      107:21               significance 21:2     social 11:25 39:16
   110:20 112:17       shook 30:15,17,21        147:5 149:17          57:10 102:2
   114:15 134:1,13     shooting 124:20        significant 150:3       111:21 139:5
   134:18 150:17,22    shop 46:19             signing 156:18,20       149:23
   151:1               shorthand 159:10       silence 43:21         socialist 77:21
 sentence 96:3         shot 90:2                153:6               society 41:17
   122:15              show 45:9,11 46:1      similar 70:17         solutions 143:18
 separately 9:15         96:12,24 99:7        simple 144:23           161:19
 separation 112:3        104:20 107:12,13     single 58:8 94:23     somebody 15:10
 september 1:17          107:14 114:22        sir 8:9 22:22 23:24     39:23 64:19 80:8
   5:5 6:4 30:5,22       115:2 130:22           24:15 25:17 42:9      80:9 93:10 97:11
   32:4,5 48:15          131:14 132:13          43:22 44:6 55:18      99:13 109:6,7

                                                                               Page 26
                                 Veritext Legal Solutions
                                      800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 190 of 196

[somebody - sure]

   110:20 114:2          130:13 132:6        started 17:8 30:13    street 1:3 2:10,15
 somewhat 51:21          152:7                 33:1 52:3 75:12       4:7,12,17
 soon 156:2            speculate 44:23         108:17 111:6,9,16   strictly 59:1
 sorry 11:23 16:19       45:2,6 74:2 78:22     111:20,20,25        strike 62:12 110:6
   18:13 25:17,18        117:16                149:23              strong 130:3
   28:2 36:10 42:2     speculating 90:18     starting 102:15       student 152:15
   52:23 65:22 67:9      90:20                 105:9 150:19        stuff 91:11 99:23
   73:18 79:4,5        speculation 82:23     starts 14:11            100:10 102:19
   97:15 105:6         spend 131:10          state 1:1 5:8 6:6       107:3 117:20
   112:24 115:25       spent 76:18             7:7 124:18 158:3      119:22 124:5
   120:2 130:24          117:18 125:17         159:5                 132:6 149:15
   136:13 140:7          155:6               statement 29:10         152:24
   141:4,4 144:6       spoke 24:25 83:13       32:11 66:17 120:6   stupid 102:1
   148:16 150:11         120:12 134:15         136:17,20,25        subject 109:10,11
   154:15,19             152:3               statements 82:13        116:10 117:2
 sort 87:25 115:5      spoken 84:1             138:25              subjective 102:18
   121:10,20 156:4     spotlight 81:6        states 21:20          subpoena 49:10
 sounded 53:13         spread 56:18            144:12              subscribed 158:13
 sounds 20:18          springs 14:14         stating 6:21          subsequent 53:17
 south 3:22              19:17 50:17 53:12   stationary 132:12       56:15 74:16 155:7
 speak 53:8 86:21      st 3:18               stay 129:16           subsequently 16:3
   122:1 127:21        stabbing 21:10        staying 130:17          55:7
 speaker 126:5           124:20              steal 100:17          substance 89:18
   128:3               stack 142:12          stephen 4:16          suggest 10:4
 speaking 10:9         stall 113:4           stephen.dexter          151:22 153:13
   36:17 69:23         stamp 14:6,7,9          4:19                suggestion 136:22
   122:10 125:4        stand 20:20 22:13     steps 110:10          suite 2:10,15,20
   128:6 136:12          40:2 41:15 102:21   steve 2:3               3:4,22 4:3,7,17
   142:16 148:1          104:10 107:23,25    stick 30:15           sullivan 4:22
 speaks 152:4,4        standard 29:12        stipulated 87:6,11    summarize 66:8
 special 129:25          30:1                  90:12 116:15          151:16
 specific 69:20        standing 77:25        stipulation 87:9      summer 48:13
   71:12 74:7 125:22     101:4 154:13        stolen 135:4,19         128:8
   125:23 129:17       standpoint 130:21     stop 9:5 90:14,14     support 139:10
   135:22 150:23         139:16 142:9          105:17,18,18        supposed 142:15
 specifically 17:9     stands 22:14 27:17    storey 51:9           supposedly 101:8
   17:13 19:16 64:19     27:21,22,24         story 122:2           sure 9:6 21:1
   65:14 71:17 87:23     131:23              stout 2:10              39:23 45:1 46:19
   88:15 91:2 93:4     stare 103:15          strategy 135:10         49:23 53:14 55:8
   111:1 123:10,25     start 10:4 40:17      stream 5:17             58:10 63:24 67:12
   125:12 126:7          150:20                                      87:14 98:15,17

                                                                              Page 27
                                Veritext Legal Solutions
                                     800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 191 of 196

[sure - think]

   100:5 101:3 106:3      156:20,24           tell 19:5 20:11          96:21
   107:7 114:8,21       taken 5:4 13:22         33:13 42:12 57:16    texts 94:4
   130:22 136:9,10        101:20,23 149:5       59:15 78:4 96:12     tgp 1:11 3:16,20
   138:24 140:4           159:10                97:10 100:10         thank 60:2 89:6
   144:24               talk 9:1 13:15          109:19,21,22           118:6 120:14
 surprised 32:17          38:20 42:4,4,5,7      110:12,22,23           150:9 154:14
 surround 97:17           57:7 66:6 67:6        115:13 123:8           155:11 156:13
 surveil 93:9 94:7        96:15 108:1           155:22                 157:5
 surveillance 92:21       117:17 123:17,25    telling 32:17 44:18    thanks 130:6
   93:5,7                 131:13,24 142:4       56:16 96:23 98:4       143:11
 susan 129:23           talked 53:14 67:3     tendency 98:6          thehalllawoffice...
 suspect 105:23           67:7 96:22 108:2    terms 29:5 60:19         3:10
 suspected 53:7           108:4 123:23          64:12 77:2 106:18    theirs 84:13
 swear 6:11               125:10,12 133:9       109:3 119:10         themself 153:20
 swore 85:8 123:21        152:7                 121:10 124:1         theory 144:25
 sworn 7:3 85:4         talking 40:22           125:15 139:12          145:1
   107:18 136:17,19       53:11 77:1,18         151:18               thing 47:25 50:9
   136:25 158:5,13        81:17 93:4 110:2    terrorizing 124:19       58:23 72:2 83:9
   159:8                  117:19 122:10       testified 7:4 32:20      97:12 112:16
 system 126:25            123:2,14 124:3        47:13 69:25 95:25      114:1 121:10
   135:12 136:8           125:11 128:1          103:21 108:12        things 8:1 32:13
   137:11,17,19,24        130:11,17 136:18      135:20,21 137:3        46:21 50:9 51:14
   141:2,6,9,23           137:3 138:8           139:12,18 140:12       58:20 68:7 76:23
   142:12,14 143:25       141:15 142:2,3        150:16,21 151:13       85:14 91:9,12,14
   144:2,22 145:4,7,8     148:18 152:21       testify 10:25 11:3       97:22 102:20
   145:11                 153:14                56:5 69:10 135:1       104:7 121:12
 systems 100:17         tall 36:12              159:8                  123:22 124:17
   126:20 133:3,4       target 149:9          testimony 6:17           135:16 137:16
   135:10 138:16        targeted 21:7           7:10 9:23,24 27:5      144:1,5,8,15,17
   142:7,8 144:13       tay 77:15,18 78:13      28:6 29:7 55:24        150:1 151:16
   147:11 150:6         tblf 3:19               71:22 72:10 73:23      152:1,9,13,18,20
           t            team 82:15 83:2         84:13 85:4,7,9,16      156:6
                          84:20 104:13          107:18 108:9         think 13:9 14:21
 t 144:9 160:3,3
                        tech 64:12 106:25       115:8 117:7 129:5      21:3 26:23 30:19
 take 33:10 41:6
                          137:5                 133:10 140:3           31:3,4,6 32:4,10
   48:2 51:19 58:12
                        technical 81:17         148:11 150:13          33:1 38:13 39:22
   62:20,24 66:7
                          139:16                158:3,5 161:8          40:5 46:2,3,22
   76:7 85:24 86:2
                        technology 29:15      tests 142:1              47:10 48:24 49:22
   88:17 104:11
                          64:18 142:13        text 31:5,20 94:2,4      50:13 52:19 53:23
   105:14,18 112:23
                          144:23 145:16         94:9 95:19,21,23       53:23 56:13 61:1
   115:22 116:22
                                                96:3,8,10,10,12,17     61:4 64:7 75:13
   138:19 142:11

                                                                                 Page 28
                                 Veritext Legal Solutions
                                      800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 192 of 196

[think - twitter]

   75:24 76:5 77:4       33:3 34:3,9,10         26:25 30:15 33:20   trends 131:14
   77:20,20,21 80:5      37:9 38:11 43:2        34:3,8,16 35:22     trey 2:9,12
   80:18 81:5 85:2       43:14 48:13,14,16      45:2 57:23 62:16    trial 35:9
   88:2,11 90:22         49:4 50:12 58:17       83:22 89:22 91:23   triangulate 73:6
   92:1 100:2 106:16     58:23 61:1 63:2,6      104:12 111:14       tried 21:7,8 73:5
   108:22 111:2          63:22 67:14,18         116:13 117:1          81:19 148:24
   115:2,4,11,18         69:3 73:13,14,15     tomorrow 25:24        trouble 65:23
   116:9 117:8           75:15 76:18 81:9       33:15 143:15,18       154:18
   119:18,25 121:4       81:12,15 82:10,10    ton 123:11            true 13:23 20:2,3
   121:11 125:8          89:10,14 90:1        tongue 98:2,3           29:19,23 44:2
   129:3 130:15          91:12 96:7 103:13    top 79:6 98:10          58:9 66:11,12
   132:21 135:16         103:21 105:21        topic 89:4 105:13       74:7 81:21 85:9,9
   138:7 145:15          106:6,9 113:2,4,10     135:22 137:21         101:21 102:21
 thinking 80:13          113:13,20 115:4      topics 76:15            113:17,18 119:17
   140:18                115:10 116:20          106:13                120:18 132:25
 thomas 2:9              117:7 121:12         total 78:21 157:10      135:8 145:4
 thought 47:20           123:14 125:15,16     totally 57:11           159:12
   50:4 52:4,14,20       126:22 127:14        touch 19:20,23        truly 47:20
   53:13 130:25          128:13,15 130:5        25:7 28:8 66:10     trump 1:9 2:13
   148:14 149:3,9        131:7,11 132:8,9       77:8                  138:24 139:2
 thousand 44:7           135:25 137:1         trace 114:18            157:3 160:1 161:3
 thread 96:3             139:25 141:24,24     training 79:2,19      trust 22:9
 threaten 147:20         141:25 143:8         transcript 133:21     truth 22:8,9 44:12
 threatened 44:9         149:8,14 154:1,18      133:24,24,25          98:4 159:8
   97:17 147:1           155:6,17 157:10        134:7,9,13,25       try 19:23,24 31:14
 threats 141:16,17       159:10 161:15          140:6 150:13,16       54:2 63:14,14
 three 13:25 23:14     timeframe 161:7          155:20 157:3          73:8 106:21
   34:22 35:16         timeline 108:12          158:3 159:12        trying 20:9 32:6
   105:24 143:9,10     times 23:14 26:11        161:5,16              41:1 46:22 65:10
   145:21                32:1 35:5 48:16      transferred 133:6       65:11,13 66:6
 throw 102:19            64:11 107:22         translates 133:8        69:14,16,18,19
 throwing 124:21         116:13 129:23        transmission            111:17 114:1
   125:4                 133:8 153:21,22        115:2                 127:11 153:19
 tie 49:8 126:15       today 10:25 11:3       transmittal 114:7     tubbs 5:6 45:1
 tied 126:22 153:14      54:10 73:23 85:8       114:9                 159:4,19
 ties 130:3              105:25 107:15        transmitted           turnaround
 tight 74:19             113:20 114:5           112:14 114:24         156:16,19
 time 6:4 10:5,9         155:14 156:9         transparency          turned 127:2
   13:12 20:15 22:4    today's 6:3              142:14              twice 21:13 122:24
   24:25 26:15 28:5    told 18:6,9,15 20:1    treats 152:20         twitter 60:12,15
   30:18,19 32:5,17      20:7 23:17 26:24                             60:16,20 61:11,18

                                                                               Page 29
                                 Veritext Legal Solutions
                                      800-336-4000
   Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 193 of 196

[twitter - want]

   111:22                110:12 112:25       vedderprice.com        vote 138:20
 two 13:25 21:6,6        114:8,21 115:7        4:14,14              votes 133:6 138:19
   60:3,22 66:25         116:17 136:6        verbally 6:17            142:12,13 145:13
   75:11 77:15 80:19     137:9 140:8 144:4   verified 27:12         voting 100:16
   92:3 99:16,19         149:11,16 154:3     verify 53:3 62:18        126:20,25 132:7,8
   120:24 141:24       understanding           149:18 161:8           132:9 133:3,4
   152:2                 65:23 100:3         veritas 21:15            135:10 137:24
 tx 161:13               153:10              veritext 13:12           138:16 150:6
 tx4792290 158:25      understood 59:22        161:12,19            vs 1:8
 type 70:21 100:20       62:11 75:19         veritext.com.          vulgar 152:3
   149:21,21             118:21 139:15         161:13               vulgarity 152:4
 typed 100:7           underwhelmed          versus 103:7           vulgarness 123:18
 typewritten             51:21               vet 147:13             vulnerabilities
   159:11              unfortunately         video 1:16 5:2 6:4       133:3 135:18
 typical 46:21           11:14                 74:24,25 75:2,3        138:16
 typically 41:17       united 1:10 3:6,11      101:15 103:4,11               w
 typing 100:19           50:14 73:15           105:2,3,5,7 127:17
                                                                    waive 6:19
           u             143:18 144:12         155:18
                                                                    waived 69:24
                       unrest 48:16          video'ing 75:1
 un 58:24                                                           walk 30:20,23
                       unusual 156:4         videoconferenced
 unbelievable                                                         47:4 52:3 110:10
                       unwilling 103:23        1:16 2:1 3:1 4:1
   36:14                                                              110:14,18 125:19
                       urinating 152:8         5:3
 uncover 17:12                                                        125:20 130:21
                       use 1:4 29:6 49:14    videographer 6:2
   43:23 55:10 65:18                                                walked 30:10 32:5
                         56:19,20 61:4         6:10 62:23 63:1,5
   66:16 111:21                                                       126:10
                         65:5,5 85:24          67:13,17 81:11,14
   146:23,24 151:25                                                 walking 133:5
                         88:25 89:7 102:2      89:9,12 106:5,8
 uncovered 55:12                                                    walks 138:15
                         122:9 130:20          113:9,12 143:9
   66:20 155:8                                                      want 9:23 13:12
                         133:14                155:16
 uncovering 70:18                                                     21:20 22:4 32:11
                       uses 24:2,7 131:22    videos 126:10
   128:17                                                             35:7,8,12,13,18
                                 v             128:5,8,18
 underneath 60:15                                                     36:20 37:8 38:22
                                             view 13:11 117:2
 understand 7:9        v 15:3 160:1 161:3                             40:12 42:9 44:10
                                               129:7
   9:3,4,6,13,21       validate 47:9                                  44:13,23 45:1
                                             village 2:20 4:4
   11:20,21 12:23        53:24 111:4 139:6                            47:3 57:4,16,24
                                             visit 90:1
   16:20 21:1 25:18      144:24 145:5,6,12                            60:25 63:8 70:1
                                             vitriol 98:6
   27:5 29:16 35:10    validated 139:4,5                              73:7 81:8 85:12
                                             voice 120:6 126:11
   47:1 49:2 63:24     validating 114:3                               85:12 87:14 88:4
                                             volume 121:21
   67:10 68:16 75:2    vanilla 47:6                                   88:8,20,20 89:17
                                             volunteered 93:10
   76:25 81:20 86:16   various 71:11                                  96:7 100:25
                                               95:12
   86:16 87:15,19        111:7                                        102:10,12,19
                                             volunteers 94:8
   88:12,12,22 91:18   vedder 4:12                                    105:19 108:4
   94:5 99:20 107:7                                                   112:23 114:22

                                                                               Page 30
                                Veritext Legal Solutions
                                     800-336-4000
  Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 194 of 196

[want - zoom]

 123:8 125:24        weeks 21:6 135:24     work 138:10 156:6      yeah 40:12 50:20
 127:12 131:10       welcome 13:10         worked 21:15             50:23,25 62:21,24
 136:10 137:25       went 18:7 35:24         136:7 143:23,24        67:23 69:14 75:25
 151:22 153:6         37:16 47:25 48:14      152:21                 76:22 77:6 83:21
 155:22 156:3         49:17 63:20 89:21    working 142:23           85:23 97:4,6 98:8
wanted 19:20 32:9     97:22 99:6 100:8       145:17 147:12,12       100:5 101:1,20
 32:10 36:19,21       106:21 107:15        works 42:18,19           105:20 112:15
 42:7 47:19 65:8      122:19 149:22          99:21 137:12           115:3,11,18 116:3
 82:13 100:23         151:8,25             worth 81:1               120:1 129:5
 111:4 130:14        whispering 45:4,8     wrecking 91:10           131:15,17 136:12
wanting 80:6         white 37:12 41:17     wright 4:22              140:11 143:13
wants 24:12 35:3      42:13                write 53:5 66:6          151:7,24 156:18
washington 21:9      whoa 120:2,2,3          77:17 91:12 142:5      156:19
 133:1               wife 91:11 98:7       writes 55:13           year 58:5,7 60:14
waste 13:12 81:9      152:7,11             writing 32:13            72:18 83:14 85:5
 103:21              wild 54:23 55:25        51:14 58:19 60:1       141:25
wasted 105:22        william 60:13,15        91:11 124:5 137:8    yep 119:13 135:23
wasting 37:9          60:23 61:8,10,17       153:18               yesterday 80:18
 127:14               62:8                 writings 91:5,13       york 21:16 129:23
watching 100:18      willing 101:8           91:14 153:19           133:8
water 85:25           110:25 115:16        written 5:1 33:6       young 141:24
 124:21               117:6                  50:11,13,14 61:13    youtube 100:10
way 21:4 27:19       wilshire 4:22           98:9,10,17 129:23             z
 34:23 36:1 44:4,7   win 39:23 138:25        136:1 137:17
                                                                  zach 2:4
 60:17 82:4 91:6      139:1,3              wrong 13:22 46:17
                                                                  zbowman 2:8
 97:22 114:18        wipe 57:11              46:23
                                                                  zoom 7:22 10:4
 132:8,9 134:22      witness 6:11,17       wrote 52:17 53:4,5
                                                                    15:18,18,24 49:3
 140:18 144:18        16:20 161:5,7,9,11     53:15 79:9 91:15
                                                                    49:13 51:17 68:22
 152:2                161:15                 101:3 104:25
                                                                    71:12 74:23 78:5
ways 70:21 138:17    woman 80:1              119:18 122:8
we've 21:6 60:22     wondering 136:16        146:25 152:7
 66:14 67:20 68:20   word 46:18 114:25     wynkoop 4:17
 76:6,6 90:11         122:9 123:19,20                y
 105:21,22 108:4      144:7
                                           yahoo.com 3:14
 117:18 125:10       words 29:23 36:24
                                             161:1
 150:2                58:21 74:16 82:25
                                           yan 18:18,20,23
wearing 128:9         94:19 97:24 104:5
                                             18:25,25 19:13,13
web 21:18 147:19      104:25 116:5
                                             19:15,15,21,21
week 31:14 32:5       124:13 133:14
                                             20:1,1,14,14 75:23
 71:21 119:16,17      151:21
                                             75:23
 120:7,17,19,20

                                                                              Page 31
                              Veritext Legal Solutions
                                   800-336-4000
Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 195 of 196



                Colorado Rules of Civil Procedure

              Chapter 4, Disclosure and Discovery

                                 Rule 30



    (e) Review by Witness; Changes; Signing. If

    requested by the deponent or a party before

    completion of the deposition, the deponent shall be

    notified by the officer that the transcript or

    recording is available. Within 35 days of receipt

    of such notification the deponent shall review the

    transcript or recording and, if the deponent makes

    changes in the form or substance of the deposition,

    shall sign a statement reciting such changes and

    the deponent's reasons for making them and send

    such statement to the officer. The officer shall

    indicate in the certificate prescribed by

    subsection (f)(1) of this rule whether any review

    was requested and, if so, shall append any changes

    made by the deponent.



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    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

    2019. PLEASE REFER TO THE APPLICABLE STATE RULES OF

    CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 1:21-cv-02130-CJN Document 41-5 Filed 11/18/21 Page 196 of 196

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